                 Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 1 of 52




     AO I00 (Rev. 01109) Agreement to Forfeit Property to Obtain a Defendant's Release



                                            UNITED STATES DISTRICT COURT
                                                                               for the


                        United States of America
                                       V.
                                                                                         Case No.   22-CR-185-RSL
        Sergei Potapenko
                                  Defendant


                AGREEMENT TO FORFEIT PROPERTY TO OBTAIN A DEFENDANT'S RELEASE

             To obtain the defendant's release, we jointly and severally agree to forfeit the following property to the United States
     of America if this defendant fails to appear as required for any court proceeding or for the service of any sentence imposed
     as may be noticed or ordered by any court considering this matter, or fails to comply with any conditions of release set by
     the court (descl'ibe property and any claim, lien, mortgage, or other encumbra11ce on ii):

       Residential apartment located at Kopli tee 24-18, Tallinn
       Estonia
       The apartment is valued €300,000.00
       The outstanding mortgage is €173,617.93 (joint mortgage
       encumbering Kopli tee 24-18 and Kopli tee 24-22)
             Ownership. We declare under penalty of perjury that we are this property's sole owners and that it is not subject
    to any claim, lien, mortgage, or other encumbrance except as disclosed above. We promise not to seJJ, mortgage, or
    otherwise encumber the property, or do anything to reduce its value while this agreement is in effect. We deposit with the
    court the following ownership documents, including any encumbrance documents (list a// documents and submit as auachmentJJ:

           The apartment is owned by Netkey OU, which is demonstrated by the attached
           Land Registry extract.
           The signatory is the authorised representative of Netkey OU wh1ch is demonstrated
           by the attached extract from the Estonian Commercial Register


            Surety Information. We understand that the court and the United States of America will rely on the surety
    infonnation in approving this agreement.

           Conditions ofRelease. We state that we have either read all court-ordered conditions ofrelease imposed on the
    defendant or had them explained to us .

             Continuing Agreement. Unless the court orders otherwise, this agreement remains in effect during any appeal or
    other review until the defendant bas satisfied all court notices, orders, and conditions.

            Exoneration ofSureties, This agreement is satisfied and ends if the defendant is exonerated on all charges or, if
    convicted, the defendant reports to sexve any sentence imposed.

             Fo1feiture. If the defendant fails to obey all conditions of release, court notices, and orders lo appear, the coun
    wi!J immediately order the property forfeited and on motion of the United States of America may order a judgment of
-   forfeiture against tbe sigmn~ics and theinepreseo tativ , Jointly and severally, inclu mg mterest ana costs.
            Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 2 of 52




                                                                                                                               Page 2of 2

 AO 100 (Rev. 01/09) Agreemenr to Forfeit Property to Obtain a Defendant's Release


           I swear under penalty of perjury that the above information is true and agree to the conditions oftrus agreement.



 Date:    Of         /i - .liJAI/
                                                                                              Defendant (ifa property owner)
 City and state:



  lYt!bOV
                   Property owner's printed name                                         ;;    'Property owner 's signature




                  Property owners printed name                                                 Property owner's signature




                  Property owner's printed name                                                Property owner's signature




                                                                               CLERK OF COURT

               July 26, 2024
Date:                                                                                111.~~
                                                                                          Signature of qerk or Deputy Clerk



Agreement accepted.
                                                                               UNITED STATES OF AMERICA
                                                                              JEHIEL I. BAER, Assistant United States Attorney

Date:     July 26, 2024


Agreement approved.

Date:      July 26, 2024                                                         l/ltvrs ~        Judge's signature
                    Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 3 of 52


Registriosa:


Registriosa number                                                   21461650

Kinnistusosakond                                                     Tartu Maakohtu kinn istusosakond

Eriomand                                                             22

Korteriuhistu registrikood                                           80611 737




I jagu - KINNISTU KOOSSEIS


Katastripidaja markeid vaata maakatastrist


 Kande            Katastritunnus                 Sihtotstarve ja asukoht                Pindala                        Info                         Kande
  Nr.                                                                                                                                              kehtivus

                   65301 :001 :2941        Elamumaa 100%, Harju maakond, Rae            3616 m2      17.05.2022 kinnistamisavalduse alusel           kehtiv
                                           vald , Peetri alevik, Kopli tee 24.                       muudetud 25.05.2022. Kohtunikuabi
                                                                                                     Tiina Kullama


             792/15126 mottelist osa kinnisasjast
             ja eriomandi ese eluruum nr 22. Teised sama kinnisasja korteriomandid nr 21459550, 21459650, 21459750, 21459850, 21459950, 21460050,
             21460150,21460250, 21460350, 21460450,21460550,21460650,21460750, 21460850, 21460950,21461050,21461150, 21461250,
             21461350, 21461450, 21461550. Eriomandi ese ja sisu vastavalt 17.05.2022 eriomandi kokkuleppele ja selle osaks olevale
             hoonejaotusplaanile.

             Korteriomanike kokkulepe rodude ja terrasside kasutamise kohta vastavalt 17.05.2022.a lepingu punktile 5.1. Rodud ja terrassid jaavad selle
             korteriomandi igakordse omaniku ainukasutusse, mille eriomandi esemega need ehituslikult 0hendatud on. Erikasutus6iguste kokkulepe
             vastavalt 17.05.2022.a lepingu punktile 4.1. ja lepingu lisaks olevatele plaanidele. Erikasutusoigus panipaigale, mis on hoone 1. korruse plaanil
             t.!lhistatud nr 118PP ja v.!lliparkimiskohtadele, mis on asendiplaanil t.!lhistatud nr 24-21 , 24-22.


 2           Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:            Sisse kantud registriossa 14201350               kehtiv
             19547550, 19547650, 19547750, 19547850, 19547950, 19548050, 19548150,                  4.05.2021 ; siia Ole kantud . 17.05.2022
             19548250, 19548350, 19548450, 19548550, 19548650, 19548750, 19548850,                  kinnistamisavalduse alusel sisse kantud
             19548950, 19549050, 19549150, 19549250, 19549350, 19549450, 19549550,                  25.05.2022. Kohtunikuabi Tiina Kullama
             19549650, 19549750, 19549850, 19549950. Tanavavalgustusservituut vastavalt
             lepingu punktile 3.1. ja lepingu lisaks 2 olevale plaanile.


 3           Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:            Sisse kantud registriossa 14201350               kehtiv
             19547550, 19547650, 19547750, 19547850, 19547950, 19548050, 19548150,                  4.05.2021 ; siia Ole kantud . 17.05.2022
             19548250, 19548350, 19548450, 19548550, 19548650, 19548750, 19548850,                  kinnistamisavalduse alusel sisse kantud
             19548950, 19549050, 19549150, 19549250, 19549350, 19549450, 19549550,                  25.05.2022. Kohtunikuabi Tiina Kullama
             19549650, 19549750, 19549850, 19549950. Puhkeala- ja konniteeservituut
             vastavalt lepingu punktile 3.2. ja lepingu lisaks 1 olevale plaanile.


 4           Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:            Sisse kantud registriossa 14201350               kehtiv
             20405350,20405450, 20405550, 20405650, 20405750,20405850,20405950,                     4.05.2021; siia Ole kantud. 17.05.2022
             20406050, 20406150, 20406250, 20406350, 20406450,20406550, 20406650,                   kinnistamisavalduse alusel sisse kantud
             20406750,20406850, 20406950, 20407050,20407150,20407250,20407350,                      25.05.2022. Kohtunikuabi Tiina Kullama
             20407450, 20407550, 20407650, 20407750. Tanavavalgustusservituut vastavalt
             lepingu punktile 5.1. ja lepingu lisaks 2 olevale plaanile.


 5           Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:            Sisse kantud registriossa 14201350               kehtiv
             20595250,20595350, 20595450, 20595550,20595650,20595750,20595850,                      4.05.2021; siia Ole kantud. 17.05.2022
             20595950, 20596050, 20596150, 20596250, 20596350,20596450, 20596550,                   kinnistamisavalduse alusel sisse kantud
             20596650,20596750, 20596850, 20596950,20597050,20597150,20597250,                      25.05.2022. Kohtunikuabi Tiina Kullama
             20597350, 20597450, 20597550, 20597650. Puhkeala- ja k6nniteeservituut
             vastavalt lepingu punktile 4.2. ja lepingu lisaks 1 olevale plaanile.
               Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 4 of 52


 Kande       Katastritunnus                Sihtotstarve ja asukoht             Pindala                     Info                      Kande
  Nr.                                                                                                                               kehtivus

6        Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20595250,20595350, 20595450, 20595550,20595650, 20595750,20595850,              4.05.2021; siia Ole kantud. 17.05.2022
         20595950, 20596050, 20596150, 20596250, 20596350,20596450, 20596550,            kinnistamisavalduse alusel sisse kantud
         20596650, 20596750, 20596850, 20596950, 20597050, 20597150,20597250,            25.05.2022. Kohtunikuabi Tiina Kullama
         20597350, 20597450, 20597550, 20597650. Tiinavavalgustusservituut vastavalt
         lepingu punktile 4.1. ja lepingu lisaks 2 olevale plaanile.


7        Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20405350, 20405450, 20405550, 20405650, 20405750,20405850, 20405950,            4.05.2021 ; siia Ole kantud . 17.05.2022
         20406050,20406150, 20406250, 20406350, 20406450,20406550,20406650,              kinnistamisavalduse alusel sisse kantud
         20406750,20406850, 20406950, 20407050,20407150,20407250, 20407350,              25.05.2022. Kohtunikuabi Tiina Kullamii
         20407450, 20407550, 20407650, 20407750. Puhkeala- ja konniteeservituut
         vastavalt lepingu punktile 5.2. ja lepingu lisaks 1 olevale plaanile.


8        Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150, 20380250, 20380350, 20380450, 20380550,20380650, 20380750,            4.05.2021 ; siia Ole kantud . 17.05.2022
         20380850,20380950, 20381050, 20381150,20381250, 20381350, 20381450,             kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950,20382050, 20382150,              25.05.2022. Kohtunikuabi Tiina Kullamii
         20382250, 20382350, 20382450, 20382550. Tanavavalgustusservituut vastavalt
         lepingu punktile 6.1. ja lepingu lisaks 2 olevale plaanile;


9        Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150, 20380250, 20380350, 20380450,20380550,20380650, 20380750,             4.05.2021 ; siia Ole kantud . 17.05.2022
         20380850,20380950, 20381050, 20381150,20381250, 20381350, 20381450,             kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950,20382050, 20382150,              25.05.2022. Kohtunikuabi Tiina Kullamii
         20382250, 20382350, 20382450, 20382550. Puhkeala- ja konniteeservituut
         vastavalt lepingu punktile 6.2. ja lepingu lisaks 1 olevale plaanile.


 10      Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150,20380250, 20380350, 20380450,20380550, 20380650,20380750,              4.05.2021 ; siia Ole kantud. 17.05.2022
         20380850, 20380950, 20381050, 20381150, 20381250, 20381350, 20381450,           kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950,20382050,20382150,               25.05.2022. Kohtunikuabi Tiina Kullama
         20382250, 20382350, 20382450, 20382550. Parkimisservituut vastavalt lepingu
         punktile 6.3. ja lepingu lisaks 1 olevale plaanile;


 11      Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150,20380250, 20380350, 20380450,20380550, 20380650,20380750,              4.05.2021 ; siia Ole kantud. 17.05.2022
         20380850, 20380950, 20381050, 20381150, 20381250, 20381350, 20381450,           kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950,20382050,20382150,               25.05.2022. Kohtunikuabi Tiina Kullama
         20382250, 20382350, 20382450, 20382550. JuurdepMsuservituut vastavalt
         kaesoleva lepingu punktile 6.4. ja lepingu lisaks 1 olevale plaanile.


 12      Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150,20380250, 20380350, 20380450,20380550, 20380650,20380750,              4.05.2021 ; siia Ole kantud. 17.05.2022
         20380850, 20380950, 20381050, 20381150, 20381250, 20381350, 20381450,           kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950, 20382050,20382150,              25.05.2022. Kohtunikuabi Tiina Kullama
         20382250, 20382350, 20382450, 20382550. Elektrijuhtimisservituut vastavalt
         kaesoleva lepingu punktile 6.5. ja lepingu lisaks 2 olevale plaanile.


 13      Kinnistu igakordse omaniku kasuks on kantud reaalservituut kinnistutele nr:     Sisse kantud registriossa 14201350          kehtiv
         20380150,20380250, 20380350, 20380450,20380550,20380650,20380750,               4.05.2021 ; siia Ole kantud . 17.05.2022
         20380850,20380950, 20381050, 20381150,20381250, 20381350, 20381450,             kinnistamisavalduse alusel sisse kantud
         20381550,20381650, 20381750, 20381850,20381950, 20382050,20382150,              25.05.2022. Kohtunikuabi Tiina Kullama
         20382250, 20382350, 20382450, 20382550. Sademeveejuhtimisservituut vastavalt
         kaesoleva lepingu punktile 6.6. ja lepingu lisaks 2 olevale plaanile.




II jagu - OMANIK
               Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 5 of 52


Kande                            Omanik                                                              Kande alus                                      Kande
 Nr.                                                                                                                                                kehtivus

2       Netkey 00 (registrikood 12887617)                                20.06.2022 kinnistamisavalduse alusel sisse kantud 22.06.2022.             kehtiv
                                                                         Kohtunikuabi Siiri Lend




Ill jagu - KOORMATISED JA KITSENDUSED


Kande     Kinnistut koormavad piiratud asjaoigused (v.a.                          Marked piiratud asjaoiguste kohta, kande alus,                     Kande
 Nr.          h0poteegid) ja marked; kasutusoiguse                                    kannete muudatused ja kustutamised                            kehtivus
                           kitsendused

        lsiklik kasutusoigus Elektrilevi 00 (registrikood 11050857)              Sisse kantud registriossa 14201350 20.03.2019; siia Ole            kehtiv
        kasuks. Asjaoigusseaduse § 158.1 jargne tahtajatu isiklik                kantud . 17.05.2022 kinnistamisavalduse alusel sisse kantud
        kasutusoigus vastavalt 24.05.2018. a solmitud lepingu                    25.05.2022. Kohtunikuabi Tiina Kullama
        punktidele 2., 3., 4. ja lepingu lisaks nr 2, lisaks nr 3 ja lisaks nr
        4 olevatele plaanidele. Kaaskoormatud kinnistud nr 21459550,
        21459650,21459750, 21459850, 21459950,21460050,
        21460150, 21460250, 21460350, 21460450,21460550,
        21460650,21460750, 21460850, 21460950, 21461050,
        21461150, 21461250, 21461350,21461450, 21461550.


2       lsiklik kasutusoigus Aktsiaselts ELVESO (registrikood                    Sisse kantud registriossa 14201350 6.11 .2019; siia Ole kantud .   kehtiv
        10096975) kasuks. Asjaoigusseaduse § 1581 alusel tahtajatu               17.05.2022 kinnistamisavalduse alusel sisse kantud
        isiklik kasutusoigus veetorustiku, sademeveekanalisatsiooni              25.05.2022. Kohtunikuabi Tiina Kullama
        torustiku , reoveekanalisatsiooni torustiku ja kraavi
        majandamiseks kaitsevoondi ulatuses vastavalt lepingu
        punktile 3.1.1., 3.1.5, 3.1.18.-3.1.20., 3.2.-3.4. ja lepingu lisaks
        olevale plaanile nr 14. Kaaskoormatud kinnistud nr 21459550,
        21459650, 21459750, 21459850, 21459950,21460050,
        21460150,21460250, 21460350, 21460450,21460550,
        21460650,21460750, 21460850, 21460950,21461050,
        21461150, 21461250, 21461350, 21461450,21461550.


3       Reaalservituut kinnistute nr 19547550, 19547650, 19547750,               Sisse kantud 25.05.2022. 17.05.2022 kinnistamisavalduse            kehtiv
        19547850, 19547950, 19548050, 19548150, 19548250,                        alusel muudetud 25.05.2022. Kohtunikuabi Tiina Kullama
        19548350, 19548450, 19548550, 19548650, 19548750,
        19548850, 19548950, 19549050, 19549150, 19549250,
        19549350, 19549450, 19549550, 19549650, 19549750,
        19549850, 19549950, 20380150, 20380250, 20380350,
        20380450, 20380550, 20380650, 20380750, 20380850,
        20380950, 20381050, 20381150,20381250,20381350,
        20381450,20381550, 20381650, 20381750,20381850,
        20381950,20382050, 20382150, 20382250,20382350,
        20382450,20382550, 20405350, 20405450,20405550,
        20405650, 20405750, 20405850, 20405950,20406050,
        20406150,20406250, 20406350, 20406450,20406550,
        20406650, 20406750, 20406850, 20406950, 20407050,
        20407150,20407250, 20407350, 20407450,20407550,
        20407650, 20407750, 20595250, 20595350, 20595450,
        20595550, 20595650, 20595750, 20595850,20595950,
        20596050,20596150, 20596250, 20596350,20596450,
        20596550, 20596650, 20596750, 20596850, 20596950,
        20597050, 20597150, 20597250, 20597350, 20597450,
        20597550, 20597650 igakordsete omanike kasuks. Puhkeala-
        ja konniteeservituut vastavalt 8.04.2021 lepingu punktile 7.1. ja
        lepingu lisaks 1 olevale plaanile. Ill jao kannetel nr 3-5 on uks
        ja sama jarjekoht. Kaaskoormatud kinnistud nr 21459550,
        21459650,21459750, 21459850, 21459950,21460050,
        21460150,21460250, 21460350, 21460450,21460550,
        21460650, 21460750, 21460850, 21460950, 21461050,
        21461150, 21461250, 21461350, 21461450, 21461550.
                 Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 6 of 52


 Kande        Kinnistut koormavad piiratud asjaoigused (v.a.                      Marked piiratud asjaoiguste kohta, kande alus,              Kande
  Nr.             hOpoteegid) ja marked; kasutusoiguse                                kannete muudatused ja kustutamised                     kehtivus
                               kitsendused

 4         Reaalservituut kinnistute nr 20380150, 20380250, 20380350,           Sisse kantud 25.05.2022. 17.05.2022 kinnistamisavalduse      kehtiv
           20380450, 20380550, 20380650, 20380750, 20380850,                    alusel muudetud 25.05.2022. Kohtunikuabi Tiina Kullama
           20380950,20381050, 20381150,20381250,20381350,
           20381450, 20381550, 20381650, 20381750, 20381850,
           20381950,20382050, 20382150, 20382250,20382350,
           20382450, 20382550 igakordsete omanike kasuks.
           Elektrijuhtimisservituut vastavalt 8.04.2021 lepingu punktile
           7.2. ja lepingu lisaks 2 olevale plaanile. Ill jao kannetel nr 3-5
           on iiks ja sama jarjekoht. Kaaskoormatud kinnistud nr
           21459550, 21459650, 21459750, 21459850, 21459950,
           21460050,21460150, 21460250, 21460350,21460450,
           21460550,21460650, 21460750, 21460850,21460950,
           21461050, 21461150, 21461250,21461350, 21461450,
           21461550.


 5         Reaalservituut kinnistute nr 20380150, 20380250, 20380350,           Sisse kantud 25.05.2022. 17.05.2022 kinnistamisavalduse      kehtiv
           20380450, 20380550, 20380650, 20380750, 20380850,                    alusel muudetud 25.05.2022. Kohtunikuabi Tiina Kullama
           20380950,20381050, 20381150,20381250, 20381350,
           20381450, 20381550, 20381650, 20381750, 20381850,
           20381950,20382050, 20382150, 20382250,20382350,
           20382450, 20382550 igakordsete omanike kasuks.
           Priigimajaservituut vastavalt 8.04.2021 lepingu punktile 7.3. ja
           lepingu lisaks 1 olevale plaanile. Ill jao kannetel nr 3-5 on iiks
           ja sama jarjekoht. Kaaskoormatud kinnistud nr 21459550,
           21459650, 21459750, 21459850, 21459950, 21460050,
           21460150,21460250, 21460350, 21460450,21460550,
           21460650, 21460750, 21460850, 21460950, 21461050,
           21461150, 21461250, 21461350,21461450,21461550.




IV jagu - H0POTEEGID


 Kande                          HOpoteegid                               HOpoteegi       Marked hOpoteekide kohta, kande alus,                Kande
  Nr.                                                                     summa           kannete muudatused ja kustutamised                 kehtivus

                                                                                        Kustutatud 26.05.2022 kinnistamisavalduse alusel     kehtiv
                                                                                       3.06.2022. Kohtunikuabi Tiina Kullama


 2                                                                                     Hiipoteek on koormatud pandiga AS LHV Pank            kehtiv
                                                                                       (registrikood 10539549) kasuks. 09.09.2014 leping
                                                                                       LL-20140909HL2. Sisse kantud 6.07.2022. 14.11 .2022
                                                                                       avalduse alusel muudetud 23.11.2022. Kohtunikuabi
                                                                                       Ave Karilaid


 2         Hiipoteek summas 911 250,00 eurot Hiipoteeklaen AS            911 250,00    Sisse kantud 22.06.2022. 16.11 .2022                  kehtiv
           (reg istrikood 11663703) kasuks . Kinnistu igakordne          EUR           kinnistamisavalduse alusel muudetud 23.11 .2022.
           omanik on kohustatud alluma kohesele sundtaitmisele                         Kohtunikuabi Ave Karilaid
           hiipoteegiga tagatud noude rahuldamiseks.
           Kaaskoormatud kinnistu : 21461250.




Asutus: Advokaadibiiroo LEVIN 00
Nimi: Esta Press
Kuupaev: 05.06.2024 13:45:57
Kinnistusraamatu kehtivate andmetega tutvumiseks kasutage e-kinnistusraamatut.
                                                    ••
                                                    II
                                                       DOM
                                                         s
                                                           US
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 7 of 52


                                                                K I N N I                      V A R A

                                                                              Usaldus, mis kestab!







                                                                                 
ŬƐƉĞƌƚŚŝŶŶĂŶŐŶƌϭϯϴϭͲϮϰ
 
 ĂĚƌĞƐƐ͗                        ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
 sĂƌĂ͗                           <ŽƌƚĞƌŝŽŵĂŶĚ͕ƌĞŐŝƐƚƌŝŽƐĂŶƌϮϭϰϲϭϲϱϬ;ĞůƵƌƵƵŵ͕ϰͲƚŽĂůŝŶĞŬŽƌƚĞƌͿ
                                                               
 
 sććƌƚƵƐĞŬƵƵƉćĞǀ͗                 Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬƵƵƉćĞǀ͗           Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 
 
 dƵƌƵǀććƌƚƵƐ͗                      ϮϵϲϬϬϬ€
                                     
                                     
                                     
,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŽŽƐƚĂũĂ             ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŝŶŶŝƚĂũĂ
                                     
ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ        ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ
DĂĂƌũĂdƌŝŝƐĞ                        :ĂŶĞ:ƺƌŐĞŶƐŽŶ                          
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ͕ƚĂƐĞϱ     <ƵƚƐĞůŝŶĞŚŝŶĚĂũĂ                       
<ƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϳϳϭϯϰ            sĂƌĂŚŝŶĚĂũĂ͕ƚĂƐĞϳ͕ŬƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϴϵϱϱϴ
                                     ĞƐƚŝ<ŝŶŶŝƐǀĂƌĂ,ŝŶĚĂũĂƚĞmŚŝŶŐƵůŝŝŐĞ
                                     
                                     

 




                                                                            www.domus.ee
                                                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
      Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 8 of 52
^ŝƐƵŬŽƌĚ

<K<<hsOd ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϯ
ϭ͘,ŝŶŶĂƚĂǀǀĂƌĂ͕ŚŝŶĚĂŵŝƐĞĞĞƐŵćƌŬũĂŬůĂƵƐůŝĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϰ
   ϭ͘ϭ͘,ŝŶŶĂƚĂǀǀĂƌĂũĂŚŝŶĚĂŵŝƐĞĞĞƐŵćƌŬ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰ
   ϭ͘Ϯ͘,ŝŶĚĂŵŝƐĞĂůƵƐĞĚŶŝŶŐŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞĂǀĂůĚĂŵŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰ
   ϭ͘ϯ͘,ŝŶŶĂŶŐƵŬĞŚƚŝǀƵƐĞĞĞůĚƵƐĞĚũĂŬůĂƵƐůŝĚƉŝŝƌĂƚƵĚǀĂƐƚƵƚƵƐĞŬŽŚƚĂ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰ
Ϯ͘,ŝŶĚĂŵŝƐĞĂůŐĂŶĚŵĞĚũĂŚŝŶŶĂƚĂǀĂǀĂƌĂƺůĞǀĂĂƚƵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϱ
   Ϯ͘ϭ͘,ŝŶĚĂŵŝƐĞůćŚƚĞĂŶĚŵĞĚũĂŚŝŶŶĂƚĂǀĂǀĂƌĂĚŽŬƵŵĞŶƚĂƚƐŝŽŽŶ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱ
   Ϯ͘Ϯ͘,ŝŶĚĂũĂƉŽŽůƚƚƵǀĂƐƚĂƚƵĚǀĂƐƚƵŽůƵĚůćŚƚĞĂŶĚŵĞƚĞ;ƐŚĚŽŬƵŵĞŶƚĂƚƐŝŽŽŶŝͿũĂƚĞŐĞůŝŬƵŽůƵŬŽƌƌĂǀĂŚĞů ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱ
   Ϯ͘ϯ͘,ŝŶŶĂƚĂǀĂǀĂƌĂƺůĞǀĂĂƚƵƐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϱ
ϯ͘,ŝŶŶĂƚĂǀĂǀĂƌĂŬŝƌũĞůĚƵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϲ
   ϯ͘ϭ͘ƐƵŬŽŚƚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϲ
   ϯ͘Ϯ͘KŵĂŶĚŝƐƵŚƚĞĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϳ
   ϯ͘ϯ͘DĂĂŬĂƐƵƚƵƐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ
   ϯ͘ϰ͘,ŽŽŶĞŬŝƌũĞůĚƵƐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
   ϯ͘ϱ͘,ŽŽŶĞƉƁŚŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
   ϯ͘ϲ͘<ŽƌƚĞƌŝƺůĚĂŶĚŵĞĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
   ϯ͘ϳ͘<ŽƌƚĞƌŝǀŝŝŵŝƐƚůƵƐũĂƐĞŝƐƵŬŽƌĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
   ϯ͘ϴ͘<ŽƌƚĞƌŝƚĞŚŶŽƐƺƐƚĞĞŵŝĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
   ϯ͘ϵ͘,ŝŶŶĂŶŐŚŝŶŶĂƚĂǀĂǀĂƌĂŬĞƐƚůŝŬŬƵƐĞǀććƌƚƵƐĞůĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
ϰ͘dƵƌƵƺůĞǀĂĂĚĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϭϲ
   ϰ͘ϭ͘DĂũĂŶĚƵƐƺůĞǀĂĂĚĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
   ϰ͘Ϯ͘dĂůůŝŶŶĂũĂ,ĂƌũƵŵĂĂŬŽƌƚĞƌŝƚƵƌƵƺůĞǀĂĂĚĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
      ϰ͘Ϯ͘ϭ͘DƺƺŐŝƚĞŚŝŶŐƵĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯ
      ϰ͘Ϯ͘Ϯ͘dƵƌƵƐƚĂƚĂǀƵƐĞĂŶĂůƺƺƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ
      ϰ͘Ϯ͘ϯ͘WĂŬŬƵŵŝŶĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ
   ϰ͘ϯ͘WĂƌŝŵŬĂƐƵƚƵƐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
ϱ͘,ŝŶĚĂŵŝŶĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ Ϯϲ
   ϱ͘ϭ͘,ŝŶĚĂŵŝƐĞŵĞƚŽŽĚŝůŝŶĞĂůƵƐũĂƉƁŚŝŵƁƚƚĞĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
   ϱ͘Ϯ͘dƵƌƵǀććƌƚƵƐĞŚŝŶŶĂŶŐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
ϲ͘,ŝŶĚĂŵŝƐƚƵůĞŵƵƐ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϯϬ
>ŝƐĂϭ͘&ŽƚŽĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϯϭ
>ŝƐĂϮ͘<ŝŶŶŝƐƚƵƐƌĞŐŝƐƚƌŝǀćůũĂǀƁƚĞ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϯϲ
>ŝƐĂϯ͘ŚŝƚŝƐƌĞŐŝƐƚƌŝǀćůũĂǀƁƚƚĞĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϰϬ
>ŝƐĂϰ͘,ŽŽŶĞũĂŽƚƵƐƉůĂĂŶŝĚ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϰϯ
sĂƐƚĂǀƵƐŬŝŶŶŝƚƵƐƐƚĂŶĚĂƌĚŝŶƁƵĞƚĞůĞ͗ ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ ϰϲ




                                                                                    Ϯ
                                                                             ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                              ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                         >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 9 of 52
<K<<hsOd
 ,/EEdssZ<KKEED
 ,ŝŶŶĂƚĂǀǀĂƌĂ                          <ŽƌƚĞƌŝŽŵĂŶĚ͕ƌĞŐŝƐƚƌŝŽƐĂŶƌϮϭϰϲϭϲϱϬ ;ĞůƵƌƵƵŵ͕ϰͲƚŽĂůŝŶĞŬŽƌƚĞƌͿ
 ĂĚƌĞƐƐ                                ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
 KŵĂŶŝŬ                                 EĞƚŬĞǇKm;ƌĞŐŝƐƚƌŝŬŽŽĚϭϮϴϴϳϲϭϳͿ
 <ĂƚĂƐƚƌŝƚƵŶŶƵƐ                         ϲϱϯϬϭ͗ϬϬϭ͗Ϯϵϰϭ
 KŵĂŶĚŝǀŽƌŵ                             <ŽƌƚĞƌŝŽŵĂŶĚ
 <ŽƌƚĞƌŝŽŵĂŶĚŝƺůĚƉŝŶĚ                  ϳϵ͕Ϯ ŵϮ ;ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƵĂŶĚŵĞĚͿ
 <ŽƌƚĞƌŝĞůƵƌƵƵŵŝƉŝŶĚ                 ϳϵ͕Ϯ ŵϮ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 ƌŝŬĂƐƵƚƵƐƁŝŐƵƐ                        ƌŝŬĂƐƵƚƵƐƁŝŐƵƐ ƉĂŶŝƉĂŝŐĂůĞ͕ ŵŝƐ ŽŶ ŚŽŽŶĞ ϭ͘ ŬŽƌƌƵƐĞ ƉůĂĂŶŝů ƚćŚŝƐƚĂƚƵĚ Ŷƌ
                                        ϭϭϴWWũĂǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞůĞ͕ŵŝƐŽŶĂƐĞŶĚŝƉůĂĂŶŝůƚćŚŝƐƚĂƚƵĚŶƌϮϰͲϮϭ͕ϮϰͲ
                                        ϮϮ͘
 ,ŝŶŶĂŶŐŬŽƌƚĞƌŝƺůĚŝƐĞůĞƐĞŝƐƵŬŽƌƌĂůĞ sćŐĂŚĞĂ
 ,/ED/^ZhE<KKEED
 ,ŝŶŶĂŶŐƵĞĞƐŵćƌŬ                       ŬƐƉĞƌƚŚŝŶŶĂŶŐ ŽŶ ŬŽŽƐƚĂƚƵĚ ǀĂƌĂ ƚƵƌƵǀććƌƚƵƐĞ ŚŝŶĚĂŵŝƐĞŬƐ͕ ĞƐŝƚĂŵŝƐĞŬƐ
                                        ŬŽŚƚƵůĞ
 ^ĞŽƐ                                   <ŝŶŶŝƚĂŵĞ͕ Ğƚ ŽŵƵƐ <ŝŶŶŝƐǀĂƌĂ Ğŝ ŽůĞ ƐĞŽƚƵĚ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ƚĞŚŝŶŐƵ ĞŐĂ
                                        ŽŵĂŶĚŝƐƵŚƚĞŐĂ͘
 můĞǀĂĂƚƵƐĞŬƵƵƉćĞǀ                     Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 sććƌƚƵƐĞŬƵƵƉćĞǀ                       Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬƵƵƉćĞǀ                Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 dĞůůŝũĂ                               ĚǀŽŬĂĂĚŝďƺƌŽŽ>ĞǀŝŶKm
 dĞůůŝŵƵƐůĞƉŝŶŐ                         dĞůůŝŵƵƐĞͲŵĂŝůŝƚĞĞů͕ϯϭ͘Ϭϱ͘ϮϬϮϰ͕ŬŝŶŶŝƚĂŶƵĚǀĂŶĚĞĂĚǀŽŬĂĂƚWĂƵů<ĞƌĞƐ
 ,ŝŶĚĂŵŝƐĞĞĞůĚƵƐĞĚ                     ,ŝŶĚĂŵŝƐĞů Ğŝ ĂƌǀĞƐƚĂƚĂ ǀĂƌĂ ŬŽŽƌŵĂǀĂƚĞ ŚƺƉŽƚĞĞŬŝĚĞŐĂ͘ DƵƵĚ
                                        ƚĂǀĂƉƌĂŬƚŝŬĂƐƚǀćůũƵǀĂĚĞĞůĚƵƐĞĚƉƵƵĚƵǀĂĚ͘
 ,ŝŶŶĂŶŐůŝŬǀŝŝĚƐƵƐĞůĞ                  DƺƺŐŝƉĞƌŝŽŽĚŝ ƉŝŬŬƵƐĞŬƐ ǀććƌƚƵƐĞ ŬƵƵƉćĞǀĂ ƚƵƌƵƐŝƚƵĂƚƐŝŽŽŶŝƐ ƉƌŽŐŶŽŽƐŝŵĞ
                                        ŚŝŶŶĂƚƵĚƚƵƌƵǀććƌƚƵƐĞũƵƵƌĞƐϲ ŬƵƵĚ͘>ŝŬǀŝŝĚƐƵƐĞ ŚŝŶĚĂŵĞŬĞƐŬƉćƌĂƐĞŬƐ͘
 ,ŝŶĚĂŵŝƐƚƵůĞŵƵƐĞƚćƉƐƵƐ                ^ĞůůĞ ƚƵƌƵƐĞŐŵĞŶĚŝ ũĂŽŬƐ ƚĂǀĂƉćƌĂŶĞ͕ цϱй͕ ĞŚŬ ƚĞŐĞůŝŬ ƚĞŚŝŶŐƵŚŝŶĚ ǀƁŝď
                                        ĞĞůŶĞǀĂƉƌŽƚƐĞŶĚŝƉŝŝƌĞƐ ĞƌŝŶĞĚĂ͘
 <ćŝďĞŵĂŬƐ                              dƵƌƵǀććƌƚƵƐ ƐŝƐĂůĚĂď ŬćŝďĞŵĂŬƐƵ͕ ŬƵŝ ŵƺƺũĂů ŽŶ ƐĞĂĚƵƐĞƐƚ ƚƵůĞŶĞǀĂůƚ
                                        ŬŽŚƵƐƚƵƐ ůŝƐĂĚĂ ǀĂƌĂ ǀƁƁƌĂŶĚĂŵŝƐĞů ŬćŝďĞŵĂŬƐ͘ ,ŝŶĚĂŵŝƐƚƵůĞŵƵƐĞůĞ Ğŝ
                                        ůŝƐĂŶĚƵŬćŝďĞŵĂŬƐƵ͘
 ,/ED/^dh>Dh^dDO:hdsO/ss^dhK>hEDd^
 ,ŝŶĚĂũĂĞŝ ƚƵǀĂƐƚĂŶƵĚŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵůćďŝǀŝŝŵŝƐĞůĂŶĚŵĞƚĞĞƌŝŶĞǀƵƐƚƚĞŐĞůŝŬĞũĂƌĞŐŝƐƚƌŝƚĞĂŶĚŵĞƚĞǀĂŚĞů͘
 ,/ED/^dh>Dh^
 dƵŐŝŶĞĚĞƐŚŝŶĚĂũĂƚĞůĞƚĞĂĚĂŽůĞǀĂƚĞůĞůćŚƚĞĂŶĚŵĞƚĞůĞ͕ŬŝŶŶŝƐǀĂƌĂƚƵƌƵŚĞƚŬĞƐŝƚƵĂƚƐŝŽŽŶŝůĞũĂ ǀƁƌĚůƵƐĂŶĚŵĞƚĞůĞ͕ŽŶ
 ŽŵƵƐ <ŝŶŶŝƐǀĂƌĂ ŚŝŶŶĂŶŐƵů ŬŽƌƚĞƌŝŽŵĂŶĚŝ ;ƌĞŐ͘Ŷƌ ϮϭϰϲϭϲϱϬͿ ĂĂĚƌĞƐƐŝů ,ĂƌũƵ ŵĂĂŬŽŶĚ͕ ZĂĞ ǀĂůĚ͕ WĞĞƚƌŝ ĂůĞǀŝŬ͕
 <ŽƉůŝƚĞĞϮϰͲϮϮ ƚƵƌƵǀććƌƚƵƐ ǀććƌƚƵƐĞŬƵƵƉćĞǀĂů
                                Ϯϵϲ ϬϬϬ ;ŬĂŬƐƐĂĚĂ ƺŚĞŬƐĂŬƺŵŵĞŶĚ ŬƵƵƐ ƚƵŚĂƚͿĞƵƌŽƚ͘




      ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŽŽƐƚĂũĂ                      ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŝŶŶŝƚĂũĂ

      ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ                 ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ
      DĂĂƌũĂdƌŝŝƐĞ                                 :ĂŶĞ:ƺƌŐĞŶƐŽŶ
      <ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ͕ƚĂƐĞϱ              <ƵƚƐĞůŝŶĞŚŝŶĚĂũĂ
      <ƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϳϳϭϯϰ                     sĂƌĂŚŝŶĚĂũĂ͕ƚĂƐĞϳ͕ŬƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϴϵϱϱϴ
                                                    ĞƐƚŝ<ŝŶŶŝƐǀĂƌĂ,ŝŶĚĂũĂƚĞmŚŝŶŐƵůŝŝŐĞ




                                                            ϯ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 10 of 52
ϭ͘ ,ŝŶŶĂƚĂǀǀĂƌĂ͕ŚŝŶĚĂŵŝƐĞĞĞƐŵćƌŬũĂŬůĂƵƐůŝĚ
ϭ͘ϭ͘ ,ŝŶŶĂƚĂǀǀĂƌĂũĂŚŝŶĚĂŵŝƐĞĞĞƐŵćƌŬ
 ĂĚƌĞƐƐ                          ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
 ZĞŐŝƐƚƌŝŽƐĂŶƌ                   ϮϭϰϲϭϲϱϬ ;ĞůƵƌƵƵŵ͕ϰͲƚŽĂůŝŶĞŬŽƌƚĞƌͿ
 sĂƌĂŬŽŽƐƐĞŝƐ                    ϳϵϮͬϭϱϭϮϲŵƁƚƚĞůŝƐƚŽƐĂŬŝŶŶŝƐĂƐũĂƐƚ ũĂĞƌŝŽŵĂŶĚŝĞƐĞĞůƵƌƵƵŵŶƌϮϮ͘

                                  <ŽƌƚĞƌŝŽŵĂŶŝŬĞ ŬŽŬŬƵůĞƉĞ ƌƁĚƵĚĞ ũĂ ƚĞƌƌĂƐƐŝĚĞ ŬĂƐƵƚĂŵŝƐĞ ŬŽŚƚĂ ǀĂƐƚĂǀĂůƚ
                                  ϭϳ͘Ϭϱ͘ϮϬϮϮ͘Ă ůĞƉŝŶŐƵ ƉƵŶŬƚŝůĞ ϱ͘ϭ͘ ZƁĚƵĚ ũĂ ƚĞƌƌĂƐƐŝĚ ũććǀĂĚ ƐĞůůĞ ŬŽƌƚĞƌŝŽŵĂŶĚŝ
                                  ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ĂŝŶƵŬĂƐƵƚƵƐƐĞ͕ ŵŝůůĞ ĞƌŝŽŵĂŶĚŝ ĞƐĞŵĞŐĂ ŶĞĞĚ ĞŚŝƚƵƐůŝŬƵůƚ
                                  ƺŚĞŶĚĂƚƵĚŽŶ͘ƌŝŬĂƐƵƚƵƐƁŝŐƵƐƚĞŬŽŬŬƵůĞƉĞǀĂƐƚĂǀĂůƚϭϳ͘Ϭϱ͘ϮϬϮϮ͘ĂůĞƉŝŶŐƵƉƵŶŬƚŝůĞ
                                  ϰ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐŽůĞǀĂƚĞůĞƉůĂĂŶŝĚĞůĞ͘ƌŝŬĂƐƵƚƵƐƁŝŐƵƐƉĂŶŝƉĂŝŐĂůĞ͕ŵŝƐŽŶŚŽŽŶĞ
                                  ϭ͘ŬŽƌƌƵƐĞƉůĂĂŶŝůƚćŚŝƐƚĂƚƵĚŶƌϭϭϴWWũĂǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞůĞ͕ŵŝƐŽŶĂƐĞŶĚŝƉůĂĂŶŝů
                                  ƚćŚŝƐƚĂƚƵĚŶƌϮϰͲϮϭ͕ϮϰͲϮϮ͘
 sĂƌĂůŝŝŬ                        <ŽƌƚĞƌŝŽŵĂŶĚ ;ĞůƵƌƵƵŵͿ
 ,ŝŶĚĂŵŝƐĞĞĞƐŵćƌŬ                dƵƌƵǀććƌƚƵƐĞŚŝŶĚĂŵŝƐĞŬƐ͕ĞƐŝƚĂŵŝƐĞŬƐŬŽŚƚƵůĞ͘
 sććƌƚƵƐĞůŝŝŬ                    dƵƌƵǀććƌƚƵƐ

ϭ͘Ϯ͘ ,ŝŶĚĂŵŝƐĞ ĂůƵƐĞĚ ŶŝŶŐŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞ ĂǀĂůĚĂŵŝŶĞ
,ŝŶĚĂŵŝƐĞů ŽŶ ůćŚƚƵƚƵĚ ĞƐƚŝ ǀĂƌĂŚŝŶĚĂŵŝƐĞ ƐƚĂŶĚĂƌĚŝƚĞƐƚ s^ ϴϳϱ͕ ŬĞŚƚŝǀĂƐƚ ƐĞĂĚƵƐĂŶĚůƵƐĞƐƚ ũĂ ĞƐƚŝ
<ŝŶŶŝƐǀĂƌĂ,ŝŶĚĂũĂƚĞmŚŝŶŐƵŚĞĂĚĞƚĂǀĂĚĞŬŽŽĚĞŬƐŝƐƚ͘

dƵƌƵǀććƌƚƵƐ ;ŵĂƌŬĞƚ ǀĂůƵĞͿ ŽŶ ŚŝŶŶĂŶŐƵů ƉƁŚŝŶĞǀ ƐƵŵŵĂ͕ ŵŝůůĞ ĞĞƐƚ ǀĂƌĂ ƉĞĂŬƐ ǀććƌƚƵƐĞ ŬƵƵƉćĞǀĂů ŵŝŶĞŵĂ ƺůĞ
ƚĞŚŝŶŐƵƚ ƐŽŽƌŝƚĂĚĂ ƐŽŽǀŝǀĂůƚ ŵƺƺũĂůƚ ƚĞŚŝŶŐƵƚ ƐŽŽƌŝƚĂĚĂ ƐŽŽǀŝǀĂůĞ ŽƐƚũĂůĞ ƐƁůƚƵŵĂƚƵƐ ũĂ ǀƁƌĚƐĞƚĞů ĂůƵƐƚĞů ƚŽŝŵƵǀĂƐ
ƚĞŚŝŶŐƵƐ ƉćƌĂƐƚ ŬƁŝŐŝůĞ ŶƁƵĞƚĞůĞ ǀĂƐƚĂǀĂƚ ŵƺƺŐŝƚĞŐĞǀƵƐƚ͕ ŬƵƐũƵƵƌĞƐ ŽƐĂƉŽŽůĞĚ ŽŶ ƚĞŐƵƚƐĞŶƵĚ ƚĞĂĚůŝŬƵůƚ͕
ŬĂĂůƵƚůĞƚƵůƚŶŝŶŐŝůŵĂƐƵŶĚƵƐĞƚĂ ;s^ϴϳϱͲϭͿ͘

můĞǀĂĂƚƵƐĞŬƵƵƉćĞǀ ;ĚĂƚĞŽĨŝŶƐƉĞĐƚŝŽŶͿ ŬƵƵƉćĞǀ͕ŵŝůůĂůƚĞŚƚŝŚŝŶŶĂƚĂǀĂǀĂƌĂƺůĞǀĂĂƚƵƐ;s^ϴϳϱͲϭͿ͘

sććƌƚƵƐĞŬƵƵƉćĞǀ ;ĚĂƚĞŽĨǀĂůƵĂƚŝŽŶͿ ŬƵƵƉćĞǀ͕ŵŝůůĞƐĞŝƐƵŐĂŚŝŶĚĂŵŝƐƚƵůĞŵƵƐ;ǀććƌƚƵƐͿŽŶĞƐŝƚĂƚƵĚ ;s^ϴϳϱͲϭͿ͘

,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬƵƵƉćĞǀ ;ĚĂƚĞŽĨǀĂůƵĂƚŝŽŶƌĞƉŽƌƚͿ ŬƵƵƉćĞǀ͕ŵŝůůĂůŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞŽŶĂůůŬŝƌũĂƐƚĂƚƵĚ;s^ϴϳϱͲϭͿ͘

^ĞĚĂŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞƚĞŐĂŵŝŶŐŝƚƐĞůůĞŽƐĂ͕ƐĂŵƵƚŝŵŝƚƚĞŵŝŶŐĞŝĚǀŝŝƚĞŝĚƐĞůůĞůĞĂƌƵĂŶĚĞůĞĞŝƚŽŚŝŝůŵĂŚŝŶĚĂũĂŬŝƌũĂůŝŬƵ
ŶƁƵƐŽůĞŬƵƚĂ ĂǀĂůŝŬƵƐƚĂĚĂ ƺŚĞƐŬŝ ĚŽŬƵŵĞŶĚŝƐ͕ ŬŝƌũĂƐ ĞŐĂ ĂǀĂůĚƵƐĞƐ͕ ƐĂŵƵƚŝ ŵŝƚƚĞ ŬŝƌũĂƐƚĂĚĂ͘ :ƵŚƵů͕ ŬƵŝ ƐĞĚĂ
ŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞƚ ƐŽŽǀŝƚĂŬƐĞ ĂǀĂůĚĂĚĂ͕ ƚƵůĞď ƐĞĞ ĂǀĂůĚĂŵŝƐĞ ǀŽƌŵŝƐ ũĂ ŬŽŶƚĞŬƐƚŝƐ ŚŝŶĚĂũĂŐĂ ĞŶŶĞ ŬŝƌũĂůŝŬƵůƚ ŬŽŬŬƵ
ůĞƉƉŝĚĂ;s^ϴϳϱͲϰͿ͘

<ćĞƐŽůĞǀ ŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞ ŽŶ ĞƐŝƚĂƚƵĚ ŬŽŶĨŝĚĞŶƚƐŝĂĂůƐĞůƚ ƚĞůůŝũĂůĞ ĂŝŶƵůƚ ĞĞůƉŽŽů ĂǀĂůĚĂƚƵĚ ũĂ ƐĞůůĞŬƐ ĞƚƚĞŶćŚƚƵĚ
ĞĞƐŵćƌŐŝů͘,ŝŶĚĂũĂĞŝƐĂĂǀƁƚƚĂĞŶĚĂůĞŵŝŶŐŝƚǀĂƐƚƵƚƵƐƚũƵŚƵů͕ŬƵŝƐĞĚĂŬĂƐƵƚĂďŬĞĞŐŝŬŽůŵĂƐŝƐŝŬ͕ ǀƁŝŬƵŝƐĞĚĂƚĞŚĂŬƐĞ
ƐĞůůĞŬƐŵŝƚƚĞĞƚƚĞŶćŚƚƵĚĞĞƐŵćƌŐŝů;s^ϴϳϱͲϰͿ͘

ϭ͘ϯ͘ ,ŝŶŶĂŶŐƵ ŬĞŚƚŝǀƵƐĞ ĞĞůĚƵƐĞĚũĂŬůĂƵƐůŝĚƉŝŝƌĂƚƵĚǀĂƐƚƵƚƵƐĞŬŽŚƚĂ
,ŝŶĚĂũĂŽŶƚĞŐƵƚƐĞŶƵĚŚŝŶŶĂŶŐƵƚĂŶĚĞƐƐƁůƚƵŵĂƚƵůƚŶŝŶŐŬƁŝŬ ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞƐ ƐŝƐĂůĚƵǀĂĚĂŶĚŵĞĚŽŶ ƚƁĞƐĞĚŶŝŶŐ
ĞƐŝƚĂƚƵĚŬŽůŵĂŶĚĂƚĞŝƐŝŬƵƚĞŚƵǀŝĚĞƐƚƐƁůƚƵŵĂƚƵůƚ͘

,ŝŶŶĂŶŐŬĞŚƚŝďũćƌŐŵŝƐƚĞůĞĞůĚƵƐƚĞů͗
    Ͳ   ŚŝŶĚĂũĂůĞĞƐŝƚĂƚƵĚ ĂŶĚŵĞĚũĂŝŶĨŽƌŵĂƚƐŝŽŽŶŽŶƚƁĞƐĞĚŶŝŶŐŽŶƚćŝĚĞƚƵĚŬƁŝŬŝŚŝŶŶĂŶŐƵŬĞŚƚŝǀƵƐĞƚŝŶŐŝŵƵƐŝ͖
    Ͳ   ŚŝŶŶĂƚĂǀĂůǀĂƌĂůĞŝĞƐŝŶĞǀĂƌũĂƚƵĚƉƵƵĚƵƐŝ͕ŵŝůůĞƚƵǀĂƐƚĂŵŝŶĞǀćůũƵŬƐŚŝŶĚĂũĂƉćĚĞǀƵƐĞƐƚ͖
    Ͳ   ŚŝŶĚĂŵŝƐĞůĞŝŽůĞĂƌǀĞƐƚĂƚƵĚŬŽƌƚĞƌŝƺŚŝƐƚƵƉĂŶĚŝƁŝŐƵƐĞŐĂ͖
    Ͳ   ŚŝŶĚĂŵŝƐĞůĞŝŽůĞĂƌǀĞƐƚĂƚƵĚǀĂƌĂŬŽŽƌŵĂǀĂŚƺƉŽƚĞĞŐŝŐĂ͘

,ŝŶĚĂũĂĞŝǀĂƐƚƵƚĂŶĞŶĚĞŚŝŶŶĂŶŐƵƐŽůĞǀĂƚĞǀĂůĞĂŶĚŵĞƚĞĞĞƐƚ͕ŵŝƐŽŶŚŝŶĚĂũĂůĞĞƐŝƚĂƚƵĚũĂŵŝůůĞƁŝŐƐƵƐĞŬŽŶƚƌŽůůŝŵŝƐĞŬƐ
ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞ ŬŽŽƐƚĂŵŝƐĞŬćŝŐƵƐŚŝŶĚĂũĂůƉƵƵĚƵďǀƁŝŵĂůƵƐǀƁŝƉƁŚũĞŶĚĂƚƵĚǀĂũĂĚƵƐ͘


                                                            ϰ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 11 of 52
,ŝŶĚĂũĂĞŝŽůĞƚĞŽƐƚĂŶƵĚŵŝŶŐĞŝĚƵƵƌŝŶŐƵŝĚƐĂĂƐƚĂƚƵƐĞǀƁŝƐĂĂƐƚƵƐĞŽŚƵŬŽŚƚĂŶŝŶŐƐĞĞŐĂĞŝƐĂĂĞƐŝƚĂĚĂ ŵŝŶŐŝƚŬŝŶĚůĂƚ
ƐĞŝƐƵŬŽŚƚĂ ŬƺƐŝŵƵƐĞƐ͕ ŵŝƐƐƵŐƵŶĞ ǀƁŝŬƐ ŽůůĂ ŶĞŶĚĞ ǀƁŝŵĂůŝŬ ŵƁũƵ ŚŝŶĚĂŵŝƐƚƵůĞŵƵƐĞůĞ͘ ,ŝŶĚĂŵŝƐĞů ŽŶ ůćŚƚƵƚƵĚ
ĞĞůĚƵƐĞƐƚ͕ĞƚŚŝŶŶĂƚĂǀĂůǀĂƌĂůũĂƐĞůůĞůćŚĞĚƵƐĞƐĞŝŽůĞƐĂĂƐƚĂƚƵƐƚĞŐĂƐĂĂƐƚƵƐĞ ŽŚƚƵ͘/ŐĂƐƵŐƵŶĞƐĂĂƐƚĂƚƵƐĞũĂƐĂĂƐƚƵƐĞ
ŽŚƵĂǀĂƐƚĂŵŝŶĞǀƁŝďǀĂƌĂǀććƌƚƵƐƚŽůƵůŝƐĞůƚŵƁũƵƚĂĚĂ;s^ϴϳϱͲϰͿ͘

,ŝŶĚĂũĂ Ğŝ ŽůĞ ƚĞŝŶƵĚ ĞŚŝƚŝƐĞ ƵƵƌŝŶŐƵŝĚ ĞŐĂ ŝŶƐƉĞŬƚĞĞƌŝŶƵĚ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ŶĞŝĚ ŽƐĂƐŝĚ͕ ŵŝƐ ŽŶ ŬĂĞƚƵĚ͕ ǀĂƌũĂƚƵĚ ǀƁŝ
ůŝŐŝƉććƐŵĂƚƵĚ͘ ,ŝŶĚĂŵŝƐĞ ƚĞŽƐƚĂŵŝƐĞůŽŶ ůćŚƚƵƚƵĚ ĞĞůĚƵƐĞƐƚ͕ Ğƚ ŶĞĞĚ ŚŽŽŶĞ ŽƐĂĚ ŽŶ ŚĞĂƐƐĞŝƐƵŶĚŝƐ͘ ,ŝŶĚĂũĂ ĞŝƐĂĂ
ĂǀĂůĚĂĚĂŵŝŶŐŝƚĂƌǀĂŵƵƐƚŚŽŽŶĞŶĞŶĚĞŽƐĂĚĞŬŽŚƚĂ͕ŵŝĚĂĞŝŽůĞŝŶƐƉĞŬƚĞĞƌŝŶƵĚ͕ŶŝŶŐĂŶƚƵĚŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞĞŝŬŝŶŶŝƚĂ
ŚŽŽŶĞƐƚƌƵŬƚƵƵƌŝũĂŬĂƚƚĞŵĂƚĞƌũĂůŝĚĞůĂŝƚŵĂƚƵƐƚ;s^ϴϳϱͲϰͿ͘^ĂŵƵƚŝĞŝŽůĞŚŝŶĚĂũĂƚĞŽƐƚĂŶƵĚƚĞŚŶŽƐƺƐƚĞĞŵŝĚĞ ĞŚŝƚƵƐͲ
ƚĞŚŶŝůŝƐŝƵƵƌŝŶŐƵŝĚ͘

Ϯ͘ ,ŝŶĚĂŵŝƐĞĂůŐĂŶĚŵĞĚũĂŚŝŶŶĂƚĂǀĂǀĂƌĂƺůĞǀĂĂƚƵƐ
Ϯ͘ϭ͘ ,ŝŶĚĂŵŝƐĞůćŚƚĞĂŶĚŵĞĚũĂŚŝŶŶĂƚĂǀĂǀĂƌĂĚŽŬƵŵĞŶƚĂƚƐŝŽŽŶ
,ŝŶĚĂŵŝƐƚƉƵƵĚƵƚĂǀĂĚĂůŐĂŶĚŵĞĚŽŶƐĂĂĚƵĚũćƌŐŵŝƐƚĞƐƚĂůůŝŬĂƚĞƐƚ͗
 ůůŝŬĂƐ                                                                                                 <ƵƵƉćĞǀ
 <ŽŚĂƉĞĂůǀŝŝďŝŶƵĚŝƐŝŬƵ ƉŽŽůƚĞƐŝƚĂƚƵĚŝŶĨŽ                                                             Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 <ŽŚĂƉĞĂůŶĞƺůĞǀĂĂƚƵƐ                                                                                   Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 WćƌŝŶŐDĂĂͲĂŵĞƚŝ ŐĞŽƉŽƌƚĂĂůŝƐƚ͕ ŚƚƚƉƐ͗ͬͬŐĞŽƉŽƌƚĂĂů͘ŵĂĂĂŵĞƚ͘ĞĞ                                           Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 WćƌŝŶŐƌŝŝŬůŝŬƵƐƚĞŚŝƚŝƐƌĞŐŝƐƚƌŝƐƚ͕ŚƚƚƉƐ͗ͬͬǁǁǁ͘ĞŚƌ͘ĞĞ                                                  Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 <ŝŶŶŝƐƚƵƐƌĞŐŝƐƚƌŝƌĞŐŝƐƚƌŝŽƐĂǀćůũĂǀƁƚĞ͕ŚƚƚƉƐ͗ͬͬŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ                                 Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 ǀĂůŝŬĞŬŝŶŶŝƐǀĂƌĂƉŽƌƚĂĂůŝĚĞĂŶĚŵĞĚ͕ŚƚƚƉƐ͗ͬͬŬŝŶŶŝƐǀĂƌĂϮϰ͘ĞĞ͕ŚƚƚƉƐ͗ͬͬǁǁǁ͘Ŭǀ͘ĞĞ                         Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂũĂDĂĂͲĂŵĞƚŝŵĂĂƌĞŐŝƐƚƌŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐ                                           Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 mĚƉůĂŶĞĞƌŝŶŐƵŝŶĨŽŚƚƚƉƐ͗ͬͬǁǁǁ͘ƌĂĞ͘ĞĞͬ                                                                  Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 ĞƚĂŝůƉůĂŶĞĞƌŝŶŐƵƚĞŝŶĨŽƉćƌŝŶŐŚƚƚƉƐ͗ͬͬŵĂƉ͘ƌĂĞ͘ĞĞ                                                      Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 <ŝŶŶŝƐƚƵũĂŐĂŵŝŶĞŬŽƌƚĞƌŝŽŵĂŶĚŝƚĞŬƐ͕ĞƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞƐĞĂĚŵŝƐĞůĞƉŝŶŐ͕ƐŚ                              Ϭϱ͘Ϭϲ͘ϮϬϮϰ
 ŚŽŽŶĞũĂŽƚƵƐƉůĂĂŶŝĚ͕ϭϳ͘Ϭϱ͘ϮϬϮϮ͕ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ

 ůůŚĂŶŐĞ                             ŝŬĂƐƵƚĂƚƵĚ

Ϯ͘Ϯ͘ ,ŝŶĚĂũĂƉŽŽůƚƚƵǀĂƐƚĂƚƵĚ ǀĂƐƚƵŽůƵĚůćŚƚĞĂŶĚŵĞƚĞ;ƐŚĚŽŬƵŵĞŶƚĂƚƐŝŽŽŶŝͿũĂƚĞŐĞůŝŬƵŽůƵŬŽƌƌĂ
     ǀĂŚĞů
 ,/ED/^dh>Dh^dDO:hdsO/ss^dhK>hEDd^
 ,ŝŶĚĂũĂĞŝƚƵǀĂƐƚĂŶƵĚĂŶĚŵĞƚĞĞƌŝŶĞǀƵƐƚƚĞŐĞůŝŬĞũĂƌĞŐŝƐƚƌŝƚĞĂŶĚŵĞƚĞǀĂŚĞů͘


Ϯ͘ϯ͘ ,ŝŶŶĂƚĂǀĂ ǀĂƌĂƺůĞǀĂĂƚƵƐ
 můĞǀĂĂƚƵƐĞŬƵƵƉćĞǀ                   Ϭϰ͘Ϭϲ͘ϮϬϮϰ
 můĞǀĂĂƚƵƐĞƚĞŽƐƚĂŶƵĚŚŝŶĚĂũĂ         <ƵƚƐĞůŝŶĞŶŽŽƌĞŵŚŝŶĚĂũĂDĂĂƌũĂdƌŝŝƐĞ
 můĞǀĂĂƚƵƐĞũƵƵƌĞƐǀŝŝďŝŶƵĚŝƐŝŬ      mƺƌŶŝŬ
 můĞǀĂĂƚƵƐĞƵůĂƚƵƐ                    můĞǀĂĂƚƵƐ ŚƁůŵĂƐ ŚŝŶŶĂƚĂǀĂƚ ǀĂƌĂ ƚĞƌǀŝŬƵŶĂ͕ ǀćůũĂ ĂƌǀĂƚƵĚ ƉĂŶŝƉĂŝŬ͕ ŵŝĚĂ Ğŝ
                                      ǀƁŝŵĂůĚĂƚƵĚ ŚŝŶĚĂũĂů ƺůĞ ǀĂĂĚĂƚĂ͘ ŬƐƉĞƌƚŚŝŶŶĂŶŐƵ ŬŽŽƐƚĂũĂ ŚŝŶŶĂŶŐƵů Ğŝ ŽŵĂ
                                      ĂƐũĂŽůƵ͕ Ğƚ ƉĂŶŝƉĂŝŐĂ ƐŝƐĞŵŝƐƚ ƺůĞǀĂĂƚƵƐƚ Ğŝ ƚĞŽƐƚĂƚƵĚ͕ ŽůƵůŝƐƚ ŵƁũƵ
                                      ŚŝŶĚĂŵŝƐƚƵůĞŵƵƐĞƚćƉƐƵƐĞůĞ͕ŬƵŶĂŶŝŵĞƚĂƚƵĚĞŚŝƚŝƐĞŽƐĂƐŝƐĞǀŝŝŵŝƐƚůƵƐĞƐĞŝƐƵŬŽƌĚ
                                      ŽŶŚŝŶĚĂŵŝƐƚƵůĞŵƵƐĞŬƵũƵŶĞŵŝƐĞůǀćŚĞŽůƵůŝŶĞ͘
 můĞǀĂĂƚƵƐĞƉƁŚũĂůŝŬŬƵƐ               sŝƐƵĂĂůŶĞ ƺůĞǀĂĂƚƵƐ͕ ĞƌŝǀĂŚĞŶĚĞŝĚ Ğŝ ŬĂƐƵƚĂƚƵĚ͕ ŚŝŶĚĂũĂ Ğŝ ŽůĞ ĞŚŝƚŝƐĞ ŬĂĞƚƵĚ ũĂ
                                      ǀĂƌũĂƚƵĚŽƐĂƐŝĚ ŝŶƐƉĞŬƚĞĞƌŝŶƵĚ͘




                                                               ϱ
                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                 >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
              'l,J     I YI ..._,-'
                NISVARA                                                             ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
             Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 12 of 52
ϯ͘ ,ŝŶŶĂƚĂǀĂǀĂƌĂŬŝƌũĞůĚƵƐ
ϯ͘ϭ͘ ƐƵŬŽŚƚ
 DĂŬƌŽĂƐƵŬŽŚƚ
 WĂŝŬŶĞŵŝŶĞ                                  ,ŝŶŶĂƚĂǀ ǀĂƌĂ ĂƐƵď ZĂĞ ǀĂůůĂƐ WĞĞƚƌŝ ĂůĞǀŝŬƵƐ <ŽƉůŝ ƚĞĞů ǀćůũĂŬƵũƵŶĞŶƵĚ
                                             ĞůĂŵƵƉŝŝƌŬŽŶŶĂƐ͘ <ĂƵŐƵƐ dĂůůŝŶŶĂ ƐƺĚĂůŝŶŶĂƐƚ ŽŶ ĐĂ ϲ Ŭŵ͘ ƐƵŬŽŚƚ ŽŶ ƉŝŝƌŬŽŶŶĂ
                                             ƐŝƐĞƐĞůƚŚĞĂ͕ƚƵƌƵŽƐĂůŝƐƚĞƉŽŽůƚŬĞƐŬŵŝƐĞƐƚŵƁŶĞǀƁƌƌĂŬƁƌŐĞŵĂůƚŚŝŶŶĂƚƵĚ͘
                                                                                o Pring/         oTammneeme


                                                                                           Haabneeme
                                                                                              sndvere ~
                                                                                                                                    0
                                      rallt1Inc1 ](lhl                                      Viimsi                                      SavJ
                                                                                     0
                                                                         Miidunmna




     0




     aid


         0
             v'atsJa
                                                                                                                           J              K

         \
     :ahi



                                                                                                                                               




 ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝŬĂĂƌĚŝƌĂŬĞŶĚƵƐ

                                                                       ϲ
                                                                ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                              ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                         >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
           • I y I ..._,-'
I I ~·~ I s V A R A                                                   ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 13 of 52
 DŝŬƌŽĂƐƵŬŽŚƚ
 WŝŝƌŬŽŶŶĂŚŽŽŶĞƐƚƵƐ            mŵďƌƵƐŬŽŶŶĂ ŚŽŽŶĞƐƚƵƐĞ ŵŽŽĚƵƐƚĂǀĂĚ ǀĂůĚĂǀĂůƚ ƵƵĞŵĂĚ ŬŽƌƚĞƌĞůĂŵƵĚ͕
                                ƉĂĂƌŝƐĞůĂŵƵĚ͕ƺŬƐŝŬĞůĂŵƵĚ͘
 /ŶĨƌĂƐƚƌƵŬƚƵƵƌ                 >ćŚŝŵ ŬŽŽůĂƐƵďĐĂ ϭ Ŭŵ ŬĂƵŐƵƐĞů͕ůĂƐƚĞĂĞĚ ĐĂ ϭ Ŭŵ ŬĂƵŐƵƐĞů͕ ŬĂƵƉůƵƐ ĐĂ ϵϬϬ ŵ
                                ŬĂƵŐƵƐĞů͘
 ,ĂůũĂƐƚƵƐũĂŚĞĂŬŽƌĚ           WŝŝƌŬŽŶŶĂƐŽŶŵĂĚĂůͲ ũĂǀćŚĞŶĞŬƁƌŐŚĂůũĂƐƚƵƐ͘ mŵďƌƵƐŬŽŶĚŽŶŚĞĂŬŽƌƌĂƐƚĂƚƵĚ͘
 sĞĞŬŽŐƵĚ                       >ćŚĞĚƵƐĞƐŽŶmůĞŵŝƐƚĞ ũćƌǀ͘
 OŚƵƐĂĂƐƚĂƚƵƐũĂŵƺƌĂ          DƺƌĂͲ ũĂƐĂĂƐƚĂƚƵƐĞƚĂƐĞǀĂƌĂǀĂŚĞƚƵƐƺŵďƌƵƐĞƐŽŶŬĞƐŬŵŝƐĞƐƚŵĂĚĂůĂŵ͕ŬƵŶĂǀĂƌĂ
                                ĂƐƵďŬĞƐŬŵŝƐĞƐƚŵĂĚĂůĂŵĂůŝŝŬůƵƐƚŝŚĞĚƵƐĞŐĂƚćŶĂǀĂ;<ŽƉůŝƚĞĞͿććƌĞƐ͘
 <ŽŶŬƵƌĞĞƌŝǀĂĚƚƵƌƵƉŝŝƌŬŽŶŶĂĚ   WĞĞƚƌŝ ĂůĞǀŝŬ ũĂ dĂůůŝŶŶĂ ŬĞƐŬůŝŶŶĂƐƚ ƐĂƌŶĂƐĞů ŬĂƵŐƵƐĞů ĂƐƵǀĂĚ ǀćůũĂŬƵũƵŶĞŶƵĚ
                                ŬŽƌƚĞƌĞůĂŵƵƉŝŝƌŬŽŶŶĂĚ ĞĞůŬƁŝŐĞZĂĞǀĂůůĂƐ ;ƐƐĂŬƵĂůĞǀŝŬ͕>ĂŐĞĚŝĂůĞǀŝŬ͕:ćƌǀĞŬƺůĂ͕
                                ZĂĞŬƺůĂ͕hƵĞƐĂůƵͿ
 :ƵƵƌĚĞƉććƐ                     :ƵƵƌĚĞƉććƐ ŚŝŶĂƚĂǀĂǀĂƌĂŶŝŽŶ ĂǀĂůŝŬƵůƚŬĂƐƵƚĂƚĂǀĂůƚ<ŽƉůŝƚĞĞ>ϭϬ͖
                                ƐĞĞũćƌĞů ƺůĞ <ŽƉůŝ ƚĞĞ Ϯϲ ŬŝŶŶŝƐƚƵƚ ;ŬĂƚĂƐƚƌŝƚƵŶŶƵƐ͗ ϲϱϯϬϭ͗ϬϬϭ͗ϮϵϰϮͿ ůćďŝǀĂ ƚĞĞ͕
                                ŚŝŶŶĂƚĂǀĂǀĂƌĂŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶƐĞĂƚƵĚũƵƵƌĚĞƉććƐƵƐĞƌǀŝƚƵƵƚ͘

                                dĞĞĚŽŶĂƐĨĂůƚŬĂƚƚĞŐĂ͕ƚćŶĂǀĂǀĂůŐƵƐƚƵƐĞŐĂ͘
 dĞĞĚĞƐŬĞĞŵŝĚ
      Kohalik tee
  N Eratee
  N Metsatee
                                                                             t   · '.
  #    Pohi rnaantee
  #    TL1gimaa, tee
  N    Korvalmaa nt-ee
  N    Ra mp_ , uliemlllstee
  N    M t 1u rilgltee

  N    trassl osa




                                                                                                                        •••


                                                                                                                        ~
                                                                                                                                   '
                                                                      •.
                                                                •          ~~--T~.
                                                                                                                                   0




                                                                                          254
                                                                                                ~
                                                                                                •
                                                                                                    ..
                                                                                                     ~,..,.
                                                                                                              !-1".-.
                                ůůŝŬĂƐ͗ŐĞŽƉŽƌƚĂĂů͘ŵĂĂĂŵĞƚ͘ĞĞ ;ŵĂĂŶƚĞĞĂŵĞƚŝŬĂĂƌƚͿ
 <ĞƌŐůŝŝŬůƵƐƚĞĞĚ ũĂ ĂǀĂůŝŬƵĚ KŶŽůĞŵĂƐũĂŚĞĂƐƐĞŝƐƵŬŽƌƌĂƐ͕ůćŚĞĚƵƐĞƐWĞĞƚƌŝƉĂƌŬ͘
 ƉƵŚŬĞĂůĂĚ
 WĂƌŬŝŵŝŶĞ                      WŝŝƌŬŽŶŶĂƐŽŶƚćŶĂǀĂƚĞććƌĞƐƚĂƐƵƚĂƉĂƌŬŝŵŝŶĞ͘
 mŚŝƐƚƌĂŶƐƉŽƌƚ                  >ćŚŝŵďƵƐƐŝƉĞĂƚƵƐĂƐƵďĐĂϴϬϬ ŵŬĂƵŐƵƐĞů͘

ϯ͘Ϯ͘ KŵĂŶĚŝƐƵŚƚĞĚ
 ZĞŐŝƐƚƌŝŽƐĂŶƵŵďĞƌ             ϮϭϰϲϭϲϱϬ ;ĞůƵƌƵƵŵ͕ϰͲƚŽĂůŝŶĞŬŽƌƚĞƌͿ
 KŵĂŶĚŝǀŽƌŵ                     <ŽƌƚĞƌŝŽŵĂŶĚ
 <ŽƌƚĞƌŝŽŵĂŶĚŝŬŽŽƐƐĞŝƐ         ϳϵϮͬϭϱϭϮϲŵƁƚƚĞůŝƐƚŽƐĂŬŝŶŶŝƐĂƐũĂƐƚ ũĂĞƌŝŽŵĂŶĚŝĞƐĞĞůƵƌƵƵŵŶƌϮϮ͘

                                <ŽƌƚĞƌŝŽŵĂŶŝŬĞ ŬŽŬŬƵůĞƉĞ ƌƁĚƵĚĞ ũĂ ƚĞƌƌĂƐƐŝĚĞ ŬĂƐƵƚĂŵŝƐĞ ŬŽŚƚĂ ǀĂƐƚĂǀĂůƚ
                                ϭϳ͘Ϭϱ͘ϮϬϮϮ͘Ă ůĞƉŝŶŐƵ ƉƵŶŬƚŝůĞ ϱ͘ϭ͘ ZƁĚƵĚ ũĂ ƚĞƌƌĂƐƐŝĚ ũććǀĂĚ ƐĞůůĞ ŬŽƌƚĞƌŝŽŵĂŶĚŝ
                                                         ϳ
                                                  ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                        ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 14 of 52
                                  ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ĂŝŶƵŬĂƐƵƚƵƐƐĞ͕ ŵŝůůĞ ĞƌŝŽŵĂŶĚŝ ĞƐĞŵĞŐĂ ŶĞĞĚ ĞŚŝƚƵƐůŝŬƵůƚ
                                  ƺŚĞŶĚĂƚƵĚŽŶ͘ƌŝŬĂƐƵƚƵƐƁŝŐƵƐƚĞŬŽŬŬƵůĞƉĞǀĂƐƚĂǀĂůƚϭϳ͘Ϭϱ͘ϮϬϮϮ͘ĂůĞƉŝŶŐƵƉƵŶŬƚŝůĞ
                                  ϰ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐŽůĞǀĂƚĞůĞƉůĂĂŶŝĚĞůĞ͘ƌŝŬĂƐƵƚƵƐƁŝŐƵƐƉĂŶŝƉĂŝŐĂůĞ͕ŵŝƐŽŶŚŽŽŶĞ
                                  ϭ͘ŬŽƌƌƵƐĞƉůĂĂŶŝůƚćŚŝƐƚĂƚƵĚŶƌϭϭϴWWũĂǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞůĞ͕ŵŝƐŽŶĂƐĞŶĚŝƉůĂĂŶŝů
                                  ƚćŚŝƐƚĂƚƵĚŶƌϮϰͲϮϭ͕ϮϰͲϮϮ͘
 KŵĂŶŝŬ                          EĞƚŬĞǇKm;ƌĞŐŝƐƚƌŝŬŽŽĚϭϮϴϴϳϲϭϳͿ
 sĂƌĂ ŬĂƐƵŬƐ ƐĞĂƚƵĚ ƉŝŝƌĂƚƵĚ <ĂŶŶĞŶƌϮ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
 ĂƐũĂƁŝŐƵƐĞŬĂŶĚĞĚƌĞŐŝƐƚƌŝŽƐĂ/ Ŷƌ͗ ϭϵϱϰϳϱϱϬ͕ ϭϵϱϰϳϲϱϬ͕ ϭϵϱϰϳϳϱϬ͕ ϭϵϱϰϳϴϱϬ͕ ϭϵϱϰϳϵϱϬ͕ ϭϵϱϰϴϬϱϬ͕ ϭϵϱϰϴϭϱϬ͕
 ũĂŽƐ                             ϭϵϱϰϴϮϱϬ͕ ϭϵϱϰϴϯϱϬ͕ ϭϵϱϰϴϰϱϬ͕ ϭϵϱϰϴϱϱϬ͕ ϭϵϱϰϴϲϱϬ͕ ϭϵϱϰϴϳϱϬ͕ ϭϵϱϰϴϴϱϬ͕
                                  ϭϵϱϰϴϵϱϬ͕ ϭϵϱϰϵϬϱϬ͕ ϭϵϱϰϵϭϱϬ͕ ϭϵϱϰϵϮϱϬ͕ ϭϵϱϰϵϯϱϬ͕ ϭϵϱϰϵϰϱϬ͕ ϭϵϱϰϵϱϱϬ͕
                                  ϭϵϱϰϵϲϱϬ͕ ϭϵϱϰϵϳϱϬ͕ ϭϵϱϰϵϴϱϬ͕ ϭϵϱϰϵϵϱϬ͘ dćŶĂǀĂǀĂůŐƵƐƚƵƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ
                                  ůĞƉŝŶŐƵƉƵŶŬƚŝůĞϯ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                  <ĂŶŶĞŶƌϯ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϭϵϱϰϳϱϱϬ͕ ϭϵϱϰϳϲϱϬ͕ ϭϵϱϰϳϳϱϬ͕ ϭϵϱϰϳϴϱϬ͕ ϭϵϱϰϳϵϱϬ͕ ϭϵϱϰϴϬϱϬ͕ ϭϵϱϰϴϭϱϬ͕
                                  ϭϵϱϰϴϮϱϬ͕ ϭϵϱϰϴϯϱϬ͕ ϭϵϱϰϴϰϱϬ͕ ϭϵϱϰϴϱϱϬ͕ ϭϵϱϰϴϲϱϬ͕ ϭϵϱϰϴϳϱϬ͕ ϭϵϱϰϴϴϱϬ͕
                                  ϭϵϱϰϴϵϱϬ͕ ϭϵϱϰϵϬϱϬ͕ ϭϵϱϰϵϭϱϬ͕ ϭϵϱϰϵϮϱϬ͕ ϭϵϱϰϵϯϱϬ͕ ϭϵϱϰϵϰϱϬ͕ ϭϵϱϰϵϱϱϬ͕
                                  ϭϵϱϰϵϲϱϬ͕ ϭϵϱϰϵϳϱϬ͕ ϭϵϱϰϵϴϱϬ͕ ϭϵϱϰϵϵϱϬ͘ WƵŚŬĞĂůĂͲ ũĂ ŬƁŶŶŝƚĞĞƐĞƌǀŝƚƵƵƚ
                                  ǀĂƐƚĂǀĂůƚůĞƉŝŶŐƵƉƵŶŬƚŝůĞϯ͘Ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                  <ĂŶŶĞŶƌϰ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϰϬϱϯϱϬ͕ ϮϬϰϬϱϰϱϬ͕ ϮϬϰϬϱϱϱϬ͕ ϮϬϰϬϱϲϱϬ͕ ϮϬϰϬϱϳϱϬ͕ ϮϬϰϬϱϴϱϬ͕ ϮϬϰϬϱϵϱϬ͕
                                  ϮϬϰϬϲϬϱϬ͕ ϮϬϰϬϲϭϱϬ͕ ϮϬϰϬϲϮϱϬ͕ ϮϬϰϬϲϯϱϬ͕ ϮϬϰϬϲϰϱϬ͕ ϮϬϰϬϲϱϱϬ͕ ϮϬϰϬϲϲϱϬ͕
                                  ϮϬϰϬϲϳϱϬ͕ ϮϬϰϬϲϴϱϬ͕ ϮϬϰϬϲϵϱϬ͕ ϮϬϰϬϳϬϱϬ͕ ϮϬϰϬϳϭϱϬ͕ ϮϬϰϬϳϮϱϬ͕ ϮϬϰϬϳϯϱϬ͕
                                  ϮϬϰϬϳϰϱϬ͕ ϮϬϰϬϳϱϱϬ͕ ϮϬϰϬϳϲϱϬ͕ ϮϬϰϬϳϳϱϬ͘ dćŶĂǀĂǀĂůŐƵƐƚƵƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ
                                  ůĞƉŝŶŐƵƉƵŶŬƚŝůĞϱ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ

                                  <ĂŶŶĞŶƌϱ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϱϵϱϮϱϬ͕ ϮϬϱϵϱϯϱϬ͕ ϮϬϱϵϱϰϱϬ͕ ϮϬϱϵϱϱϱϬ͕ ϮϬϱϵϱϲϱϬ͕ ϮϬϱϵϱϳϱϬ͕ ϮϬϱϵϱϴϱϬ͕
                                  ϮϬϱϵϱϵϱϬ͕ ϮϬϱϵϲϬϱϬ͕ ϮϬϱϵϲϭϱϬ͕ ϮϬϱϵϲϮϱϬ͕ ϮϬϱϵϲϯϱϬ͕ ϮϬϱϵϲϰϱϬ͕ ϮϬϱϵϲϱϱϬ͕
                                  ϮϬϱϵϲϲϱϬ͕ ϮϬϱϵϲϳϱϬ͕ ϮϬϱϵϲϴϱϬ͕ ϮϬϱϵϲϵϱϬ͕ ϮϬϱϵϳϬϱϬ͕ ϮϬϱϵϳϭϱϬ͕ ϮϬϱϵϳϮϱϬ͕
                                  ϮϬϱϵϳϯϱϬ͕ ϮϬϱϵϳϰϱϬ͕ ϮϬϱϵϳϱϱϬ͕ ϮϬϱϵϳϲϱϬ͘ WƵŚŬĞĂůĂͲ ũĂ ŬƁŶŶŝƚĞĞƐĞƌǀŝƚƵƵƚ
                                  ǀĂƐƚĂǀĂůƚůĞƉŝŶŐƵƉƵŶŬƚŝůĞϰ͘Ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                  <ĂŶŶĞŶƌϲ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϱϵϱϮϱϬ͕ ϮϬϱϵϱϯϱϬ͕ ϮϬϱϵϱϰϱϬ͕ ϮϬϱϵϱϱϱϬ͕ ϮϬϱϵϱϲϱϬ͕ ϮϬϱϵϱϳϱϬ͕ ϮϬϱϵϱϴϱϬ͕
                                  ϮϬϱϵϱϵϱϬ͕ ϮϬϱϵϲϬϱϬ͕ ϮϬϱϵϲϭϱϬ͕ ϮϬϱϵϲϮϱϬ͕ ϮϬϱϵϲϯϱϬ͕ ϮϬϱϵϲϰϱϬ͕ ϮϬϱϵϲϱϱϬ͕
                                  ϮϬϱϵϲϲϱϬ͕ ϮϬϱϵϲϳϱϬ͕ ϮϬϱϵϲϴϱϬ͕ ϮϬϱϵϲϵϱϬ͕ ϮϬϱϵϳϬϱϬ͕ ϮϬϱϵϳϭϱϬ͕ ϮϬϱϵϳϮϱϬ͕
                                  ϮϬϱϵϳϯϱϬ͕ ϮϬϱϵϳϰϱϬ͕ ϮϬϱϵϳϱϱϬ͕ ϮϬϱϵϳϲϱϬ͘ dćŶĂǀĂǀĂůŐƵƐƚƵƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ
                                  ůĞƉŝŶŐƵƉƵŶŬƚŝůĞϰ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                  <ĂŶŶĞŶƌϳ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϰϬϱϯϱϬ͕ ϮϬϰϬϱϰϱϬ͕ ϮϬϰϬϱϱϱϬ͕ ϮϬϰϬϱϲϱϬ͕ ϮϬϰϬϱϳϱϬ͕ ϮϬϰϬϱϴϱϬ͕ ϮϬϰϬϱϵϱϬ͕
                                  ϮϬϰϬϲϬϱϬ͕ ϮϬϰϬϲϭϱϬ͕ ϮϬϰϬϲϮϱϬ͕ ϮϬϰϬϲϯϱϬ͕ ϮϬϰϬϲϰϱϬ͕ ϮϬϰϬϲϱϱϬ͕ ϮϬϰϬϲϲϱϬ͕
                                  ϮϬϰϬϲϳϱϬ͕ ϮϬϰϬϲϴϱϬ͕ ϮϬϰϬϲϵϱϬ͕ ϮϬϰϬϳϬϱϬ͕ ϮϬϰϬϳϭϱϬ͕ ϮϬϰϬϳϮϱϬ͕ ϮϬϰϬϳϯϱϬ͕
                                  ϮϬϰϬϳϰϱϬ͕ ϮϬϰϬϳϱϱϬ͕ ϮϬϰϬϳϲϱϬ͕ ϮϬϰϬϳϳϱϬ͘ WƵŚŬĞĂůĂͲ ũĂ ŬƁŶŶŝƚĞĞƐĞƌǀŝƚƵƵƚ
                                  ǀĂƐƚĂǀĂůƚůĞƉŝŶŐƵƉƵŶŬƚŝůĞϱ͘Ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                  <ĂŶŶĞŶƌϴ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϯϴϬϭϱϬ͕ ϮϬϯϴϬϮϱϬ͕ ϮϬϯϴϬϯϱϬ͕ ϮϬϯϴϬϰϱϬ͕ ϮϬϯϴϬϱϱϬ͕ ϮϬϯϴϬϲϱϬ͕ ϮϬϯϴϬϳϱϬ͕
                                  ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕ ϮϬϯϴϭϰϱϬ͕
                                  ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕ ϮϬϯϴϮϭϱϬ͕
                                  ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ͘ dćŶĂǀĂǀĂůŐƵƐƚƵƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ
                                  ůĞƉŝŶŐƵƉƵŶŬƚŝůĞϲ͘ϭ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͖

                                  <ĂŶŶĞŶƌϵ͘<ŝŶŶŝƐƚƵŝŐĂŬŽƌĚƐĞŽŵĂŶŝŬƵŬĂƐƵŬƐŽŶŬĂŶƚƵĚƌĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞůĞ
                                  Ŷƌ͗ ϮϬϯϴϬϭϱϬ͕ ϮϬϯϴϬϮϱϬ͕ ϮϬϯϴϬϯϱϬ͕ ϮϬϯϴϬϰϱϬ͕ ϮϬϯϴϬϱϱϬ͕ ϮϬϯϴϬϲϱϬ͕ ϮϬϯϴϬϳϱϬ͕
                                  ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕ ϮϬϯϴϭϰϱϬ͕

                                                           ϴ
                                                    ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                  ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                             >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 15 of 52
                                       ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕ ϮϬϯϴϮϭϱϬ͕
                                       ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ͘ WƵŚŬĞĂůĂͲ ũĂ ŬƁŶŶŝƚĞĞƐĞƌǀŝƚƵƵƚ
                                       ǀĂƐƚĂǀĂůƚůĞƉŝŶŐƵƉƵŶŬƚŝůĞϲ͘Ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                       <ĂŶŶĞ Ŷƌ ϭϬ͘ <ŝŶŶŝƐƚƵ ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ŬĂƐƵŬƐ ŽŶ ŬĂŶƚƵĚ ƌĞĂĂůƐĞƌǀŝƚƵƵƚ
                                       ŬŝŶŶŝƐƚƵƚĞůĞŶƌ͗ϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕ϮϬϯϴϬϱϱϬ͕ϮϬϯϴϬϲϱϬ͕
                                       ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕
                                       ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕
                                       ϮϬϯϴϮϭϱϬ͕ϮϬϯϴϮϮϱϬ͕ϮϬϯϴϮϯϱϬ͕ϮϬϯϴϮϰϱϬ͕ϮϬϯϴϮϱϱϬ͘WĂƌŬŝŵŝƐƐĞƌǀŝƚƵƵƚǀĂƐƚĂǀĂůƚ
                                       ůĞƉŝŶŐƵƉƵŶŬƚŝůĞϲ͘ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͖

                                       <ĂŶŶĞ Ŷƌ ϭϭ͘ <ŝŶŶŝƐƚƵ ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ŬĂƐƵŬƐ ŽŶ ŬĂŶƚƵĚ ƌĞĂĂůƐĞƌǀŝƚƵƵƚ
                                       ŬŝŶŶŝƐƚƵƚĞůĞŶƌ͗ϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕ϮϬϯϴϬϱϱϬ͕ϮϬϯϴϬϲϱϬ͕
                                       ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕
                                       ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕
                                       ϮϬϯϴϮϭϱϬ͕ ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ͘ :ƵƵƌĚĞƉććƐƵƐĞƌǀŝƚƵƵƚ
                                       ǀĂƐƚĂǀĂůƚŬćĞƐŽůĞǀĂůĞƉŝŶŐƵƉƵŶŬƚŝůĞϲ͘ϰ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                       <ĂŶŶĞ Ŷƌ ϭϮ͘ <ŝŶŶŝƐƚƵ ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ŬĂƐƵŬƐ ŽŶ ŬĂŶƚƵĚ ƌĞĂĂůƐĞƌǀŝƚƵƵƚ
                                       ŬŝŶŶŝƐƚƵƚĞůĞŶƌ͗ϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕ϮϬϯϴϬϱϱϬ͕ϮϬϯϴϬϲϱϬ͕
                                       ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕
                                       ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕
                                       ϮϬϯϴϮϭϱϬ͕ ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ͘ ůĞŬƚƌŝũƵŚƚŝŵŝƐƐĞƌǀŝƚƵƵƚ
                                       ǀĂƐƚĂǀĂůƚŬćĞƐŽůĞǀĂůĞƉŝŶŐƵƉƵŶŬƚŝůĞϲ͘ϱ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                       <ĂŶŶĞ Ŷƌ ϭϯ͘ <ŝŶŶŝƐƚƵ ŝŐĂŬŽƌĚƐĞ ŽŵĂŶŝŬƵ ŬĂƐƵŬƐ ŽŶ ŬĂŶƚƵĚ ƌĞĂĂůƐĞƌǀŝƚƵƵƚ
                                       ŬŝŶŶŝƐƚƵƚĞůĞŶƌ͗ϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕ϮϬϯϴϬϱϱϬ͕ϮϬϯϴϬϲϱϬ͕
                                       ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕
                                       ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕
                                       ϮϬϯϴϮϭϱϬ͕           ϮϬϯϴϮϮϱϬ͕      ϮϬϯϴϮϯϱϬ͕        ϮϬϯϴϮϰϱϬ͕          ϮϬϯϴϮϱϱϬ͘
                                       ^ĂĚĞŵĞǀĞĞũƵŚƚŝŵŝƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ ŬćĞƐŽůĞǀĂ ůĞƉŝŶŐƵ ƉƵŶŬƚŝůĞ ϲ͘ϲ͘ ũĂ ůĞƉŝŶŐƵ
                                       ůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͘

                                ZĞĂĂůƐĞƌǀŝƚƵƵƚŬŽŽƌŵĂďƚĞĞŶŝǀĂƚŬŝŶŶŝƐĂƐũĂ ǀĂůŝƚƐĞǀĂŬŝŶŶŝƐĂƐũĂ ŬĂƐƵŬƐƐĞůůŝƐĞůƚ͕ Ğƚ
                                ǀĂůŝƚƐĞǀĂŬŝŶŶŝƐĂƐũĂŝŐĂŬŽƌĚŶĞŽŵĂŶŝŬŽŶƁŝŐƵƐƚĂƚƵĚƚĞĞŶŝǀĂƚŬŝŶŶŝƐĂƐũĂƚĞĂƚƵĚǀŝŝƐŝů
                                ŬĂƐƵƚĂŵĂ ǀƁŝ Ğƚ ƚĞĞŶŝǀĂ ŬŝŶŶŝƐĂƐũĂ ŝŐĂŬŽƌĚŶĞ ŽŵĂŶŝŬ ŽŶ ŬŽŚƵƐƚĂƚƵĚ ŽŵĂ
                                ŽŵĂŶĚŝƁŝŐƵƐĞ ƚĞŽƐƚĂŵŝƐĞƐƚ ǀĂůŝƚƐĞǀĂ ŬŝŶŶŝƐĂƐũĂ ŬĂƐƵŬƐ ƚĞĂƚĂǀĂƐ ŽƐĂƐ ŚŽŝĚƵŵĂ͘ϭ
                                WƌĂĞŐƵƐĞůũƵŚƵůŽŶǀĂůŝƚƐĞǀĂŬƐŬŝŶŶŝƐĂƐũĂŬƐŚŝŶŶĂƚĂǀǀĂƌĂ͘
                                <ĂŶŶĞƚĞŵƁũƵŚŝŶŶĂƚĂǀĂǀĂƌĂƚƵƌƵǀććƌƚƵƐĞůĞŽŶƉŽƐŝƚŝŝǀŶĞ͕ŬƵŝĚŵƁũƵƐƵƵƌƵƐĞŝŽůĞ
                                ƺŚĞƐĞůƚŵććƌĂƚůĞƚĂǀ͘
 sĂƌĂ      ŬŽŽƌŵĂƚŝƐƚĞ    ũĂ <ĂŶŶĞ Ŷƌ ϭ͘ /ƐŝŬůŝŬ ŬĂƐƵƚƵƐƁŝŐƵƐ ůĞŬƚƌŝůĞǀŝ Km ;ƌĞŐŝƐƚƌŝŬŽŽĚ ϭϭϬϱϬϴϱϳͿ ŬĂƐƵŬƐ͘
 ŬŝƚƐĞŶĚƵƐƚĞ          ŬĂŶĚĞĚ ƐũĂƁŝŐƵƐƐĞĂĚƵƐĞΑϭϱϴ͘ϭũćƌŐŶĞƚćŚƚĂũĂƚƵŝƐŝŬůŝŬŬĂƐƵƚƵƐƁŝŐƵƐǀĂƐƚĂǀĂůƚϮϰ͘Ϭϱ͘ϮϬϭϴ͘
 ƌĞŐŝƐƚƌŝŽƐĂ///ũĂŽƐ          ĂƐƁůŵŝƚƵĚůĞƉŝŶŐƵƉƵŶŬƚŝĚĞůĞϮ͕͘ϯ͕͘ϰ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐŶƌϮ͕ůŝƐĂŬƐŶƌϯũĂůŝƐĂŬƐŶƌϰ
                                ŽůĞǀĂƚĞůĞƉůĂĂŶŝĚĞůĞ͘

                                       <ĂŶŶĞŶƌϮ͘/ƐŝŬůŝŬŬĂƐƵƚƵƐƁŝŐƵƐŬƚƐŝĂƐĞůƚƐ>s^K;ƌĞŐŝƐƚƌŝŬŽŽĚϭϬϬϵϲϵϳϱͿŬĂƐƵŬƐ͘
                                       ƐũĂƁŝŐƵƐƐĞĂĚƵƐĞ Α ϭϱϴϷ ĂůƵƐĞů ƚćŚƚĂũĂƚƵ ŝƐŝŬůŝŬ ŬĂƐƵƚƵƐƁŝŐƵƐ ǀĞĞƚŽƌƵƐƚŝŬƵ͕
                                       ƐĂĚĞŵĞǀĞĞŬĂŶĂůŝƐĂƚƐŝŽŽŶŝ ƚŽƌƵƐƚŝŬƵ͕ ƌĞŽǀĞĞŬĂŶĂůŝƐĂƚƐŝŽŽŶŝ ƚŽƌƵƐƚŝŬƵ ũĂ ŬƌĂĂǀŝ
                                       ŵĂũĂŶĚĂŵŝƐĞŬƐŬĂŝƚƐĞǀƂƂŶĚŝƵůĂƚƵƐĞƐ

                                       <ĂŶŶĞŶƌϯ͘ ZĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞŶƌϭϵϱϰϳϱϱϬ͕ϭϵϱϰϳϲϱϬ͕ϭϵϱϰϳϳϱϬ͕ϭϵϱϰϳϴϱϬ͕
                                       ϭϵϱϰϳϵϱϬ͕ ϭϵϱϰϴϬϱϬ͕ ϭϵϱϰϴϭϱϬ͕ ϭϵϱϰϴϮϱϬ͕ ϭϵϱϰϴϯϱϬ͕ ϭϵϱϰϴϰϱϬ͕ ϭϵϱϰϴϱϱϬ͕
                                       ϭϵϱϰϴϲϱϬ͕ ϭϵϱϰϴϳϱϬ͕ ϭϵϱϰϴϴϱϬ͕ ϭϵϱϰϴϵϱϬ͕ ϭϵϱϰϵϬϱϬ͕ ϭϵϱϰϵϭϱϬ͕ ϭϵϱϰϵϮϱϬ͕
                                       ϭϵϱϰϵϯϱϬ͕ ϭϵϱϰϵϰϱϬ͕ ϭϵϱϰϵϱϱϬ͕ ϭϵϱϰϵϲϱϬ͕ ϭϵϱϰϵϳϱϬ͕ ϭϵϱϰϵϴϱϬ͕ ϭϵϱϰϵϵϱϬ͕
                                       ϮϬϯϴϬϭϱϬ͕ ϮϬϯϴϬϮϱϬ͕ ϮϬϯϴϬϯϱϬ͕ ϮϬϯϴϬϰϱϬ͕ ϮϬϯϴϬϱϱϬ͕ ϮϬϯϴϬϲϱϬ͕ ϮϬϯϴϬϳϱϬ͕
                                       ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕ ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕ ϮϬϯϴϭϰϱϬ͕
                                       ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕ ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕ ϮϬϯϴϮϭϱϬ͕

ϭ <ĞŚƚŝǀĂƐũĂƁŝŐƵƐƐĞĂĚƵƐΑϭϳϮ ůŐ ϭ͘

                                                               ϵ
                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                 >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                           ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 16 of 52
                                     ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ͕ ϮϬϰϬϱϯϱϬ͕ ϮϬϰϬϱϰϱϬ͕ ϮϬϰϬϱϱϱϬ͕
                                     ϮϬϰϬϱϲϱϬ͕ ϮϬϰϬϱϳϱϬ͕ ϮϬϰϬϱϴϱϬ͕ ϮϬϰϬϱϵϱϬ͕ ϮϬϰϬϲϬϱϬ͕ ϮϬϰϬϲϭϱϬ͕ ϮϬϰϬϲϮϱϬ͕
                                     ϮϬϰϬϲϯϱϬ͕ ϮϬϰϬϲϰϱϬ͕ ϮϬϰϬϲϱϱϬ͕ ϮϬϰϬϲϲϱϬ͕ ϮϬϰϬϲϳϱϬ͕ ϮϬϰϬϲϴϱϬ͕ ϮϬϰϬϲϵϱϬ͕
                                     ϮϬϰϬϳϬϱϬ͕ ϮϬϰϬϳϭϱϬ͕ ϮϬϰϬϳϮϱϬ͕ ϮϬϰϬϳϯϱϬ͕ ϮϬϰϬϳϰϱϬ͕ ϮϬϰϬϳϱϱϬ͕ ϮϬϰϬϳϲϱϬ͕
                                     ϮϬϰϬϳϳϱϬ͕ ϮϬϱϵϱϮϱϬ͕ ϮϬϱϵϱϯϱϬ͕ ϮϬϱϵϱϰϱϬ͕ ϮϬϱϵϱϱϱϬ͕ ϮϬϱϵϱϲϱϬ͕ ϮϬϱϵϱϳϱϬ͕
                                     ϮϬϱϵϱϴϱϬ͕ ϮϬϱϵϱϵϱϬ͕ ϮϬϱϵϲϬϱϬ͕ ϮϬϱϵϲϭϱϬ͕ ϮϬϱϵϲϮϱϬ͕ ϮϬϱϵϲϯϱϬ͕ ϮϬϱϵϲϰϱϬ͕
                                     ϮϬϱϵϲϱϱϬ͕ ϮϬϱϵϲϲϱϬ͕ ϮϬϱϵϲϳϱϬ͕ ϮϬϱϵϲϴϱϬ͕ ϮϬϱϵϲϵϱϬ͕ ϮϬϱϵϳϬϱϬ͕ ϮϬϱϵϳϭϱϬ͕
                                     ϮϬϱϵϳϮϱϬ͕ϮϬϱϵϳϯϱϬ͕ϮϬϱϵϳϰϱϬ͕ϮϬϱϵϳϱϱϬ͕ϮϬϱϵϳϲϱϬŝŐĂŬŽƌĚƐĞƚĞŽŵĂŶŝŬĞŬĂƐƵŬƐ͘
                                     WƵŚŬĞĂůĂͲ ũĂŬƁŶŶŝƚĞĞƐĞƌǀŝƚƵƵƚǀĂƐƚĂǀĂůƚϴ͘Ϭϰ͘ϮϬϮϭůĞƉŝŶŐƵƉƵŶŬƚŝůĞϳ͘ϭ͘ũĂůĞƉŝŶŐƵ
                                     ůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘///ũĂŽŬĂŶŶĞƚĞůŶƌϯͲϱŽŶƺŬƐũĂƐĂŵĂũćƌũĞŬŽŚƚ͘

                                     <ĂŶŶĞŶƌϰ͘ ZĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞŶƌϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕
                                     ϮϬϯϴϬϱϱϬ͕ ϮϬϯϴϬϲϱϬ͕ ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕
                                     ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕ ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕
                                     ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕ ϮϬϯϴϮϭϱϬ͕ ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ
                                     ŝŐĂŬŽƌĚƐĞƚĞ ŽŵĂŶŝŬĞ ŬĂƐƵŬƐ͘ ůĞŬƚƌŝũƵŚƚŝŵŝƐƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ ϴ͘Ϭϰ͘ϮϬϮϭ ůĞƉŝŶŐƵ
                                     ƉƵŶŬƚŝůĞϳ͘Ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϮŽůĞǀĂůĞƉůĂĂŶŝůĞ͘///ũĂŽŬĂŶŶĞƚĞůŶƌϯͲϱŽŶƺŬƐũĂƐĂŵĂ
                                     ũćƌũĞŬŽŚƚ͘

                                     <ĂŶŶĞŶƌϱ͘ ZĞĂĂůƐĞƌǀŝƚƵƵƚŬŝŶŶŝƐƚƵƚĞŶƌϮϬϯϴϬϭϱϬ͕ϮϬϯϴϬϮϱϬ͕ϮϬϯϴϬϯϱϬ͕ϮϬϯϴϬϰϱϬ͕
                                     ϮϬϯϴϬϱϱϬ͕ ϮϬϯϴϬϲϱϬ͕ ϮϬϯϴϬϳϱϬ͕ ϮϬϯϴϬϴϱϬ͕ ϮϬϯϴϬϵϱϬ͕ ϮϬϯϴϭϬϱϬ͕ ϮϬϯϴϭϭϱϬ͕
                                     ϮϬϯϴϭϮϱϬ͕ ϮϬϯϴϭϯϱϬ͕ ϮϬϯϴϭϰϱϬ͕ ϮϬϯϴϭϱϱϬ͕ ϮϬϯϴϭϲϱϬ͕ ϮϬϯϴϭϳϱϬ͕ ϮϬϯϴϭϴϱϬ͕
                                     ϮϬϯϴϭϵϱϬ͕ ϮϬϯϴϮϬϱϬ͕ ϮϬϯϴϮϭϱϬ͕ ϮϬϯϴϮϮϱϬ͕ ϮϬϯϴϮϯϱϬ͕ ϮϬϯϴϮϰϱϬ͕ ϮϬϯϴϮϱϱϬ
                                     ŝŐĂŬŽƌĚƐĞƚĞ ŽŵĂŶŝŬĞ ŬĂƐƵŬƐ͘ WƌƺŐŝŵĂũĂƐĞƌǀŝƚƵƵƚ ǀĂƐƚĂǀĂůƚ ϴ͘Ϭϰ͘ϮϬϮϭ ůĞƉŝŶŐƵ
                                     ƉƵŶŬƚŝůĞϳ͘ϯ͘ũĂůĞƉŝŶŐƵůŝƐĂŬƐϭŽůĞǀĂůĞƉůĂĂŶŝůĞ͘///ũĂŽŬĂŶŶĞƚĞůŶƌϯͲϱŽŶƺŬƐũĂƐĂŵĂ
                                     ũćƌũĞŬŽŚƚ͘

                                     <ĂŶĚĞĚ Ŷƌ ϭ ũĂ Ϯ ŽŶ ƐĞŽƚƵĚ ƚĂǀĂƉćƌĂƐƚĞ ƚĞŚŶŽǀƁƌŬƵĚĞ ŵĂũĂŶĚĂŵŝƐĞ ũĂ
                                     ŚŽŽůĚĂŵŝƐĞŐĂŶŝŶŐĞŝŵƁũƵƚĂŚŝŶŶĂƚĂǀĂǀĂƌĂƚƵƌƵǀććƌƚƵƐƚŶĞŐĂƚŝŝǀƐĞůƚ͕ƐĞƐƚĞŝƉŝŝƌĂ
                                     ƐĞůůĞƐŝŚŝƉćƌĂƐƚŬĂƐƵƚĂŵŝƐƚ͘

                                   sĂƐƚĂǀĂůƚŬĂŶŶĞƚĞůĞŶƌϯ͕ϰũĂ ϱŽŶŬĂŶŶĞƚĞũƵƵƌĞƐŶŝŵĞƚĂƚƵĚŬŝŶŶŝƐƚƵƚĞŽŵĂŶŝŬĞů
                                   ƁŝŐƵƐŬĂƐƵƚĂĚĂ<ŽƉůŝƚĞĞϮϰŬŝŶŶŝƐƚƵƚůćďŝǀĂƚŬƁŶŶŝƚĞĞĚũĂƉƵŚŬĞĂůĂ͕ƉƌƺŐŝŵĂũĂŶŝŶŐ
                                   ũƵŚƚŝĚĂĞůĞŬƚƌŝŬĂĂďĞůůŝŝŶĞůćďŝ<ŽƉůŝƚĞĞϮϰŬŝŶŶŝƐƚƵ͘<ĂŶĚĞĚĞŝĂǀĂůĚĂŚŝŶŶĂƚĂǀĂǀĂƌĂ
                                   ƚƵƌƵǀććƌƚƵƐĞůĞŶĞŐĂƚŝŝǀƐĞƚŵƁũƵ͕ƐĞƐƚĞŝƉŝŝƌĂƐĞůůĞƐŝŚŝƉćƌĂƐƚŬĂƐƵƚĂŵŝƐƚ͘
 sĂƌĂ ŚƺƉŽƚĞĞŐŝ          ŬĂŶĚĞĚ <ĂŶŶĞ Ŷƌ Ϯ͘ ,ƺƉŽƚĞĞŬ ƐƵŵŵĂƐ ϵϭϭ ϮϱϬ͕ϬϬ ĞƵƌŽƚ ,ƺƉŽƚĞĞŬůĂĞŶ ^ ;ƌĞŐŝƐƚƌŝŬŽŽĚ
 ƌĞŐŝƐƚƌŝŽƐĂ/sũĂŽƐ               ϭϭϲϲϯϳϬϯͿ ŬĂƐƵŬƐ͘ <ŝŶŶŝƐƚƵ ŝŐĂŬŽƌĚŶĞ ŽŵĂŶŝŬ ŽŶ ŬŽŚƵƐƚĂƚƵĚ ĂůůƵŵĂ ŬŽŚĞƐĞůĞ
                                   ƐƵŶĚƚćŝƚŵŝƐĞůĞŚƺƉŽƚĞĞŐŝŐĂƚĂŐĂƚƵĚŶƁƵĚĞƌĂŚƵůĚĂŵŝƐĞŬƐ͘

                                     dƵƌƵǀććƌƚƵƐĞŚŝŶĚĂŵŝƐĞůĞŝŽůĞĂƌǀĞƐƚĂƚƵĚǀĂƌĂŬŽŽƌŵĂǀĂŚƺƉŽƚĞĞŐŝŐĂ͘
 <ŽƌƚĞƌŝƺŚŝƐƚƵƉĂŶĚŝƁŝŐƵƐ            <ŽƌƚĞƌŝƺŚŝƐƚƵů ŽŶ ŬŽƌƚĞƌŝŽŵĂŶĚŝƐƚ ƚƵůĞŶĞǀĂƚĞ ŶƁƵĞƚĞ ƚĂŐĂŵŝƐĞŬƐ ŬŽƌƚĞƌŝŽŵĂŶĚŝůĞ
                                     ŬŽƌƚĞƌŝŽŵĂŶĚŝͲ ũĂŬŽƌƚĞƌŝƺŚŝƐƚƵƐĞĂĚƵƐĞƐƚƚƵůĞŶĞǀƉĂŶĚŝƁŝŐƵƐ͕ŵŝůůĞůĞŬŽŚĂůĚĂƚĂŬƐĞ
                                     ĞƐŝŵĞƐĞů ũćƌũĞŬŽŚĂů ŽůĞǀĂ ŚƺƉŽƚĞĞŐŝ ŬŽŚƚĂ ƐćƚĞƐƚĂƚƵƚ͘ <ŽƌƚĞƌŝƺŚŝƐƚƵ ƉĂŶĚŝƁŝŐƵƐĞ
                                     ƐƵƵƌƵƐŽŶŬŽƌƚĞƌŝŽŵĂŶĚŝĞĞůŵŝƐĞŵĂũĂŶĚƵƐĂĂƐƚĂŵĂũĂŶĚĂŵŝƐŬƵůƵĚĞƐƵŵŵĂ͘

                                 ,ŝŶĚĂŵŝƐĞůĞŝŽůĞĂƌǀĞƐƚĂƚƵĚŬŽƌƚĞƌŝƺŚŝƐƚƵƉĂŶĚŝƁŝŐƵƐĞŐĂ͘
 mƺƌŝůĞƉŝŶŐƵĚ                   ,ŝŶĚĂũĂůĞ ƚĞĂĚĂŽůĞǀĂůƚ ŬŽŽƌŵĂď ŚŝŶŶĂƚĂǀĂƚ ǀĂƌĂ ƚćŚƚĂũĂƚƵ ƺƺƌŝůĞƉŝŶŐ͘ dćŚƚĂũĂƚƵ
                                 ƺƺƌŝůĞƉŝŶŐ Ğŝ ŵƁũƵƚĂ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ƚƵƌƵǀććƌƚƵƐƚ ŶĞŐĂƚŝŝǀƐĞůƚ͕ ŬƵŶĂ ƚćŚƚĂũĂƚƵ
                                 ƺƺƌŝůĞƉŝŶŐƵ ůƁƉĞƚĂŵŝƐĞ ĞƚƚĞƚĞĂƚĂŵŝƐĂĞŐ ;ǀĂƐƚĂǀĂůƚ sO^ ŽŶ ϯ ŬƵƵĚͿ ŽŶ ůƺŚĞŵ ŬƵŝ
                                 ǀĂƌĂĞĞůĚĂƚĂǀŵƺƺŐŝƉĞƌŝŽŽĚ;ƚĂǀĂƉćƌĂƐĞůƚŬƵƵƐŬƵƵĚͿ͘
 DƵƵĚ ŽůƵůŝƐĞĚ ǀććƌƚƵƐƚ ,ŝŶĚĂũĂůĞ ƚĞĂĚĂŽůĞǀĂƚĞů ĂŶĚŵĞƚĞů Ğŝ ůĂƐƵ ŚŝŶŶĂƚĂǀĂů ǀĂƌĂů ŵƵŝĚ ƐĞĂĚƵƐƚĞƐƚ ũĂ
 ŵƁũƵƚĂǀĂĚ ƁŝŐƵƐůŝŬƵĚ ƚĞŐƵƌŝĚ ůĞƉŝŶŐƵƚĞƐƚ ƚƵůĞŶĞǀĂŝĚ ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚƵƐƐĞ ŵŝƚƚĞŬĂŶƚƵĚ ƁŝŐƵƐŝ ũĂ ŬŽŚƵƐƚƵƐŝ͕ ŵŝƐ
 ũĂƉŝŝƌĂŶŐƵĚ                    ǀƁŝŬƐŝĚŵƁũƵƚĂĚĂƐĞůůĞǀććƌƚƵƐƚ͘^ĞůůŝƐƚĞĂƐũĂŽůƵĚĞŝůŵŶĞŵŝŶĞǀƁŝďŵƵƵƚĂŬćĞƐŽůĞǀĂƐ
                                 ĞŬƐƉĞƌƚŚŝŶŶĂŶŐƵƐŚŝŶŶĂƚƵĚǀĂƌĂƚƵƌƵǀććƌƚƵƐƚ͘

ϯ͘ϯ͘ DĂĂŬĂƐƵƚƵƐ
 <ĂƚĂƐƚƌŝƚƵŶŶƵƐ                      ϲϱϯϬϭ͗ϬϬϭ͗Ϯϵϰϭ

                                                              ϭϬ
                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                               ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 17 of 52
 KƌƚŽĨŽƚŽ




                           ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝŬĂĂƌĚŝƌĂŬĞŶĚƵƐ
 ^ŝŚƚŽƚƐƚĂƌǀĞ              ůĂŵƵŵĂĂ ϭϬϬй
 WŝŶĚĂůĂ                   ϯϲϭϲŵϮ
 <ƵũƵ͕ƌĞůũĞĞĨ             ďĂŬŽƌƌĂƉćƌĂƐĞ͕ŬƵŝĚŬŽŵƉĂŬƚƐĞ ŬƵũƵŐĂ͕ ƌĞůũĞĞĨ ƐƵŚƚĞůŝƐĞůƚƚĂƐĂŶĞ͘ DĂĂƚƺŬŝŬƵũƵŽŶ
                           ĂĞƌŽĨŽƚŽůƉŝŝƌŝƚůĞƚƵĚƐŝŶŝƐĞ ũŽŽŶĞŐĂ͘
 WĂƌŬŝŵŝŶĞ                 <ŽƌƚĞƌĞůĂŵƵ ŬƁƌǀĂů ĂƐƵǀĂů ǀćůŝƉĂƌŬŝŵŝƐĂůĂů ŬŝŶĚůĂŬƐŵććƌĂƚƵĚ ƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞů͕
                           ƉĂƌŬŝŵŝƐŬŽŚĂĚŽŶũĂŐĂƚƵĚĞƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞŐĂ͘
 ,ŽŽŶĞĚũĂƌĂũĂƚŝƐĞĚ       ,ŽŽŶĞ Ͳ ŬŽƌƚĞƌĞůĂŵƵ
                           ZĂũĂƚŝƐĞĚ ŬĂŶĂůŝƐĂƚƐŝŽŽŶŝƚŽƌƵƐƚŝŬ͕ŬƺůŵĂǀĞĞƚŽƌƵƐƚŝŬ
 ,ĂůũĂƐƚƵƐ                 DĂĚĂůŚĂůũĂƐƚƵƐ͕ƺŬƐŝŬƵĚƉƵƵĚ
 WŝŝƌĚĞĚ                   WƵƵĚƵǀĂĚ
 můĚƉůĂŶĞĞƌŝŶŐ             <ĞŚƚĞƐƚĂƚƵĚ ZĂĞ ǀĂůůĂ ƺůĚƉůĂŶĞĞƌŝŶŐƵ ĂůƵƐĞů ĂƐƵď ŚŝŶŶĂƚĂǀ ǀĂƌĂ ĞůĂŵƵŵĂĂ
                           ;ǀćŝŬĞĞůĂŵƵƚĞ͕ƌŝĚĂĞůĂŵƵƚĞũĂŬŽƌƚĞƌĞůĂŵƵƚĞ ĂůĂ͕ ƚŝŚĞĂƐƵƐƚƵƐĂůĂͿũƵŚƚŽƚƐƚĂƌďĞůŝƐĞů
                           ĂůĂů͘můĚƉůĂŶĞĞƌŝŶŐŽŶŬĞŚƚĞƐƚĂƚƵĚZĂĞsĂůůĂǀŽůŝŬŽŐƵϮϭ͘Ϭϱ͘ϮϬϭϯŽƚƐƵƐĞŐĂŶƌϰϲϮ͘




                                                  ϭϭ
                                           ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''l   'l,J   I Y I ..._, - '
               NISVARA                                                     ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 18 of 52




                                              )> ~




                                                              __,,,,,,.,~ - ~, ~~      ~~

                                         EV                            Elamumaa
                                      ůůŝŬĂƐ͗ŚƚƚƉƐ͗ͬͬǁǁǁ͘ƌĂĞ͘ĞĞͬƌĂĞͲǀĂůůĂͲƵůĚƉůĂŶĞĞƌŝŶŐ
 DŝůũƂƂǀććƌƚƵƐůŝŬƉůĂŶĞĞƌŝŶŐ          WƵƵĚƵď
 ĞƚĂŝůƉůĂŶĞĞƌŝŶŐũĂ                 <ĞŚƚĞƐƚĂƚƵĚ ϬϮ͘Ϭϵ͘ϮϬϬϴ WĞĞƚƌŝŬƺůĂ DćŶŶŝŬƵ//ŬŝŶŶŝƐƚƵĚĞƚĂŝůƉůĂŶĞĞƌŝŶŐWϬϮϲϰ͘
 ĞŚŝƚƵƐƁŝŐƵƐ                          ĞƚĂŝůƉůĂŶĞĞƌŝŶŐƵ ũćƌŐŝ ŽŶ ŬƌƵŶĚŝ <ŽƉůŝ ƚĞĞ Ϯϰ ŵĂŬƐŝŵĂĂůŶĞ ůƵďĂƚƵĚ ĞŚŝƚƵƐĂůƵŶĞ
                                      ƉŝŶĚϭ ϮϰϬŵϮ͕ŵĂŬƐŝŵĂĂůŶĞŬŽƌƌƵƐĞůŝƐƵƐϰ͕ŵĂŬƐŝŵĂĂůŶĞŚŽŽŶĞƚĞĂƌǀϭ͘ sććƌƚƵƐĞ
                                      ŬƵƵƉćĞǀĂƐĞŝƐƵŐĂŽŶĞŚŝƚƵƐƁŝŐƵƐƌĞĂůŝƐĞĞƌŝƚƵĚ͘
                                      ůůŝŬĂƐ͗ŚƚƚƉƐ͗ͬͬŵĂƉ͘ƌĂĞ͘ĞĞͬ

ϯ͘ϰ͘ ,ŽŽŶĞ ŬŝƌũĞůĚƵƐ
 ŚŝƚƵƐĂĂƐƚĂ                          ϮϬϮϮ͘Ă
 ŚŝƚŝƐƌĞŐŝƐƚƌŝŬŽŽĚ                  ϭϮϭϯϭϯϳϭϱ




                                                                                                
ůůŝŬĂƐ͗ŚŝŶĚĂũĂŝŶĨŽ

                                                              ϭϮ
                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                                   ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 19 of 52
 <ŽƌƌƵƐĞůŝƐƵƐ                            ϯ ŵĂĂƉĞĂůƐĞƚŬŽƌƌƵƐƚ
 ŚŝƚŝƐĞĂůƵŶĞƉŝŶĚ                       ϳϰϵ͕Ϯ ŵϮ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 ^ƵůĞƚƵĚŶĞƚŽƉŝŶĚ;^EWͿ                  ϭϳϰϰ͕ϴ ŵϮ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 <ŽƌƚĞƌŝƺŚŝƐƚƵ                           ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰŬŽƌƚĞƌŝƺŚŝƐƚƵ;ϴϬϲϭϭϳϯϳͿ
 ,ĂůĚĂũĂ                                 ,ŽƵƐĞ,ĂůĚƵƐ
 >ŝĨƚ                                    KůĞŵĂƐ
 <ŽƌƚĞƌŝƚĞĂƌǀ                           ůƵƌƵƵŵĞ ϮϮ
 ŚŝƚƵƐůƵďĂ͕ĞŚŝƚƵƐƚĞĂƚŝƐ                ϮϬϭϮϮϳϭͬϮϳϭϲϯ Ϯϲ͘Ϭϴ͘ϮϬϮϬ ŚŝƚƵƐůƵďĂ
 <ĂƐƵƚƵƐůƵďĂ͕ŬĂƐƵƚƵƐƚĞĂƚŝƐϮ             ϮϮϭϮϯϳϭͬϭϬϯϰϱ Ϭϳ͘Ϭϵ͘ϮϬϮϮ <ĂƐƵƚƵƐůƵďĂ
                                         ůůŝŬĂƐ͗ĞŚƌ͘ĞĞ
 ŶĞƌŐŝĂŵćƌŐŝƐ                           ZĞŐŝƐƚƌŝƐƐĞ ŬĂŶĚŵĂƚĂ ŚŽŽŶĞ ĞŶĞƌŐŝĂĂƌǀƵƚƵƐĞů ƉƁŚŝŶĞǀ ĞŶĞƌŐŝĂŵćƌŐŝƐĞ ƚĞĂƚŝƐ͕
                                         ĞŶĞƌŐŝĂŬůĂƐƐ͕ǀćůũĂƐƚĂŵŝƐĞŬƵƵƉćĞǀϬϴ͘Ϭϱ͘ϮϬϮϬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ͕ŚŝŶĚĂŵŝƐĞ
                                         ŚĞƚŬĞůŬĞŚƚŝǀ͘

ϯ͘ϱ͘ ,ŽŽŶĞƉƁŚŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚ
 sƵŶĚĂŵĞŶƚ                               DĂĚĂůǀƵŶĚĂŵĞŶƚ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 <ĂŶĚĞŬŽŶƐƚƌƵŬƚƐŝŽŽŶ                     DŽŶƚĞĞƌŝƚĂǀƌĂƵĚďĞƚŽŽŶ͕ǀćŝŬĞͲ ǀƁŝƐƵƵƌƉůŽŬŬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 sćůŝƐƐĞŝŶĂĚ                             sćŝŬĞͲ ǀƁŝƐƵƵƌƉůŽŬŬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 sĂŚĞůĂĞĚ                                DŽŶƚĞĞƌŝƚĂǀƌĂƵĚďĞƚŽŽŶ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 <ĂƚƵƐͬŬĂƚƵƐĞŬĂƚĞ                        >ĂŵĞŬĂƚƵƐ ͬ ƌƵůůŵĂƚĞƌũĂů;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 sćůŝƐǀŝŝŵŝƐƚůƵƐ                         <ƌŽŚǀ͖ĨĂƐƐĂĂĚŝƉůĂĂƚ;ƐĞĂůŚƵůŐĂƐƚƐĞŵĞŶƚŬŝƵĚƉůĂĂƚͿ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 dƌĞƉŝŬŽĚĂĚĞƵŬƐĞĚͲĂŬŶĂĚ                 ůƵŵŝŝŶŝƵŵƉƌŽĨŝŝůŝƐŬůĂĂƐƵŬƐĞĚ͕WsͲ ƌĂĂŵŝĚĞůƉĂŬĞƚƚĂŬŶĂĚ͕ĨŽŶŽůƵŬŬ
 dƌĞƉŝŬŽũĂƐĞŝƐƵŬŽƌĚ                     sćŐĂŚĞĂ
 <ŽƌƚĞƌĞůĂŵƵ                            <ŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚĞƉƁŚũĂůŝŬŬƵĞŚŝƚƵƐͲƚĞŚŶŝůŝƐƚĞŬƐƉĞƌƚŝŝƐŝĞŝŽůĞƚĞŽƐƚĂƚƵĚ͘sŝƐƵĂĂůƐĞů
 ƉƁŚŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚĞ                   ǀĂĂƚůƵƐĞů ŽŶ ŚŽŽŶĞ ƉƁŚŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚ ǀćŐĂ ŚĞĂƐ ƐĞŝƐƵŬŽƌƌĂƐ͘ KůƵůŝƐŝ ǀĂũƵŵŝƐŝ͕
 ƐĞŝƐƵŬŽƌĚ                               ŶŝŝƐŬƵƐŬĂŚũƵƐƚƵƐŝ ǀƁŝ ĚĞĨŽƌŵĂƚƐŝŽŽŶĞ ƺůĞǀĂĂƚƵƐĞ ĂũĂů Ğŝ ƚƵǀĂƐƚĂƚƵĚ͘ dĞŐĞŵŝƐƚ ŽŶ
                                         ŬĂĂƐĂĞŐƐĞũĂĞŚŝƚƵƐůŝŬƵůƚƵƵĞŵĂĞŚŝƚŝƐĞŐĂ͘
 sćůŝƐǀŝŝŵŝƐƚůƵƐĞƐĞŝƐƵŬŽƌĚ              sćŐĂŚĞĂ

ϯ͘ϲ͘ <ŽƌƚĞƌŝƺůĚĂŶĚŵĞĚ
 sĂƌĂůŝŝŬ                               <ŽƌƚĞƌŝŽŵĂŶĚ ;ĞůƵƌƵƵŵͿ
 <ŽƌƚĞƌŝ ƉŝŶĚĂůĂ                               <ŝŶŶŝƐƚƵƐƌĂĂŵĂƚƵĂŶĚŵĞĚ             I           ŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚ
                                                          ϳϵ͕Ϯ ŵϮ                   I                  ϳϵ͕Ϯ ŵϮ
 WŝŶĚĂůĂ ǀĂƐƚĂǀƵƐ                        <ŝŶŶŝƐƚƵƐƌĞŐŝƐƚƌŝũĂĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚƺŚƚŝǀĂĚ͕ǀĂƐƚƵŽůƵƐŝĚĞŝĞƐŝŶĞ͘
 ,ŝŶĚĂŵŝƐĞůǀƁĞƚĂŬƐĞĂůƵƐĞŬƐ             <ŝŶŶŝƐƚƵƐƌĂĂŵĂƚƵũĂĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚ͕ŵŝĚĂƉĞĞƚĂŬƐĞƁŝŐĞŬƐũĂƵƐĂůĚƵƐǀććƌƐĞŬƐ͘
 <ŽƌƌƵƐ                                  ϯ͘
 ZƵƵŵŝůĂŚĞŶĚƵƐͬƉůĂŶĞĞƌŝŶŐ                ZƵƵŵŝůĂŚĞŶĚƵƐ͗ ƐŝŬ͕ŬŽƌŝĚŽƌ͕ŬƂƂŬͲĞůƵƚƵďĂ͕ŬŽůŵ ŵĂŐĂŵŝƐƚƵďĂ͕ ŐĂƌĚĞƌŽŽď͕
                                         ƉĂŶŝƉĂŝŬ͕ǁĐͲ dusiruum, we, rodu

                                         sĂĂƚĞĚŽŶƉƁŚũĂũĂŝĚĂƐƵƵŶĂů͘

                                         sćůũĂǀƁƚĞŬŽƌƚĞƌŝƉůĂĂŶŝƐƚ͗




Ϯ ŶŶĞ ϮϮ͘Ϭϳ͘ϭϵϵϱ ĂĂƐƚĂƚ Žůŝ ƐĞĂĚƵƐĞŐĂ ƌĞŐƵůĞĞƌŝŵĂƚĂ ŬĂƐƵƚƵƐůŽĂ ŵƁŝƐƚĞ͕ ƐĞĞŐĂ ĞŶŶĞ ƐĞĚĂ ƁŝŐƵƐůŝŬƵů ĂůƵƐĞů ƉƺƐƚŝƚĂƚƵĚ ĞŚŝƚŝƐĞ

ŬĂƐƵƚĂŵŝƐĞŬƐĞŝƉĞĂŽůĞŵĂŬĂƐƵƚƵƐůƵďĂ͘<ƵŝĞŶŶĞϬϭ͘Ϭϳ͘ϮϬϭϱ͘ĂŽůŝĞŚŝƚŝƐǀĂďĂƐƚĂƚƵĚŬĂƐƵƚƵƐůŽĂŬŽŚƵƐƚƵƐĞƐƚŶŝŶŐĞŚŝƚŝƐĞŬĂƐƵƚĂŵŝƐƚ
ŽŶ ĂůƵƐƚĂƚƵĚ͕ ƐŝŝƐ ŽŶ ůƵďĂƚƵĚ ĞŚŝƚŝƐĞ ŬĂƐƵƚĂŵŝŶĞ ŬĂƐƵƚƵƐƚĞĂƚŝƐĞ ǀƁŝ ŬĂƐƵƚƵƐůŽĂƚĂ ;Ś^Z^ Α Ϯϭ ůŐ ϯͿ͘ ŶŶĞ Ϭϭ͘Ϭϳ͘ϮϬϭϱ͘ Ă
ĂƐũĂƁŝŐƵƐƐĞĂĚƵƐĞ ƌĂŬĞŶĚĂŵŝƐĞ ƐĞĂĚƵƐĞ ƚćŚĞŶĚƵƐĞƐ ƁŝŐƵƐůŝŬƵů ĂůƵƐĞů ĞŚŝƚĂƚƵĚ ĞŚŝƚŝƐƚ ǀƁŝď ŬĂƐƵƚĂĚĂ ǀĂƐƚĂǀĂůƚ ĞŚŝƚŝƐĞůĞ ĞƚƚĞŶćŚƚƵĚ
ŬĂƐƵƚĂŵŝƐĞŽƚƐƚĂƌďĞůĞ;Ś^Z^ΑϮϯůŐϮͿ͘<ĂƐƵƚƵƐŽƚƐƚĂƌďĞŵƵƵƚƵŵŝƐĞůƚƵůĞďƚĂŽƚůĞĚĂŬĂƐƵƚƵƐůƵďĂ;ŬƵŝŬĂƐƵƚƵƐůƵďĂŽŶŚ^>ŝƐĂϮ ĂůƵƐĞů
ŬŽŚƵƐƚƵƐůŝŬͿ͘
                                                                  ϭϯ
                                                          ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                             ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                        >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 20 of 52
                                  .                  "
                                                         ( 1Ox2'1        .                      I
                                                                                                                      I VJ,-.           II
                                                                                                                                                                                                   [ ,;-

                                                                                                                                                                                                      ~ i!aa
                                                    II                                      gl                                                           I

                                                                          _1;..,~                                                                                                "j                   X
                                         - l.:"22-1
                                                                                                                          I
                                  '
                                         ,,= ESIK                                                                                                                                                           I
                                  -
                                  '            :.14,4 m'          '"'    .                 :n lo. n = 11
                                                                                    VANN TUBA
                                                                                                              "'
                                                                                                              ,.,
                                                                                                                                , 600            116
                                                                                                                                                                  a-o
                                                                                                                                                                        _B16

                                                                                                                                                                                                            I '!
                                                                                                                                                                  TUBA           ~


                                                                                                  r:
                                                                                    7 ,Br'                                           r:=                         13,9 m2                                    I
                                                                                    .,_/        r-
                                       ,.., 22-               -
                                       KODU
                                           1,3i
                                             _ I,    I~                      CJI
                                                                                                                                                         \J\J l I '                                 -~

                                                                                                J                                            ~
                                                                                            !                                                                                  1()"       )


                                   t LJ
                                                                                                                                                                               1                      ,._
                                                                           3918 22-2
                                      5~tj                                    KORIDOR
                                                                                      i:J
                                                                                                                          I                                                           (               X

                                         1,1 'I'                               5,7 m'

                                  .g           ~


                                                                                                                                                       22                                                   I

                                                         ~.                    ~~
                                               :=
                                                                                                                                                                                                            I;
                                                                                                                                                                                                            I!
                                                                                                                                                       4T                        ~
                                                                                                                                                                                                            I
                                  .            2 -7
                                              Tl BA
                                                                         .            22-E
                                                                                      TUB1
                                                                                                                                                       79,2 m2
                                                                                                                                                                                 ~


                                                                                                                                                                                                            I
                                             101 Om'                                 10,3 n 2
                                  ,--         :: 'SO!/              !'l<l,                      i . ~).2            '11                      ~
                                                                                                                                                             4832....
                                                                                                                                                                          22-9
                                                                                                                                                                                                    •,
                                                                                                                                                                                                      )<
                                                                                                                                                                        ELUTUBA                       ),
                                                                         .                                                                                               26,7 m 2                   .,X

                                                                                                    1                                                                                                 >
                                                                                                                                                                  ~                                   ,X
                                                                                                                                                                                                      /

                                  ,v-/x'vv                              i,/\.,,"'                                             vvv·                                                            y,

                                                     16x23                                          18x2j                                               36 -23 22-0
                                                                                                                                                             RCDU
                                                                                                                                                             5,5 m2

                                  ůůŝŬĂƐ͗ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ
 dƵďĂĚĞĂƌǀ                       ϰƚƵďĂ
 ZƁĚƵ/lodfa                       ZƁĚƵ ϱ͕ϱŵϮ ;ũƵƵƌĚĞƉććƐŬƂƂŬͲĞůƵƚŽĂƐƚͿ
 WĂŶŝƉĂŝŬ                         ƌŝŬĂƐƵƚƵƐƁŝŐƵƐƉĂŶŝƉĂŝŐĂůĞ ;Ϯ͕ϯ ŵϮͿ͕ŵŝƐŽŶŚŽŽŶĞϭ͘ŬŽƌƌƵƐĞƉůĂĂŶŝůƚćŚŝƐƚĂƚƵĚŶƌ
                                  ϭϭϴWW͘
                                  sƚ>ŝƐĂϰ͘
 WĂƌŬŝŵŝƐŬŽŚƚ                     ƌŝŬĂƐƵƚƵƐƁŝŐƵƐǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞůĞ͕ŵŝƐŽŶĂƐĞŶĚŝƉůĂĂŶŝůƚćŚŝƐƚĂƚƵĚŶƌϮϰͲϮϭ ũĂ
                                  ϮϰͲϮϮ͘
                                  sƚ>ŝƐĂϰ͘
 sĂƐƚƵŽůƵĚĂŶĚŵĞƚĞƐ               ,ŝŶĚĂũĂĞŝƚƵǀĂƐƚĂŶƵĚĂŶĚŵĞƚĞĞƌŝŶĞǀƵƐƚƚĞŐĞůŝŬĞũĂƌĞŐŝƐƚƌŝƚĞĂŶĚŵĞƚĞǀĂŚĞů͘

ϯ͘ϳ͘ <ŽƌƚĞƌŝǀŝŝŵŝƐƚůƵƐũĂƐĞŝƐƵŬŽƌĚ
 ůƵƌƵƵŵŝĚĞǀŝŝŵŝƐƚůƵƐ
                WƁƌĂŶĚĂŬĂƚƚĞĚ     EĂƚƵƌĂĂůŶĞŬĂůĂƐĂďĂƉĂƌŬĞƚƚ͕ĞƐŝŬƵƐŬĞƌĂĂŵŝůŝƐĞĚ ƉůĂĂĚŝĚ
                   ^ĞŝŶĂŬĂƚƚĞĚ    sćƌǀŬĂƚĞ
                           >ĂŐŝ   sćƌǀŬĂƚĞ
         DĂƚĞƌũĂůŝĚĞƐĞŝƐƵŬŽƌĚ    sćŐĂŚĞĂ
 ŬŶĂĚ                            <ŽůŵĞŬŽƌĚƐĞŬůĂĂƐŝŐĂWsͲƌĂĂŵŝĚĞůƉĂŬĞƚƚĂŬŶĂĚ
 hŬƐĞĚ                            sćůŝƐƵŬƐƚƵůĞƚƁŬŬĞƵŬƐ͕ƐŝƐĞƵŬƐĞĚƚĂŚǀĞůƵŬƐĞĚ
 ^ĂŶ͘ ƌƵƵŵŝĚĞǀŝŝŵŝƐƚůƵƐ
                WƁƌĂŶĚĂŬĂƚƚĞĚ     <ĞƌĂĂŵŝůŝŶĞƉůĂĂƚ
                   ^ĞŝŶĂŬĂƚƚĞĚ    <ĞƌĂĂŵŝůŝŶĞƉůĂĂƚ
                           >ĂŐŝ   sćƌǀŬĂƚĞ
                   ^ĂŶ͘ ƚĞŚŶŝŬĂ   <ĂĂƐĂĞŐŶĞ
         DĂƚĞƌũĂůŝĚĞƐĞŝƐƵŬŽƌĚ    sćŐĂŚĞĂ
 <ŽŚƚŬŝŶĚĞůƐŝƐƐĞƐĞĂĚĞ            <ŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů




                                                                      ϭϰ
                                                               ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                                 ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                            >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
     L.'' 'l,JIYI..._,_,
II KI      N I s V A R A                                                 ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 21 of 52




                                   ůůŝŬĂƐ͗ŚŝŶĚĂũĂŝŶĨŽ
 ,ŝŶŶĂŶŐŬŽƌƚĞƌŝƺůĚŝƐĞůĞ         <ŽƌƚĞƌ ŽŶ ǀćŐĂ ŚĞĂƐ ƐĞŝƐƵŬŽƌƌĂƐ͕ ŬƵůƵŵ ŵŝŶŝŵĂĂůŶĞ͘ <ĂƐƵƚĂƚƵĚ ŽŶ ŬĂĂƐĂĞŐƐĞŝĚ
 ƐĞŝƐƵŬŽƌƌĂůĞ                      ŬĞƐŬŵŝƐĞŚŝŶŶĂŬůĂƐƐŝǀŝŝŵŝƐƚůƵƐŵĂƚĞƌũĂůĞ͘
 ZĞŵŽŶĚŝǀĂũĂĚƵƐ                    WƵƵĚƵď͘

ϯ͘ϴ͘ <ŽƌƚĞƌŝƚĞŚŶŽƐƺƐƚĞĞŵŝĚ
 sĞĞǀĂƌƵƐƚƵƐ                       sƁƌŬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 <ĂŶĂůŝƐĂƚƐŝŽŽŶ                    sƁƌŬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 ůĞŬƚƌŝǀĂƌƵƐƚƵƐ                   sƁƌŬ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 'ĂĂƐŝǀĂƌƵƐƚƵƐ                     WƵƵĚƵď ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 <ƺƚƚĞƐƺƐƚĞĞŵ                      >ŽŬĂĂůŬƺƚĞ͗ ŚŽŽŶĞƐ ƁŚŬͲǀĞƐŝƐŽŽũƵƐƉƵŵƉ ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝ ĂŶĚŵĞĚͿ͕ ƐŽŽũƵƐŬĂŶĚũĂŬƐ
                                   ǀĞƐŝƉƁƌĂŶĚĂŬƺƚĞ͕ƌƵƵŵŝƉƁŚŝŶĞƌĞŐƵůĞĞƌŝŵŝŶĞ
 ^ŝŐŶĂůŝƐĂƚƐŝŽŽŶ                   WƵƵĚƵď
 sĞŶƚŝůĂƚƐŝŽŽŶ                     ^ŽŽũƵƐƚĂŐĂƐƚƵƐĞŐĂ ǀĞŶƚŝůĂƚƐŝŽŽŶ͕ ŵĞŚĂĂŶŝůŝŶĞ ƐŝƐƐĞƉƵŚĞ ũĂ ͲǀćůũĂƚƁŵŵĞ
                                   ;ĞŚŝƚŝƐƌĞŐŝƐƚƌŝĂŶĚŵĞĚͿ
 dĞŚŶŽƐƺƐƚĞĞŵŝĚĞƐĞŝƐƵŬŽƌĚ         sŝƐƵĂĂůƐĞůǀĂĂƚůƵƐĞů ƚƂƂŬŽƌƌĂƐũĂǀćŐĂ ŚĞĂƐƐĞŝƐƵŬŽƌƌĂƐ͘

ϯ͘ϵ͘ ,ŝŶŶĂŶŐŚŝŶŶĂƚĂǀĂǀĂƌĂŬĞƐƚůŝŬŬƵƐĞǀććƌƚƵƐĞůĞ
<ĞƐƚůŝŬŬƵƐĞŚŬ ũćƚŬƵƐƵƵƚůŝŬŬƵƐŽŶƌĞƐƐƵƌƐƐŝĚĞŬĂƐƵƚĂŵŝƐĞǀŝŝƐŝŶŝŵĞƐƚĞǀĂũĂĚƵƐƚĞƌĂŚƵůĚĂŵŝƐĞŬƐ͕ƐćŝůŝƚĂĚĞƐŬĞƐŬŬŽŶĚĂ
ƐĞůůŝƐĞů ŵŽĞů͕ Ğƚ ǀĂũĂĚƵƐƚĞ ƌĂŚƵůĚĂŵŝŶĞ ŽůĞŬƐ ǀƁŝŵĂůŝŬ ŵŝƚƚĞ ĂŝŶƵůƚ ƉƌĂĞŐƵ͕ ǀĂŝĚ ŬĂ ŵććƌĂŵĂƚƵƐ ƚƵůĞǀŝŬƵƐ͘ <ŽŐƵ
ŬĞƐƚůŝŬŬƵƐĞǀĂůĚŬŽŶĚŬŽŽƐŶĞďŬŽůŵĞƐƚŽƐĂƐƚ͗ŬĞƐŬŬŽŶŶĂ͕ŵĂũĂŶĚƵƐĞũĂƐŽƚƐŝĂĂůƉŽůŝŝƚŝůŝŶĞŬĞƐƚůŝŬŬƵƐ͘ ;s^ϴϳϱͲϭϬͿ

 ,ŝŶŶĂŶŐŬŝŶŶŝƐƚƵŬĞƐƚůŝŬŬƵƐĞǀććƌƚƵƐĞůĞ
 <ĞƐƚůŝŬŬƵƐĞǀććƌƚƵƐ      ,ŝŶĚĂũĂ ŚŝŶŶĂŶŐƵů ŽŶ ŚŝŶŶĂƚĂǀĂů ǀĂƌĂů ũćƌŐŝƚƵĚ ŬŝŶŶŝƐǀĂƌĂ ŬĞƐƚůŝŬƵ ĂƌĞŶŐƵ ƚĂŐĂŵŝƐĞ
                          ƉƁŚŝŵƁƚƚĞŝĚ ũĂ ŚŝŶĚĂũĂ ŚŝŶŶĂŶŐƵů ŽŶ ǀĂƌĂ ŬĞƐƚůŝŬŬƵƐĞ ǀććƌƚƵƐ ƉŽƐŝƚŝŝǀŶĞ͘ dĞŐĞŵŝƐƚ ŽŶ
                          ĞŚŝƚƵƐůŝŬƵůƚ ƵƵĞŵĂ ͲĞŶĞƌŐŝĂŬůĂƐƐ ŬŽƌƚĞƌĞůĂŵƵŐĂ͕ ŵŝůůĞů ŽŶ ŬĂĂƐĂĞŐƐĞĚ ƚĞŚŶŽƐƺƐƚĞĞŵŝĚ͕
                          ŬŽƌƚĞƌĞůĂŵƵũĂŚŝŶŶĂƚĂǀŬŽƌƚĞƌŽŶǀćŐĂŚĞĂƐƐĞŝƐƵŬŽƌƌĂƐ͘




                                                            ϭϱ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 22 of 52
ϰ͘ dƵƌƵƺůĞǀĂĂĚĞ
ϰ͘ϭ͘ DĂũĂŶĚƵƐƺůĞǀĂĂĚĞ
WZK'EKK^͘DĂũĂŶĚƵƐŽŶƚƁƵƐƵůćǀĞůϯ

ĞƐƚŝ WĂŶŐĂ ǀćƌƐŬĞ ƉƌŽŐŶŽŽƐŝ ŬŽŚĂƐĞůƚ ŽŶ ŬĂŚĞ ůĂŶŐƵƐĂĂƐƚĂ ũćƌĞů ƉĂƌĂŶĞŶƵĚ ƚŝŶŐŝŵƵƐĞĚ ŵĂũĂŶĚƵƐĞ ŬĂƐǀƵůĞ
ƉƂƂƌĚƵŵŝƐĞŬƐ͘ŶĞƌŐŝĂũĂŵƵƵƚŽŽƌŵĞŚŝŶŶĂĚŽŶůĂŶŐĞŶƵĚ͕ŚŝŶŶĂƚƁƵƐŽŶĂĞŐůƵƐƚƵŶƵĚŶŝŶŐŝŶŝŵĞƐƚĞŽƐƚƵũƁƵĚĞƐƚŝƐũĂ
ƵƌŽŽƉĂƐŽŶƉĂƌĂŶĞŵĂƐ͘>ŝƐĂŬƐŽŶĞƐƚŝĞƚƚĞǀƁƚƚĞĚĂŬƚŝŝǀƐĞůƚƚĞŐĞůĞŵĂƐŬŽŶŬƵƌĞŶƚƐŝǀƁŝŵĞƉĂƌĂŶĚĂŵŝƐĞŐĂ͘^ĞůůĞĂĂƐƚĂ
ũŽŽŬƐƵů ŽŶ ŽŽĚĂƚĂ ŵĂũĂŶĚƵƐĞ ĞůĂǀŶĞŵŝƐƚ͕ ŬƵŝŐŝ ĂĂƐƚĂ ŬŽŽŶĚƚƵůĞŵƵƐ ũććď ŵƂƂĚƵŶƵůĞ ǀĞĞů ĂůůĂ͘ :ćƌŐŵŝƐĞŬƐ ŬĂŚĞŬƐ
ĂĂƐƚĂŬƐƉƌŽŐŶŽŽƐŝďŬĞƐŬƉĂŶŬƵŵďĞƐϯйƐƵƵƌƵƐƚŵĂũĂŶĚƵƐŬĂƐǀƵ͘

dŝŶŐŝŵƵƐĞĚŵĂũĂŶĚƵƐĞŬĂƐǀƵůĞƉƂƂƌĚƵŵŝƐĞŬƐŽŶƉĂƌĂŶĞŶƵĚ͘ĞƐƚŝŵĂũĂŶĚƵƐŽŶŬĂŚĂŶĞŶƵĚŬĂŬƐũćƌũĞƐƚŝŬƵƐƚĂĂƐƚĂƚ͕ŵŝƐ
ŽŶǀĂƌĂƐĞŵĂƚĞůĂŶŐƵƐƚĞŐĂǀƁƌƌĞůĚĞƐƉŝŬĞŵũĂǀŝŶĚƵǀĂŵ͘^ĞůůĞŽŶƚŝŶŐŝŶƵĚƺŬƐƚĞŝƐƚǀƁŝŵĞŶĚĂŶƵĚƚĂŬŝƐƚƵƐƚĞŬƵŚũƵŵŝŶĞ͕
ŵŝůůĞ ŽƐĂƐ ŽŶ ƉƌĂĞŐƵƐĞŬƐ ƐŝŝƐŬŝ ũƵďĂ ŶćŚĂ ůĞĞǀĞŶĞŵŝƐƚ ǀƁŝ ŽŶ ůĞĞǀĞŶĞŵŝŶĞ ůćŚŝĂũĂů ƐƵƵƌĞ ƚƁĞŶćŽƐƵƐĞŐĂ ũƵŚƚƵŵĂƐ͘
DĂũĂŶĚƵƐĂŬƚŝŝǀƐƵƐĞ ƚƁƵƐƵůĞ ĂŝƚĂǀĂĚ ŬĂĂƐĂ ƚŽŽƌŵĞƚĞ ũĂ ĞŶĞƌŐŝĂŬĂŶĚũĂƚĞ ŚŝŶŶĂůĂŶŐƵƐ ǀĂƌĂƐĞŵĂƚĞůƚ ŬƁƌŐƚĂƐĞŵĞƚĞůƚ͕
ƚĂƌŶĞƉƌŽďůĞĞŵŝĚĞ ǀćŚĞŶĞŵŝŶĞ͕ ĞƵƌŽ ƐŽŽĚƐĂŵ ǀĂŚĞƚƵƐŬƵƌƐƐ͕ ĂĞŐůĂƐĞŬƐ ŵƵƵƚƵŶƵĚ ŚŝŶŶĂƚƁƵƐ ŶŝŶŐ ŽŽĚĂƚĂǀ ƵƌŽŽƉĂ
<ĞƐŬƉĂŶŐĂŝŶƚƌĞƐƐŝŵććƌĂĚĞĂůĂŶĞŵŝŶĞ͘WĂƌĂŶĞŵŝƐĞŬƵƌƐŝůũćƚŬĂďŬĂŝŶŝŵĞƐƚĞŽƐƚƵũƁƵĚ͕ŵŝƐĞƌŐƵƚĂďƚĂƌďŝŵŝƐŬƵůƵƚƵƐŝũĂ
ŵĂũĂŶĚƵƐŬĂƐǀƵ͘dƂƂƚƵƌƵƚƵŐĞǀǀĂƐƚƵƉĂŶƵǀƁŝŵĞƐĞŶŝƐƚĞůĞƌĂƐŬƵƐƚĞůĞŽŶŵĂũĂŶĚƵƐŬĂƐǀƵƚĞŬŬĞůĞŚĞĂŬƐ ƉŝŶŶĂƐĞŬƐ͕ƐĞƐƚ
ƐƵƵƌĞŚƁŝǀĞũĂŵĂĚĂůĂƚƂƂƚƵƐĞŬŽƌƌĂůũĂŐƵŶĞďŽƐƚƵũƁƵƚƁƵƐũĂƚĂƌďŝŵŝƐǀƁŝŵĞƺŚŝƐŬŽŶŶĂƐƺŚƚůĂƐĞŵĂůƚ͘

DĂũĂŶĚƵƐĂŬƚŝŝǀƐƵƐ ƐƵƵƌĞŶĞď͕ ŬƵŝĚ ĂĞŐĂŵŝƐŝ͘ ŶĞƌŐŝĂŬƌŝŝƐŝ ŵƁũƵĚĞŚććďƵŵŝŶĞ ũĂ ŝŶĨůĂƚƐŝŽŽŶŝ ĂĞŐůƵƐƚƵŵŝŶĞ ƐƵƵƌĞŶĚĂď
ŝŶŝŵĞƐƚĞŽƐƚƵũƁƵĚƵĞƐƚŝƐ͘^ĂŵĂĚƚĞŐƵƌŝĚƉĂƌĂŶĚĂǀĂĚƚĂƌďŝũĂƚĞŽƐƚƵũƁƵĚƵŬĂǀćůŝƐƚƵƌŐƵĚĞů͕ŵŝƐĂŶŶĂďŽůƵůŝƐĞƉĂŶƵƐĞ
ƚƵŐĞǀĂůƚŬĂŶŶĂƚĂĚĂƐĂĂŶƵĚĞŬƐƉŽƌĚŝǀƁŝŵĂůƵƐƚĞƉĂƌĂŶĞŵŝƐƐĞ͘^ĂŵĂƐŽŽĚĂƚĂŬƐĞƵƌŽŽƉĂŵĂũĂŶĚƵƐĞũƁƵůŝƐĞŵĂƚŬĂƐǀƵ
ĂůĂƚĞƐũćƌŐŵŝƐĞƐƚĂĂƐƚĂƐƚ͘ĞƐƚŝƚŵƁũƵƚĂďůŝƐĂŬƐŬĂƐĞĞ͕ĞƚŵĞŝĞƚƌĂĚŝƚƐŝŽŽŶŝůŝƐƚĞůĞŬƐƉŽƌĚŝƚƵƌŐƵĚĞůŽŶƐĞŝƐŬĞĞƌƵŬĂŵŬƵŝ
ƵƌŽŽƉĂƐƚĞƌǀŝŬƵŶĂ͕ƐĞĚĂĞŶŶĞŬƁŝŬĞ^ŬĂŶĚŝŶĂĂǀŝĂƐũĂ^ĂŬƐĂŵĂĂů͘^ƵƵƌŽƐĂĞƐƚŝĞƚƚĞǀƁƚĞƚĞƚŽŽƚŵŝƐǀƁŝŵƐƵƐĞƐƚŽŶŶƁƌŐĂ
ŶƁƵĚůƵƐĞ ƚƁƚƚƵ ƐĞŝƐŶƵĚ ũƁƵĚĞ͕ Ɛ͘ƚ ŵĂũĂŶĚƵƐĞů ŽŶ ŽůĞŵĂƐ ƉŽƚĞŶƚƐŝĂĂů ŬĂ ǀćŐĂ ƚƵŐĞǀĂŬƐ ŬĂƐǀƵŬŝŝƌĞŶĚƵƐĞŬƐ͘ <ƵŶĂ ƐĞĞ
ĞĞůĚĂŬƐŚƺƉĞƚĞŬƐƉŽƌĚŝƐŶƁƌŐĂǀćůŝƐŬĞƐŬŬŽŶŶĂŬŝƵƐƚĞ͕ŽŶƐŝŝƐŬŝƚƁĞŶćŽůŝƐĞŵ͕ĞƚƵƵƐŬĂƐǀƵƚƐƺŬŬĞůĂƌĞŶĞďǀĂŽƐŚŽŝƚƵůƚũĂ
ƚƵŐĞǀĂŵĂƚ ŵĂũĂŶĚƵƐŬĂƐǀƵ ǀƁŝď ĞƐƚŝƐ ŽŽĚĂƚĂ ĂůĂƚĞƐ ϮϬϮϱ͘ ĂĂƐƚĂƐƚ͘ ŬƐƉŽƌĚŝǀƁŝŵĂůƵƐŝ ƐƵƵƌĞŶĚĂď ƵƵƚĞůĞ ƚƵƌŐƵĚĞůĞ
ƐŝƐĞŶĞŵŝŶĞ͕ŵŝůůĞůĞĞƚƚĞǀƁƚƚĞĚŽŶũćƌũĞƐƚĞŶĂŵƌƁŚŬƵƉĂŶĞŵĂƐ͕ŬƵŝĚŬĂŶĞĞĚǀƁŝŵĂůƵƐĞĚĂǀĂŶĞǀĂĚĂũĂƉŝŬŬƵ͘

ĞƐƚŝĞƚƚĞǀƁƚƚĞĚƚĞŐĞůĞǀĂĚĂŬƚŝŝǀƐĞůƚŬŽŶŬƵƌĞŶƚƐŝǀƁŝŵĞƉĂƌĂŶĚĂŵŝƐĞŐĂ͘ƚƚĞǀƁƚĞƚĞŚŝŶŶĂƉƁŚŝŶĞŬŽŶŬƵƌĞŶƚƐŝǀƁŝŵĞƉŽůĞ
ĞŶĂŵƐĂŵĂƐƵƵƌĞůƂƂŐŝĂůůŬƵŝĂĂƐƚĂͲŬĂŬƐƚĂŐĂƐŝ͕ĞŶƚĞƚƚĞǀƁƚĞƚĞŬƵůƵďĂĂƐŽŶƐŝŝƐŬŝǀĂƌĂƐĞŵĂŐĂǀƁƌƌĞůĚĞƐŬƁƌŐĞŵ͘^ĞĞ
ŶƺŐŝďƚŽŽƚŵŝƐƚĞƐƚŝƐƐƵƵƌĞŵĂƚƁŚƵƐƵƐĞ͕ĂŐĂŬĂŝŶŶŽǀĂƚƐŝŽŽŶŝƐƵƵŶĂƐ͕ŵŝůůĞŐĂŬƁŝŬĞƚƚĞǀƁƚƚĞŝĚŝůŵƐĞůƚŬĂĂƐĂŵŝŶŶĂĞŝ
ƐƵƵĚĂũĂƐĞĞƚƁƚƚƵũćƚŬƵďƚŽŽƚŵŝƐƌĞƐƐƵƌƐƐŝĚĞƺŵďĞƌƉĂŝŐƵƚƵŵŝŶĞǀĂůĚŬŽŶĚĂĚĞũĂĞƚƚĞǀƁƚĞƚĞǀĂŚĞů͘:ćƚŬƵŶƵĚŽŶƚƌĞŶĚ͕
ŬƵƐ ŝŶŝŵĞƐĞĚ ǀĂŚĞƚĂǀĂĚ ǀćŐĂ ĂŬƚŝŝǀƐĞůƚ ƚƂƂŬŽŚƚŝ ũĂ ůŝŝŬƵŵŝŶĞ ŽŶ ƚŽŝŵƵŶƵĚ ǀĂůĚŬŽŶĚĂĚĞƐƐĞ͕ ŵŝůůĞů ůćŚĞď ƐƵŚƚĞůŝƐĞůƚ
ƉĂƌĞŵŝŶŝ͘^ĞĞŶćŝƚĂď͕ĞƚĞƚƚĞǀƁƚũĂĚŽŶŬŽŚĂŶĞŶƵĚŶŝŶŐƐƵƵĚĂǀĂĚůƵƵĂƵƵƐŝũĂĂŚǀĂƚůĞǀĂŝĚƚƂƂŬŽŚƚŝ͘mŚƚůĂƐŝŽŶƐĞĞŽůŶƵĚ
ƺŬƐ ƉƁŚũƵƐƚĞƐƚ͕ ŵŝƐ ŽŶ ŚƁŝǀĞů ůĂƐŬŶƵĚ ƉƺƐŝĚĂ ŵĂũĂŶĚƵƐůĂŶŐƵƐĞƐƚ ŚŽŽůŝŵĂƚĂ͘ >ŝƐĂŬƐ ƐĞůůĞůĞ ŽŶ ŚƁŝǀĞƚ ƐććƐƚŶƵĚ ŬĂ
ƚƂƂƚƵŶĚŝĚĞǀćŚĞŶĞŵŝŶĞ͕ ŵŝƐ ŽŶ ƚŽŝŵƵŶƵĚ ǀĂůĚĂǀĂůƚ ƚƂƂƚĂũĂƚĞ ŽŵĂů ƐŽŽǀŝů ũĂƚƂƂĂŶĚũĂƚĞůƚƵůĞď ŬĂĞĚĂƐƉŝĚŝ ŚĂŬŬĂŵĂ
ƐĂĂĚĂŵƵƵƚƵŶƵĚƚƂƂĂũĂĞĞůŝƐƚƵƐƚĞŐĂ͘

ZŝŝŬ ŽŶ ŵĂũĂŶĚƵƐůĂŶŐƵƐƚ ƉĞŚŵĞŶĚĂŶƵĚ͕ ŬƵŝĚ ƐĞĞ ŽŶ ƐƵƵƌĞŶĚĂŶƵĚ ĞĞůĂƌǀĞƉƵƵĚƵũććŬŝ͘ sĂůŝƚƐĞŵŝƐƐĞŬƚŽƌ ŽŶ ĞĞůĂƌǀĞ
ƉƵƵĚƵũććŐŝ ƐƵƵƌĞŶĚĂŵŝƐĞŐĂ ůŝƐĂŶƵĚ ŵĂũĂŶĚƵƐƐĞ ƚćŝĞŶĚĂǀĂůƚ ƌĂŚĂ͕ ŵŝůůĞƐƚ ŽƐĂ ŽŶ ĞƌŐƵƚĂŶƵĚ ŬĂ ŶƁƵĚůƵƐƚ ũĂ ƉŝŝƌĂŶƵĚ
ŵĂũĂŶĚƵƐůĂŶŐƵƐĞƵůĂƚƵƐƚ͘<ƵŝǀĂůŝƚƐƵƐŬŽĂůŝƚƐŝŽŽŶũćƚŬĂďƉƌĂĞŐƵƐĞŬƐƐĞĂĚƵƐƚĂƚƵĚŵĂŬƐƵŵƵƵĚĂƚƵƐƚĞŐĂǀĂƌĂƐĞŵĂůƚǀćůũĂ
ŬƵũƵŶĞŶƵĚŬƵůƵƚĂƐĞŵĞũƵƵƌĞƐ͕ƐŝŝƐƐƺǀĞŶĞďĞĞůĂƌǀĞƉƵƵĚƵũććŬũĂƐƚŝŵƵůĞĞƌŝŵŝƐĞƵůĂƚƵƐƚƵůĞǀĂůĂĂƐƚĂůǀĞĞůŐŝ͘^ĞĞũƵƵƌĞƐ
ŬƵũƵŶĞďϮϬϮϱ͘ĂĂƐƚĂŵĂũĂŶĚƵƐŬĂƐǀĞĞůĚĂƚĂǀĂůƚũƵďĂƺƐŶĂŬŝŝƌĞŬƐũĂƐĞƐƚĂƉƉŽůĞƌŝŝŐŝƚćŝĞŶĚĂǀĂƚĞĞůĂƌǀĞƚƵŐĞŵĂũĂŶĚƵƐĞůĞ
ĞŶĂŵ ǀĂũĂ͘ ƌǀĞƐƚĂĚĞƐ ƐĞŶŝ ŵĂũĂŶĚƵƐŬĂƐǀƵ ƚĂŬŝƐƚĂŶƵĚ ƉƁŚŝƉƌŽďůĞĞŵŝĚĞ ŽůĞŵƵƐƚ            ƌĂƐŬƵƐƚĞƐ ĞŬƐƉŽƌĚŝƚƵƌƵĚ͕
ƚĂƌŶĞƌĂƐŬƵƐĞĚ͕ŬĂůůŝƐĞŶĞƌŐŝĂ͕ŽƐĂĚĞćƌŝŵƵĚĞůŝƚĞůƁƉƉĞŵŝŶĞƐƁũĂŐĂƐĞŽŶĚƵǀĂůƚ͕ŚŝŶŶĂƉƁŚŝƐĞŬŽŶŬƵƌĞŶƚƐŝǀƁŝŵĞŬĂĚƵ
ƐŝŝƐŶĞŝĚƉƌŽďůĞĞŵĞƚćŝĞŶĚĂǀƌŝŝŐŝƉŽŽůŶĞŬƵůƵƚĂŵŝŶĞŽůƵůŝƐĞůŵććƌĂůĞŝůĞĞǀĞŶĚĂ͘:ćƌũĞƐƚĞŶĂŵƚƁƵƐĞďĂŐĂƉćĞǀĂŬŽƌĚĂ
ǀĂũĂĚƵƐŬĂŚĂŶĚĂĚĂƐƚƌƵŬƚƵƵƌƐĞƚĞŚŬƉƺƐŝǀĂŬƐŬƵũƵŶĞŶƵĚĞĞůĂƌǀĞƉƵƵĚƵũććŬŝ͘:ćƌŐŵŝƐƚĞůĂĂƐƚĂƚĞůŽŶǀćůũĂŬƵƚƐĞŬƐŵŝƚƚĞ
ƺůĞƚĂĚĂϯйƉƵƵĚƵũććŐŝƉŝŝƌŝ͕ŵŝƐůŝƐĂŬƐƌŝŝŐŝƌĂŚĂŶĚƵƐĞũćƚŬƵƐƵƵƚůŝŬƵůĞƌĂũĂůĞƐƵƵŶĂŵŝƐĞǀĂũĂĚƵƐĞůĞůćŚĞŬƐǀĂƐƚƵŽůůƵŬĂ
ƵƌŽŽƉĂ>ŝŝĚƵƺŚŝƐƚĞƌĞĞŐůŝƚĞŐĂ͘&ŝƐŬĂĂůĚŝƐƚƐŝƉůŝŝŶŝƚĂĂƐƚĂŵŝŶĞŽŶŽůƵůŝŶĞǀƁůĂŬƵŚũƵŵŝƐĞǀćůƚŝŵŝƐĞŬƐũĂŽůƵůŝŶĞŽŶŬĂ͕Ğƚ
ƉƵƵĚƵũććŐŝƐƚǀćůũƵŵŝŶĞĞŚŬĨŝƐŬĂĂůƐƚŝŝŵƵůŝĞĞŵĂůĚĂŵŝŶĞƚŽŝŵƵŬƐǀŝŝƐŝů͕ŵŝƐĞŝŬĂŚũƵƐƚĂŬƐŵĂũĂŶĚƵƐĞŬĂƐǀƵǀƁŝŵĂůƵƐŝ͘




ϯ ĞƐƚŝWĂŶŐĂŵĂũĂŶĚƵƐƉƌŽŐŶŽŽƐƐĞŝƐƵŐĂϮϲ͘Ϭϯ͘ϮϬϮϰ

                                                            ϭϲ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                                            :c
                                                                                                               ,;tl ,C




                                                                                                                                       :> l
                                                                                         :':{



                                                                                                                              l> (
                                                                                                                         <-
                                                                                                         - -




                                                                                                                                                                                                                               ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
                                                                   -•
                                                                                                                                     :;Q




                                                                   ĞƐƚŝWĂŶŐĂŵĂũĂŶĚƵƐƉƌŽŐŶŽŽƐŝƉƁŚŝŶćŝƚĂũĂĚ͗
                                                                                                                                            I I I I I I I I I




                                                                                                                                                                                                                            ϮϬϮϮ                ϮϬϮϯ                  ϮϬϮϰΎ         ϮϬϮϱΎ                          ϮϬϮϲΎ
                                                                    ŵĂũĂŶĚƵƐĞŵĂŚƚũŽŽŬƐĞǀŚŝŶĚĂĚĞƐ;ŵůĚĞƵƌŽĚĞƐͿ                                                                                                           ϯϱ͕ϵϴ               ϯϳ͕ϲϴ                  ϯϵ͕ϯϴ         ϰϭ͕ϰϴ                          ϰϯ͕ϰϯ
                                                                    ŵĂũĂŶĚƵƐŬĂƐǀƉƺƐŝŚŝŶĚĂĚĞƐ;йͿ                                                                                                                            ͲϬ͕ϱ                Ͳϯ͕ϭ                   ͲϬ͕ϲ           ϯ͕Ϯ                            ϯ͕ϭ
                                                                    ŚŝŶŶĂƚƁƵƐ;йͿ                                                                                                                                           ϭϵ͕ϰ                  ϵ͕Ϯ                    ϯ͕Ϯ           Ϯ͕ϰ                            ϭ͕ϵ
                                                                    ƚƂƂƚƵƐ;йͿ                                                                                                                                                ϱ͕ϲ                 ϲ͕ϰ                    ϳ͕ϲ           ϳ͕Ϯ                            ϲ͕ϴ
                                                                    ŬĞƐŬŵŝŶĞďƌƵƚŽƉĂůŬ;ĞƵƌŽĚĞƐͿ                                                                                                                            ϭϲϰϱ                ϭϴϯϮ                   ϭϵϱϵ          ϮϬϰϵ                           Ϯϭϰϳ
                                                                    ŬĞƐŬŵŝƐĞƉĂůŐĂŵƵƵƚƵƐ;йͿ                                                                                                                               ϭϭ͕ϳ                 ϭϭ͕ϰ                    ϲ͕ϵ           ϰ͕ϲ                            ϰ͕ϴ
                                                                    ĞĞůĂƌǀĞƚĂƐĂŬĂĂů;й^<WƐƚͿ                                                                                                                                ͲϬ͕ϴ                Ͳϯ͕ϰ                   Ͳϯ͕Ϯ          Ͳϰ͕ϰ                           Ͳϯ͕ϱ
                                                                   ΎWƌŽŐŶŽŽƐ
                                                                   ůůŝŬĂĚ͗ƐƚĂƚŝƐƚŝŬĂĂŵĞƚ͕ĞƐƚŝWĂŶŬ
                                                                   ϰ͘Ϯ͘ dĂůůŝŶŶĂũĂ,ĂƌũƵŵĂĂŬŽƌƚĞƌŝƚƵƌƵƺůĞǀĂĂĚĞ
                                                                   ϮϬϮϰ͘ ĂĂƐƚĂ ĂůŐĂƐ ,ĂƌũƵŵĂĂ ĞůĂŵƵƚƵƌƵů ƐƵŚƚĞůŝƐĞůƚ ƌĂŚƵůŝŬƵůƚ͕ ŵŝƐ Žůŝ ƚŝŶŐŝƚƵĚ ƺŚĞůƚƉŽŽůƚ ƚĂǀĂƉćƌĂƐĞƐƚ ŚŽŽĂũĂůŝƐĞƐƚ
Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 23 of 52




                                                                   ŵĂĚĂůƐĞŝƐƵƐƚ͕ĂŐĂƚĞŝƐĂůƚŬĂũƵďĂǀĂƌĞŵĂůŐƵƐĞƐĂĂŶƵĚƚƵƌƵŽƐĂůŝƐƚĞŬƺůůĂůƚŬŝǀćŚĞƐĞƐƚĂŬƚŝŝǀƐƵƐĞƐƚ͘
                                                                   >ĞǀŝŶƵĚĂƌƵƐĂĂŵĂŵƺƺŐŝŚŝŶĚĂĚĞǀƁŝŵĂůŝŬƵƐƚůĂŶŐƵƐĞƐƚŽůŝĞŶĚŝƐĞůƚƌĂƐŬĞŵƵƌĚĂ͕ƐĞƐƚƐĞůůŝƐƚŽŽƚƵƐƚũƵƚŽĞƚĂƐŝĚũćƚŬƵǀ
                                                                   ŵĂũĂŶĚƵƐůĂŶŐƵƐũĂĞŶĚŝƐĞůƚŬƺůůĂůƚŬŝŬƁƌŐĞŝŶƚƌĞƐƐŝŬĞƐŬŬŽŶĚ͘:ĂŽŵĞƚŝŬƁŝŐĞůĞƐĞůůĞůĞƉƺƐŝƐŝĚŚŝŶŶĂĚŝŬŬĂŐŝƐĂŵĂůƚĂƐĞŵĞů͕
                                                                   ŵŝƐƐŝŝƐŽŵĂŬŽƌĚĂƚćŚĞŶĚĂďũćƚŬƵǀĂƚƐƵƌǀĞƚŵƺƺŐŝŚŝŶĚĂĚĞůĞŬĂĞĚĂƐƉŝĚŝ͕ƐĞƐƚŵĂũĂŶĚƵƐŬĞƐŬŬŽŶĚƉƺƐŝďŬĞŚǀ͘
                                                                   >ĂĞŶƵ ĂŶĚũĂĚ ƉƺƺĚƐŝĚ ũćƌũĞƐƚ ĞŶĂŵ ƚŽĞƚĂĚĂ ƚĞŚŝŶŐƵŶŝ ũƁƵĚŵŝƐƚ ƉĂŬŬƵĚĞƐ ǀƁŝĚƵ ƉĂƌŝŵĂŝĚ ůĂĞŶƵƚŝŶŐŝŵƵƐŝ ŶŝŶŐ
                                                                   ůĞĞǀĞŶĚĂĚĞƐůĂĞŶƵƐĂĂŵŝƐĞƉŽůŝŝƚŝŬĂƚ͘WćƌŝƐŽŽĚĂƚƵĚŵƁũƵƐĞůůĞůǀĞĞůĞŝƚĞŬŬŝŶƵĚ͕ƐĞƐƚƚĞŚŝŶŐƵƚĞĂƌǀƵƐŬĂƐǀƵƚćŚĞůĚĂĚĂ
                                                                   ĞŝŽůŶƵĚũĂŬĂƐǀĂƐŚŽŽƉŝƐŵƺƺŐŝƉĂŬŬƵŵŝƐƚĞĂƌǀ͘:ƁƵůŝƐĞůƚŬĂƐǀĂƐŬĂŬŽĚƵůĂĞŶƵƚĂŽƚůƵƐƚĞĂƌǀ͕ŵŝƐƐŝŝƐǀŝŝƚĂďƐĞůůĞůĞ͕Ğƚ
                                                                   ƚĞŚŝŶŐƵƚĞ Ăƌǀ ƉĞĂŬƐ ŶƺƺĚ ƐĞůůĞů ĂĂƐƚĂů ŚĂŬŬĂŵĂ ŬĂƐǀĂŵĂ ũĂ ƐĞůůĞŐĂ ƺŚĞƐŬŽŽƐ ƉĞĂŬƐ ƉĂƌĂŶĞŵĂ ŬĂ ŬŝŶŶŝƐǀĂƌĂƚƵƌƵ
                                                                   ŶĞĞůĚƵǀƵƐǀƁŝŵĞ͘
                                                                   dĂůůŝŶŶĂƐ Žůŝ ϮϬϮϯ͘Ă͘ /s ŬǀĂƌƚĂůŝ ũĂ ϮϬϮϰ͘Ă͘ / ŬǀĂƌƚĂůŝ ǀƁƌĚůƵƐĞƐ ƚĞŚŝŶŐƵƚĞ Ăƌǀ ůĂŶŐƵƐĞƐ͘ / ŬǀĂƌƚĂůŝƐ Žůŝ ƚĞŚŝŶŐƵƐ ϭϳϮϵ
                                                                   ŬŽƌƚĞƌŝŽŵĂŶĚŝƚ͕ ŵŝĚĂ ŽŶ ŬǀĂƌƚĂůŝƚĞ ǀƁƌĚůƵƐĞƐ ƵŵďĞƐ ϮϬй ǀćŚĞŵ͘ WĞĂŵŝŶĞ ĞƌŝŶĞǀƵƐ ŬĂŚĞ ŬǀĂƌƚĂůŝ ǀĂŚĞů Žůŝ ƚŝŶŐŝƚƵĚ
                                                                   ƚĞŚŝŶŐƵƐƚƌƵŬƚƵƵƌŝƐƚ͕ƐĞƐƚ/sŬǀĂƌƚĂůŝƐƐĞŵĂŚƚƵƐǀćŐĂƐƵƵƌŚƵůŬůƁƉƵŵƺƺŬĞ͕Ɛ͘Ś͘ƵƵƐĂƌĞŶĚƵƐƚĞŵƺƺŬĞ͕ŵŝĚĂ/ŬǀĂƌƚĂůŝƐ
                                                                   ĞŶĂŵŶŝŝƉĂůũƵĞŝŽůŶƵĚ͘<ƵŝǀĂĂĚĂƚĂƚĞŚŝŶŐƵƚĞĂƌǀƵůĂŶŐƵƐƚůŝŶŶĂŽƐĂĚĞĂƌǀĞƐƚƵƐĞƐ͕ƐŝŝƐĞŶŝŵůĂŶŐĞƐƚĞŚŝŶŐƵƚĞĂƌǀŶĞŶĚĞƐ
                                                                   ůŝŶŶĂŽƐĂĚĞƐ͕ŬƵƐƵƵƐĂƌĞŶĚƵƐŝŽůŝůćŚŝŵŝŶĞǀŝŬƵƐŬƁŝŐĞĞŶĂŵ͗,ĂĂďĞƌƐƚŝ͕<ƌŝƐƚŝŝŶĞ͕WƁŚũĂͲdĂůůŝŶŶĂůŝŶŶĂŽƐĂ͘
                                                                                                                                            I




                                                                                                                                Tallinna linna korteriomandite tehingute arv ja keskmine hind
                                                                                                                                              aastatel 2018-2024 kvartalite lõikes
                                                                                                         o5-s¼s I I

                                                                                                                                           l'c ap~ I I
                                                                                                01




                                                                                                                                                                                                                                                                                                01
                                                                                                                                                                                                                                                                                     _.I\JI\JWW
                                                                                          w
                                                                                                 0
                                                                                                 0




                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                0
                                                                     Tehingute arv, tk

                                                                                          w
                                                                                                0
                                                                                                0
                                                                                                0




                                                                                                                                                                                                                                                                                              0
                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                0

                                                                                                                                                                                                                                                                                                     Hind, €/m 2
                                                                                           I\J
                                                                                           01




                                                                                                                                                                                                                                                                                           01
                                                                                                 0
                                                                                                 0




                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                0
                                                                                           I\J
                                                                                                0
                                                                                                0
                                                                                                0




                                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                0
                                                                                                01




                                                                                                                                                                                                                                                                                     01
                                                                                                           1
                                                                                                 0
                                                                                                 0




                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                     ...
                                                                                                         I
                                                                                                0
                                                                                                0
                                                                                                0




                                                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                                                           0
                                                                                                               2400




                                                                                                                                                                                                                                                                                     001
                                                                                                01


                                                                                                         I
                                                                                                 0
                                                                                                 0




                                                                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                                                           0
                                                                                                     0




                                                                                                                                                                ... ==
                                                                                                                                                                           -
                                                                                                                                           ~
                                                                                                                                                                 I\J

                                                                                                                                                                           (£)
                                                                                                                                                                  0
                                                                                                                                                                :5·


                                                                                                                                                                                     :5·




                                                                                                                                                                                                                               :5·




                                                                                                                                                                                                                                                :5·

                                                                                                                                                                                                                                                           :5·
                                                                                                                                                         -I




                                                                                                                                                                                                                          -I



                                                                                                                                                                                                                                         ,,_.
                                                                                                                                                                                                                                         ,,_.


                                                                                                                                                                                                                                                                 C.
                                                                                                                                                                                 -:::1"




                                                                                                                                                                                                                                                      -:::1"
                                                                                                                                                                ~




                                                                                                                                                                                                                           ~
                                                                                                                                                                               CD


                                                                                                                                                                                               CD




                                                                                                                                                                                                                    ~
                                                                                                                                                                       Ill




                                                                                                                                                                                                    Ill




                                                                                                                                                                                                                                         Ill
                                                                                                                                                                       ::::,




                                                                                                                                                                                                                                 ::::,
                                                                                                                                                                                                      <!




                                                                                                                                                                                                                                         CD



                                                                                                                                                                                                                                                      CD
                                                                                                                                                                                                                                         en
                                                                                                                                                                                          co
                                                                                                                                                                                           C:




                                                                                                                                                                                                                                                3
                                                                   ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐ
                                                                   dĞŚŝŶŐƵƚĞĂƌǀƵŵƵƵƚƵƐƚƁŝŬĂĂƐĂŬĂŬĞƐŬŵŝƐĞŚŝŶŶĂŵƵƵƚƵƐĞ͕ŬƵŝĚŶƵŵďƌŝƚĞƐƐĞƐƺǀĞŶĚĞƐǀƁŝƐũćƌĞůĚĂĚĂ͕ĞƚƚĞŐĞŵŝƐƚŽůŝ
                                                                   ƚĞŚŝŶŐƵƚĞƐƚƌƵŬƚƵƵƌŝƐƚƚŝŶŐŝƚƵƐƚŶćŚƚƵƐĞŐĂ͘ŐĂŬŽŶŬƌĞĞƚƐĞůƚƐĂŵĂǀććƌƐĞƚĞŽƐƚƵͲŵƺƺŐŝƚĞŚŝŶŐƵƚĞǀƁƌĚůĞŵŝƐĞůĞŝƐĂĂŶƵĚ
                                                                   ŽůƵůŝƐƚŚŝŶŶĂŵƵƵƚƵƐƚŬǀĂƌƚĂůŝƚĞǀƁƌĚůƵƐĞƐƚćŚĞůĚĂĚĂĞŚŬŚŝŶŶĂƚĂƐĞũćŝŬǀĂƌƚĂůŝƚĞǀƁƌĚůƵƐĞƐƐĂŵĂƐƵŐƵƐĞŬƐ͘
                                                                   KŵĞƚŝ ũćƚŬƵƐ ƚƵƌƵů ŽƐƚũĂƚĞ ƐĞĂƐ ŽŽƚƵƐ ŚŝŶĚĂĚĞ ůĂŶŐĞŵŝƐĞŬƐ͕ ƐĞƐƚ ŬŽĚƵŵĂũĂƉŝĚĂŵŝƐƚĞ ŬŝŶĚůƵƐƚƵŶŶĞ Žůŝ ŵĂĚĂů ũĂ ƐĞůůĞ
                                                                   ƚĂƵƐƚĂůŽůŝǀćŚĞŶĞŝĚ͕ŬĞƐƐƵƵĚƐŝĚũĂƚĂŚƚƐŝĚƚĞŚĂŬŝŶŶŝƐǀĂƌĂƚĞŚŝŶŐƵŝĚ͘
                                                                                                                                                                                                                  ϭϳ
                                                                                                                                                                                                           ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
                                                                   DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
                                                                   <ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
          'l,J
                                                                          ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
          Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 24 of 52
 <ŽƌƚĞƌŝƚĞĂƌŝƚŵĞĞƚŝůŝŶĞŬĞƐŬŵŝŶĞƺŚŝŬƵŚŝŶĚϮϬϮϰ͘Ă͘/ŬǀũĂŵƵƵƚƵƐǀƁƌƌĞůĚĞƐϮϬϮϯ͘Ă͘/sŬǀͲŐĂ͗
  Haabersti 3154 €/m 2 Ͳϴй        Kesklinn 3510 €/m 2 Ͳϱй      Kristiine 3349 €/m 2 +2%      Lasnamae 2389 €/m 2 +0%
  Mustamae 2500 €/m 2 Ͳϴй          Nomme 2603 €/m 2 +3%         Pirita 2878 €/m 2 Ͳϰй         WƁŚũĂͲTallinn 3100 €/m 2 Ͳϭϰй

 <ŽƌƚĞƌŝƚƵƌƵǀćůũĂǀƁƚƚĞĚϮϬϮϰ͘Ă͘ƐĞŝƐƵŐĂ͗
     Ͳ Tehingute arv on ajaloolisest keskmisest monevorra madalam;
     Ͳ    Hinnalangus on peatunud, kahe kvartali vordluses on see pi.isinud samal tasemel;
     Ͳ Jatkub surve mi.ii.igihindade langetamiseks;
     Ͳ    Euribori langus (voi jutud sellest) toovad turule teatavat elavnemist;
     Ͳ    Mi.ii.igivajadus teeb mi.ii.ijad paindlikumaks;
     Ͳ Aeg huvilisega esmakontaktist kuni ostuotsuse ja mi.ii.igitehinguni on jatkuvalt suhteliselt pikk;
     Ͳ    Ostjatel on jatkuvalt pohjalikult kaalutletud ostuotsused;
     Ͳ    Stabiliseerunud hinnad hakkavad tooma kaasa rohkem selgus ja julgustama ostjaid ostuotsust langetama;
     Ͳ    Hinnakasvust suurem palgakasv parandab elamispindade ostujoudu, kuid i.ildine korteri taskukohasus pi.isib
            ajaloolisest keskmisest madalamal tasemel. Taskukohasemad on jarelturu korterid, uued korterid on koige
            vahem taskukohasemad;
      Ͳ     Oi.irikorterite pakkumiste maht kasvab;
      Ͳ     Uusarenduste tu rule siseneb rohkem arendajaid;
      Ͳ     Uute korterite pakkumiste maht kasvab, aga turu neelduvusvoime pi.isib endiselt tagasihoidlik;
      Ͳ     Uute korterite broneerimislepingute arv on umbes 10% uute korterite pakkumistest, mis on hoidmas
            uusarenduste turule tulekut ikkagi endiselt tagashoidlikuna.

EƁƵĚůƵƐ
EƁƵĚůƵƐƉƺƐŝƐƐƵŚƚĞůŝƐĞůƚ ŵĂĚĂůĂůƚĂƐĞŵĞů͕ ŵŝƐŽůŝ ƐƵƵƌĞƐƚŝ ƚŝŶŐŝƚƵĚĞƵƌŝďŽƌŝ ŵƵƵƚƵƐĞƐƚŶŝŶŐƐĞĚĂŶćŝƚĂƐŝĚŬĂ ŵƁŶĞĚ
ŶƁƵĚůƵƐĞƚĂĂƐƚĂŵŝƐĞŬƐŵƁĞůĚƵĚůĂŚĞŶĚƵƐĞĚ͘EćŝƚĞŬƐƉƺƺƚŝƚƵƌƵůŬƁƌŐĞĞƵƌŝďŽƌŝŵƁũƵůĞĞǀĞŶĚĂĚĂĞƌŝŶĞǀĂƚĞǀŝŝƐŝĚĞŐĂ͗
ƉĂŬƵƚŝŶƵůůŵĂƌŐŝŶĂĂůŝŐĂůĂĞŶĞ͕ͲĞŶĞƌŐŝĂŬůĂƐƐŝŐĂǀĂƌĂĚĞůĞ ƉĂŬƵƚŝ ŵĂĚĂůĂŵĂ ŝŶƚƌĞƐƐŝŐĂ ůĂĞŶĞ͕ ĞƐƚŝ WĂŶŬ ůĞĞǀĞŶĚĂƐϭ͘
ĂƉƌŝůůŝƐƚůĂĞŶƵǀƁŝŵĞŬƵƐĞƚĞƐƚŝŵŝƐĞƚŝŶŐŝŵƵƐŝ͕ƉĂŶŬĂĚĞǀĂŚĞůŝƐĞĚŬŽŶŬƵƌĞĞƌŝŵŝƐĞĚǀćŚĞŶĚĂƐŝĚŵĂƌŐŝŶĂĂůĞũŵƐ͘

dƵƌƵŽƐĂůŝƐƚĞŚŝŶŶĂŶŐƵůĂǀĂůĚĂƐŵƁũƵŬĂĞƵƌŝďŽƌŝƐƚĂďŝůŝƐĞĞƌƵŵŝŶĞũĂƐĞůůĞŬŽŚĂƚŝŶĞůĂŶŐĞŵŝŶĞ͘ĂƐƚĂƚĞŝƐĞƐƉŽŽůĞƐ͕ŬƵŝ
ĞƵƌŝďŽƌ ƉƌŽŐŶŽŽƐŝĚĞ ũćƌŐŝ ĂůůĂƉŽŽůĞ ůŝŝŬƵŵĂ ŚĂŬŬĂď͕ ǀćŚĞŶĞď ŬŽĚƵůĂĞŶƵ ŝŐĂŬƵŝŶĞ ůĂĞŶƵŵĂŬƐĞ͕ ŵŝƐ ƉĞĂŬƐ ŵƁũƵƚĂŵĂ
ŶƁƵĚůƵƐƚƉŽƐŝƚŝŝǀƐĞůƚĞŚŬƚŽŽŵĂƚƵƌƵůĞŵŝŶŐŝůŵććƌĂůŽƐƚũĂŝĚƚĂŐĂƐŝ͘EƁƵĚůƵƐĞƉĂƌĂŶĞŵŝƐƚƉĞĂŬƐƚŽĞƚĂŵĂŬĂƉĂůŐĂŬĂƐǀ
ĞŚŬŽƐƚƵũƁƵƚĂĂƐƚƵŵŝŶĞ͕ƐĞƐƚƐŝƐƐĞƚƵůĞŬƵƚĞŬĂƐǀŽŶŽůŶƵĚŬŝŝƌĞŵǀƁƌƌĞůĚĞƐŚŝŶĚĂĚĞŬĂƐǀƵŐĂ͘^ĞĚĂƐŝŵƵƵƚƵďŽƐƚũĂũĂŽŬƐ
ŬŝŶŶŝƐǀĂƌĂũćƌŬͲũćƌŐƵůƚƚĂƐŬƵŬŽŚĂƐĞŵĂŬƐ͘

<Ă ůĂĞŶƵĂŶĚũĂĚ ĞĞůŝƐƚĂǀĂĚ ũćƚŬƵǀĂůƚ ƚƵŐĞǀĂ ŵĂŬƐĞǀƁŝŵĞŐĂ͕ ǀĂƌĂƐĞŵĂ ŚĞĂ ŵĂŬƐĞŬćŝƚƵŵŝƐĞŐĂ͕ ƉŝŝƐĂǀĂ
ŽŵĂĨŝŶĂŶƚƐĞĞƌŝŶŐƵŐĂũĂŚĞĂƐŬŽƌƌĂƐƚĂŐĂƚŝƐǀĂƌĂŐĂŬůŝĞŶƚĞ͘

^ŝŝƐŬŝũććďƉĂƌĂŶĞǀĂŶƁƵĚůƵƐĞŐĂƚĂƵƐƚĂůĞŝŬŬĂŐŝĞďĂŬŝŶĚĞůŵĂũĂŶĚƵƐŬĞƐŬŬŽŶĚ͕ŵŝƐŬćĞƐŽůĞǀĂůĂĂƐƚĂůƚƁŽƚĂďƚƵůůĂĞĞůŶĞǀĂ
ĂĂƐƚĂŐĂ ƺƐŶĂ ƐĂƌŶĂŶĞ͘ :ćƌĞůŝŬƵůƚ ƺůĚŝƐƚĂĚĞƐ ǀƁŝď ŬćĞƐŽůĞǀĂŬƐ ĂĂƚĂŬƐ ƉƌŽŐŶŽŽƐŝĚĂ Ŭƺůů ŶƁƵĚůƵƐĞ ƉĂƌĂŶĞŵŝƐƚ͕ ĂŐĂ
ŬŽŬŬƵǀƁƚƚĞƐũććďƐĞĞŝŬŬĂŐŝ ƐĞůŐĞůƚƐƵŚƚĞůŝƐĞůƚŵĂĚĂůĂůĞƚĂƐĞŵĞůĞ͘EćŝƚĞŬƐŶƁƵĚůƵƐƚŵƁũƵƚĂǀŽƐƚƵũƁƵĚƉĞĂŬƐƉƌŽŐŶŽŽƐŝĚĞ
ŬŽŚĂƐĞůƚƚĂĂƐƚƵŵĂĂůůĞƐŬŽůŵĞĂĂƐƚĂƉćƌĂƐƚ͘

WĂŬŬƵŵŝŶĞ
ĂƐƚĂ ĂůŐƵƐĞƐƚ ĂůĂƚĞƐ ŵƺƺŐŝƉĂŬŬƵŵŝƐƚĞ Ăƌǀ ŬĂƐǀĂƐ͘ ĞůŬƁŝŐĞ Žůŝ ƐĞĚĂ ƚćŚĞůĚĂĚĂ ŬƁƌŐĞŵĂ ŚŝŶŶĂŬůĂƐƐŝ ǀĂƌĂĚĞŐĂ
ůŝŶŶĂŽƐĂĚĞƐ͕ŬƵƐ ŬĂƐǀƵŵććƌĂĚ ŽůŝĚ ŬǀĂƌƚĂůŝǀƁƌĚůƵƐĞƐ ŬŽŚĂƚŝ ŬĂŚĞŬŽŚĂůŝƐĞĚ ĞŚŬ ƚƵƌƵůĞ ƚƵůŝ ƉĂŬŬƵŵŝƐƚ ũƵƵƌĚĞ ƌŽŚŬĞŵ
ǀƁƌƌĞůĚĞƐƚƵƌƵŶĞĞůĚƵǀƵƐǀƁŝŵĞŬƵƐĞŐĂ͘

^ƵŚƚĞůŝƐĞůƚǀćŚĞĞŚŬŵƁŶĞƉƌŽƚƐĞŶĚŝũĂŐƵƺůĞƐƐĞͲĂůůĂŵƵƵƚƵƐƉĂŬŬƵŵŝƐƚĞĂƌǀŵĂŐĂůĂƉŝŝƌŬŽŶŶĂƐ͕ŬƵƐƉĂŬƵƚĂǀĂŬŝŶŶŝƐǀĂƌĂ
ŚŝŶŶĂƚĂƐĞ Žůŝ ŬŽŐƵ ƉĞĂůŝŶŶĂ ĂƌǀĞƐƚƵƐĞƐ ŬĞƐŬŵŝŶĞ ǀƁŝ ŬŽŚĂƚŝ ŬĞƐŬŵŝƐĞƐƚ ŵĂĚĂůĂŵ͘ <Ƶŝ ƐŝŝĂ ũƵƵƌĚĞ ƚƵƵĂǀƁƌĚůƵƐĞŬƐ ŬĂ
ŵĂŐĂůĂƉŝŝƌŬŽŶĚĂĚĞƚĞŚŝŶŐƵƚĞŵĂŚƚ͕ƐŝŝƐǀƁŝďƐŝŝƚũćƌĞůĚĂĚĂ͕ĞƚŵĂŐĂůĂƉŝŝƌŬŽŶĚĂĚĞƐƐĞŽŶƚĞŬŬŝŶƵĚƚĞĂƚĂǀƐƚĂďŝŝůƐƵƐ͕ŵŝĚĂ
ƉƁŚũĂƐŬćŝŶƵĚŵĂũĂŶĚƵƐĞŶĂŵũƵƐƚŬƵŝŽůƵůŝƐĞůƚĞŝŬƁŝŐƵƚĂ͘^ĞĚĂƚŽĞƚĂďŬĂŵĂĂͲĂŵĞƚŝƚĞŚŝŶŐƵƚĞƐƚĂƚŝƐƚŝŬĂ͕ŬƵƐŶƂǀĂŶĞŵĂ
ĞůĂŵƵĨŽŶĚŝƚĞŚŝŶŐƵƚĞĂƌǀŽůŝϮϬϮϯ͘Ă͘/sũĂ ϮϬϮϰ͘Ă͘/ŬǀĂƌƚĂůŝǀƁƌĚůƵƐĞƐƺƐŶĂƐĂƌŶĂŶĞ͘




                                                             ϭϴ
                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                    ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                               >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                                            :c
                                                                                                    ,;tl ,C
                                                                              :':{




                                                                                                                            :> l
                                                                                                              <-
                                                                                                                   l> (




                                                                                                                                                                                                                                 ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
                                                                   ••

                                                                                                                          :;Q




                                                                                                                                dĂůůŝŶŶĂŬŽƌƚĞƌŝƚĞŬĞƐŬŵŝŶĞŵƺƺŐŝƉĂŬŬƵŵŝƐƚĞĂƌǀũĂŬĞƐŬŵŝŶĞŚŝŶĚ
                                                                                                                                                  ĂĂƐƚĂƚĞůϮϬϮϬͲϮϬϮϰŬƵƵĚĞůƁŝŬĞƐ
                                                                                            ϱϬϬϬ                                                                                                                                                                                     ϰϬϬϬ
                                                                                                                                                                                                                                                                                     ϯϱϬϬ
                                                                                                                                                                                                                                                                                               Keskmine hind, €/m 2




                                                                                            ϰϬϬϬ
                                                                       Pakkumiste arv, tk




                                                                                                                                                                                                                                                                                     ϯϬϬϬ
                                                                                            ϯϬϬϬ                                                                                                                                                                                     ϮϱϬϬ
                                                                                                                                                                                                                                                                                     ϮϬϬϬ
                                                                                            ϮϬϬϬ                                                                                                                                                                                     ϭϱϬϬ
                                                                                                                                                                                                                                                                                     ϭϬϬϬ
                                                                                            ϭϬϬϬ
                                                                                                                                                                                                                                                                                     ϱϬϬ
                                                                                              Ϭ                                                                                                                                                                                      Ϭ
                                                                                                   jaan.20


                                                                                                                           juuni.20




                                                                                                                                                                                                                                               ~ mai.23




                                                                                                                                                                                                                                                                          marts.24
                                                                                                                                       nov.20




                                                                                                                                                                                     veebr.22




                                                                                                                                                                                                                                                           okt.23
                                                                                                                                                      apr.21




                                                                                                                                                                                                     ~juuli.22


                                                                                                                                                                                                                            ~ dets.22
                                                                                                                                                                     sept.21
Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 25 of 52




                                                                                                                                      I



                                                                                                                                                                                                I




                                                                                                                                                ŬƚŝŝǀƐĞŝĚƉĂŬŬƵŵŝƐŝ
                                                                                                                                                                                                                                                "
                                                                                                                                                                                                                                    =r
                                                                                                                                                                                                                                         _a.
                                                                                                                                                                                                                      7"




                                                                                                                                                                                                                                        5·
                                                                                                                                                                                                                           ~-
                                                                                                                                                                                                                 V,




                                                                   ůůŝŬĂƐ͗ŬŝŶŶŝƐǀĂƌĂƉŽƌƚĂĂůŬǀ͘ĞĞ͕ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
                                                                   :ćƚŬƵǀĂůƚǀƁŝƐƉŝĚĂĚĂŽƐƚũĂƚƐĞůůŝƐĞŬƐ͕ŬĞƐƐĂŝƌŽŚŬĞŵŽƚƐƵƐƚĂĚĂƚĞŚŝŶŐƵŚŝŶŶĂƺůĞ͕ƐĞƐƚƉĂŬŬƵŵŝƐƚĞĂƌǀŽůŝƐƵƵƌĞŶĞŶƵĚ
                                                                   ĞŚŬǀĂůŝŬƵǀĂďĂĚƵƐƚĞƌŝŶĞǀĂƚĞǀĂƌĂĚĞǀĂŚĞůŽůŝƉŝŝƐĂǀĂůƚ͘,ŝƌŵƉĂŬŬƵŵŝƐĞƐŽůĞǀĂƐƚǀĂƌĂƐƚŝůŵĂũććĚĂŽůŝŽƐƚũĂƚĞůƺƐŶĂǀćŝŬĞ͘
                                                                   ^ŝŝƐŬŝ ŽŶ ŽŽĚĂƚĂ͕ Ğƚ ŽƐƚũĂƚĞ ŽƚƐƵƐĞĚ ƉĞĂŬƐŝĚ ƚĞĂƚĂǀĂů ŵććƌĂů ŬŝŝƌĞŵĂŬƐ ŵƵƵƚƵŵĂ͕ ƐĞƐƚ ƉĂŬŬƵŵŝƐŚŝŶŶĂĚ ŽŶ
                                                                   ƐƚĂďŝůŝƐĞĞƌƵŶƵĚũĂƐĞĞŽŶƚŽŽŶƵĚŬĂĂƐĂŵƁŶŝŶŐĂƐƚƐĞůŐƵƐƚ͘^ĞĞƉĞĂŬƐŵŝŶŐŝůŵććƌĂůƉĂƌĂŶĚĂŵĂǀĂƌĂĚĞůŝŬǀŝŝĚƐƵƐƚũĂƺŚĞƐ
                                                                   ƐĞůůĞŐĂƉĞĂŬƐĂĞŐůƵƐƚƵŵĂŬĂƉĂŬŬƵŵŝƐƚĞŬĂƐǀ͘
                                                                   DĂĂŬŽŶŶĂŬŽƌƚĞƌŝĚ
                                                                   hŵďĞƐ ǀĞĞƌĂŶĚ ,ĂƌũƵŵĂĂ ŬŽƌƚĞƌŝƚĞ ƚĞŚŝŶŐƵƚĞƐƚ ƚĞŚƚŝ ǀćůũĂƐƉŽŽů dĂůůŝŶŶĂƚ ŶŝŶŐ ƐĞůůŝƐĞŽƐĂŬĂĂůƵŐĂ ƐƵŚĞ ŽŶ ǀĂůŝƚƐĞŶƵĚ
                                                                   ŬƺůůĂůƚŬŝƉŝŬŬĂĂĞŐĂ͘<ǀĂƌƚĂůŝƚĞǀƁƌĚůƵƐĞƐŵƵƵƚƵƐƚĞŚŝŶŐƵƚĞĂƌǀͲϯйĞŚŬ/ŬǀĂƌƚĂůŝƐƚĞŚƚŝϱϱϴŬŽƌƚĞƌŝŽƐƚƵͲŵƺƺŐŝƚĞŚŝŶŐƵƚ͘
                                                                   sŝŝŵĂƐĞ ŬĂƐǀƵ Žůŝ ƚćŚĞůĚĂĚĂ ĂŝŶƵůƚ ŬĞƐŬŵŝƐĞƐƚ ũƁƵŬĂŵĂƚĞƐ ŽŵĂǀĂůŝƚƐƵƐƚĞƐ ŶĂŐƵ ZĂĞ ũĂ sŝŝŵƐŝ ǀĂůůĂƐ͕ ĂŐĂ ŵƵũĂů
                                                                   ŽŵĂǀĂůŝƚƐƵƐƚĞƐƚĞŚŝŶŐƵƚĞĂƌǀůĂŶŐĞƐ͘
                                                                   dĂďĞůϭ͘<ŽƌƚĞƌŝŽŵĂŶĚŝƚĞ;ĞůƵƌƵƵŵŝĚĞͿƚĞŚŝŶŐƵƚĞĂƌǀ,ĂƌũƵŵĂĂůϮϬϮϰ͘Ă͘/ŬǀĂƌƚĂůŝƐǀƁƌƌĞůĚĞƐϮϬϮϯ͘Ă͘/sŬǀĂƌƚĂůŝŐĂ͗
                                                                                        :ƁĞͲ                              >ććŶĞͲ
                                                                                               ,ĂƌŬƵ
                                                                                                   <ĞŝůĂ <ŝŝůŝ   <ŽƐĞ          DĂĂƌĚƵ ZĂĂƐŝŬƵ ZĂĞ ^ĂŬƵ ^ĂƵĞ sŝŝŵƐŝ
                                                                                        ůćŚƚŵĞ                           ,ĂƌũƵ
                                                                                               ǀĂůĚůŝŶŶ ǀĂůĚ       ǀĂůĚ           ůŝŶŶ       ǀĂůĚ        ǀĂůĚ ǀĂůĚ       ǀĂůĚ     ǀĂůĚ
                                                                                        ǀĂůĚ                              ǀĂůĚ
                                                                    ϮϬϮϰ͘Ă͘
                                                                                               ϯϬ                         ϯϱ                    ϰϵ             ϯϵ              ϵ                ϱϱ                     ϯϱ                      ϵ                    ϭϮϬ          ϭϵ                  ϱϯ                  ϲϴ
                                                                    /Ŭǀ
                                                                    DƵƵƚƵƐ͕
                                                                                               Ͳϰϲй                       Ͳϭϳй                  ϰϴй            Ͳϳй             Ͳϯϲй ͲϭϬй                               ͲϭϬй                    Ͳϰϰй                 ϰϱй          Ͳϯϵй                ͲϮϯй                ϭϱй
                                                                    й
                                                                   ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝƚĞŚŝŶŐƵƚĞƐƚĂƚŝƐƚŝŬĂ
                                                                   ^ĂƌŶĂƐĞůƚ ƚĞŚŝŶŐƵƚĞ ĂƌǀƵ ůĂŶŐƵƐĞŐĂ Žůŝ ƚĞĂƚĂǀĂƚ ůĂŶŐƵƐƚ ƚćŚĞůĚĂĚĂ ŬĂ ŬĞƐŬŵŝƐƚĞƐ ŚŝŶĚĂĚĞƐ͘ ^ŝŝƐŬŝ ũćŝ ƐĞĞ ŬǀĂƌƚĂůŝƚĞ
                                                                   ǀĂŚĞůŝƐĞƐǀƁƌĚůƵƐĞƐŬŽŬŬƵǀƁƚůŝŬƵůƚͲϭй͕ŶŝŶŐƚĞŐĞůŝŬŬƵƐĞƐƚćŚĞŶĚĂƐƐĞĞŚŝŶĚĂĚĞũććŵŝƐƚƐĂŵĂůĞƚĂƐĞŵĞůĞ͘
                                                                   dĂďĞůϮ͘<ŽƌƚĞƌŝŽŵĂŶĚŝƚĞ;ĞůƵƌƵƵŵŝĚĞͿŬĞƐŬŵŝƐĞĚŚŝŶŶĂĚ,ĂƌũƵŵĂĂůϮϬϮϰ͘Ă͘/ŬǀĂƌƚĂůŝƐǀƁƌƌĞůĚĞƐϮϬϮϯ͘Ă͘/sŬǀĂƌƚĂůŝŐĂ͗
                                                                                         :ƁĞͲ                          >ććŶĞ
                                                                                 ,ĂƌŬƵ            <ĞŝůĂ <ŝŝůŝ <ŽƐĞ        DĂĂƌĚƵ ZĂĂƐŝŬƵ ZĂĞ ^ĂŬƵ ^ĂƵĞ sŝŝŵƐŝ
                                                                                         ůćŚƚŵĞ                       Ͳ,ĂƌũƵ
                                                                                 ǀĂůĚ              ůŝŶŶ ǀĂůĚ ǀĂůĚ             ůŝŶŶ     ǀĂůĚ       ǀĂůĚ ǀĂůĚ        ǀĂůĚ    ǀĂůĚ
                                                                                         ǀĂůĚ                          ǀĂůĚ
                                                                    ϮϬϮϰ͘Ă͘
                                                                              ϮϲϴϮ                                              ϮϵϬϴ            ϭϴϵϳ Ϯϵϭϲ ϭϮϭϭ ϭϬϬϰ                                       ϭϲϴϯ                           ϭϳϴϮ             Ϯϳϯϯ Ϯϰϱϲ                      Ϯϭϳϯ                         Ϯϲϱϯ
                                                                    /Ŭǀ
                                                                    DƵƵƚƵƐ͕й ϯй                                                ϭϲй             ͲϮϰй Ͳϭй                   Ϯϲй           ϮϬй              Ϯй                             Ͳϭϵй             Ϯй          Ͳϲй                Ͳϳй                          ͲϭϬй
                                                                   ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝƚĞŚŝŶŐƵƚĞƐƚĂƚŝƐƚŝŬĂ
                                                                   WĂŬŬƵŵŝƐƚĞ Ăƌǀ ƐĂƌŶĂƐĞůƚ dĂůůŝŶŶĂŐĂ ŬĂƐǀĂƐ͕ ŬƵŝĚ ĞƌŝŶĞǀĂůƚ ƉĞĂůŝŶŶĂƐƚ ŬĂƐǀĂƐ ŵƺƺŐŝŬƵƵůƵƚƵƐƚĞ Ăƌǀ ƐƵŚƚĞůŝƐĞůƚ
                                                                   ƚĂŐĂƐŝŚŽŝĚůŝŬƵůƚ͘ dƁĞŶćŽůŝƐĞůƚ Žůŝ ƐĞůůĞ ƉƁŚũƵƐĞŬƐ ũćƚŬƵǀĂůƚ ƉĂƌĞŵ ŚŝŶŶĂ ũĂ ŬǀĂůŝƚĞĞĚŝ ƐƵŚĞ ĞŚŬ ǀćůũĂƐƉŽŽů dĂůůŝŶŶĂƚ Žůŝ
                                                                   ŬŝŶŶŝƐǀĂƌĂƚĂƐŬƵŬŽŚĂƐƵƐƉĂƌĞŵ͘
                                                                                                                                                                                          ϭϵ
                                                                                                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
                                                                   DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                                                                               ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
                                                                   <ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                                                                          >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
          'l,J
                                                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 26 of 52
,ĂƌũƵŵĂĂůŽŶĞĞůŝƐƚĂƚƵĚĞůĂŵƵƉŝŝƌŬŽŶŶĂĚ͕ŵŝƐũććǀĂĚŶŶŬƵůĚƐĞƐƐĞƌŝŶŐŝĞŚŬdĂůůŝŶŶĂƌŝŶŐƚĞĞŵƁũƵĂůĂƐƐĞ͕ƐĞƐƚŶĞĞĚŽŶ
dĂůůŝŶŶĂƐƚŽƉƚŝŵĂĂůƐĞĂƵƚŽƐƁŝĚƵŬĂƵŐƵƐĞů;>ŽŽ͕>ĂŐĞĚŝ͕:ƺƌŝ͕<ŝŝůŝ͕^ĂŬƵ͕^ĂƵĞ͕>ĂĂŐƌŝ͕<ĞŝůĂͿ͕ƐĂŵƵƚŝůŝŶŶĂůćŚĞĚĂƐĞĚŵĞƌĞͲ
ććƌƐĞĚƉŝŝƌŬŽŶŶĂĚ͘sćŚĞŵŽŶĞĞůŝƐƚĂƚƵĚŵĂĂŬŽŶŶĂććƌĞĂůĂĚĞůĞũććǀĂĚĂƐƵůĂĚ͕ŬƵƐŽŶŬĂŚŝŶŶĂƚĂƐĞŵƁŶĞǀƁƌƌĂŵĂĚĂůĂŵ͗
>ŽŬƐĂ͕WĂůĚŝƐŬŝ͕<ĞŚƌĂũƚ͘

hƵƚĞ ŬŽƌƚĞƌŝƚĞ ƚƵƌŐ ůŝŶŶĂ ůćŚŝƺŵďƌƵƐĞƐ ƐŽďŝď ĞĞůŬƁŝŐĞ ŶĞŝůĞ͕ ŬĞƐ Ğŝ ƚĂŚĂ ŽƐƚĂ ŬŽƌƚĞƌŝƚ ŵĂŐĂůĂ ƉŝŝƌŬŽŶĚĂ ǀĂŶĞŵĂƐƐĞ
ĞůĂŵƵƐƐĞ͕ŬƵŝĚŬĞůůĞůĞŝũćƚŬƵĨŝŶĂŶƚƐŝůŝŶŶĂƐĂƐƵǀĂƵƵĞŬŽƌƚĞƌŝŽƐƚƵũĂŽŬƐ͘^ĞĞƉćƌĂƐƚŽŶǀćůũĂƐƉŽŽůůŝŶŶĂŬĂƉŽƉƵůĂĂƌƐĞŵĂĚ
ƉŝŝƌŬŽŶŶĂĚũćƚŬƵǀĂůƚsŝŝŵƐŝũĂZĂĞǀĂůĚ͘^ĂŵƵƚŝ,ĂƌŬƵǀĂůĚĞƌŝŶĞǀĂƚĞĞůƵŬŽŶĚůŝŬĞĂƌĞŶĚƵƐƚĞŐĂ͘

hƵĞĚŬŽƌƚĞƌŝĚ
hƵƚĞĂƌĞŶĚƵƐƉƌŽũĞŬƚŝĚĞƚƵƌƵůĞƚŽŽŵŝŶĞŬŽŐƵďƺŚĂĞŶĂŵŚŽŽŐƵ͘hƵƚĞŬŽƌƚĞƌŝƚĞĞŚŝƚĂŵŝƐƚĂůƵƐƚĂƚŝϮϬϮϰ͘Ă͘ƺůůĂƚƵƐůŝŬƵůƚ
ƐƵŚƚĞůŝƐĞůƚĂŬƚŝŝǀƐĞůƚ͕ƐĞƐƚĂŝŶƵƺŬƐŝũƵďĂ/ŬǀĂƌƚĂůŝĞŚŝƚƵƐŵĂŚƵĚŵŽŽĚƵƐƚĂƐŝĚϰϬйǀĂƌĂƐĞŵĂĂĂƐƚĂŬŽŐƵŵĂŚƵƐƚ͘^ĞĂůũƵƵƌĞƐ
ŽůŝĂŬƚŝŝǀƐĞŵƚƵƌƵƉŝŝƌŬŽŶĚdĂůůŝŶŶĂůŝŶŶ͕ŬƵƐĞŶŝŵĂůƵƐƚĂƚŝϯͲϱͲŬŽƌƌƵƐĞůŝƐƚĞŬŽƌƚĞƌŵĂũĂĚĞƉƺƐƚŝƚĂŵŝƐĞŐĂĞŚŬũƵƐƚŬƵŝƚƵƌƵ
ŚŝŶŶĂŶŐƵů ŵŝƚƚĞ ǀćŐĂ ŬƁƌŐĞ ƌŝƐŬŝŐĂ ĂƌĞŶĚƵƐƉƌŽũĞŬƚŝĚĞŐĂ͘ sćůũĂƐƉŽŽů dĂůůůŝŶŶĂƚ ĚŽŵŝŶĞĞƌŝƐŝĚ ŬƵŶŝ ϮͲŬŽƌƌƵƐĞůŝƐƚĞ
ŬŽƌƚĞƌĞůĂŵƵƚĞĞŚŝƚƵƐĞŚŬƐĞĂůƉŝŝƌŬŽŶŶĂƐŽůŝĚĂƌĞŶĚĂũĂĚŽůƵůŝƐĞůƚƌŝƐŬŝŬĂƌƚůŝŬƵŵĂĚ͘

sĂŚĞǀćůũĂƐƚĂƚƵĚĞŚŝƚƵƐůƵďĂĚĞũĂĞŚŝƚĂŵŝƐƚĂůƵƐƚĂƚƵĚƚĞĂƚŝƐƚĞǀĂŚĞůŽůŝŶŝŝdĂůůŝŶŶĂƐŬƵŝ,ĂƌũƵŵĂĂůƵŵďĞƐŬĂŚĞŬŽƌĚŶĞ
ĞŚŬĞƚƚĞǀĂůŵŝƐƚƵƐŝĞŚŝƚĂŵŝƐĞŬƐƚĞŚƚŝƌŽŚŬĞŵǀƁƌƌĞůĚĞƐƌĞĂĂůƐĞĞŚŝƚĂŵŝƐĞŐĂ͘ƌŝƚŝƉĂŝƐƚŝƐƐĞĞƐŝůŵĂϮϬϮϯ͘Ă͘Ͳů͕ŬƵŝdĂůůŝŶŶĂƐ
ǀćůũĂƐƚĂƚŝϮϭϮϮĞůƵƌƵƵŵŝĞŚŝƚĂŵŝƐĞůƵďĂ͕ĂŐĂĂůƵƐƚĂƚŝϭϭϯϳĞůƵƌƵƵŵŝĚĞĞŚŝƚƵƐĞŐĂ͘ŐĂƵƵƚĞĂƌĞŶĚĂũĂƚĞƚƵƌƵůĞƚƵůĞŬƵŐĂ
ƐĞůůŝŶĞƚƌĞŶĚŬŽƌƌĂŬƐƉƂƂƌĚƵƐ͘/ŬǀĂƌƚĂůŝƐĂůƵƐƚĂƚŝŐŝdĂůůŝŶŶĂƐϰϱϵƵƵĞĞůƵƌƵƵŵŝũĂ,ĂƌũƵŵĂĂůϱϰƵƵĞĞůƵƌƵƵŵŝĞŚŝƚĂŵŝƐƚ͘

hƵƚĞ ƉƌŽũĞŬƚŝĚĞ ƚŽŽŵŝƐ ƚƵƌƵůĞ ƚŽĞƚĂƐŝĚ ĞŚŝƚƵƐŚŝŶĚĂĚĞ ƐƚĂďŝůŝƐĞĞƌƵŵŝŶĞ ŶŝŶŐ ŵƁŶŝŶŐĂŶĞ ĞŚŝƚƵƐŚŝŶĚĂĚĞ ůĂŶŐƵƐĞ͕ ƐĞƐƚ
ŵĂƚĞƌũĂůŝĚĞ ŚŝŶŶĂĚ ǀćŚĞŶĞƐŝĚ͘ dƁĞŶćŽůŝƐĞůƚ ƐŝŝƐŬŝ ŽůƵůŝƐĞůƚ ĞŚŝƚƵƐŚŝŶĚ ĞŶĂŵ Ğŝ ůĂŶŐĞ͕ ƐĞƐƚ ƐĞĚĂ ŵƁũƵƚĂď ǀĂƐƚƵ ŬĂƐǀĂǀ
ƚƂƂũƁƵŬƵůƵ͘

dĂďĞůϯ͘ŚŝƚƵƐůŽĂƐĂĂŶƵĚ͕ŬĂƐƵƚƵƐƐĞůƵďĂƚƵĚũĂĞŚŝƚĂŵŝƐƚĂůƵƐƚĂƚƵĚƵƵĞĚĞůƵƌƵƵŵŝĚϮϬϮϰ/ŬǀƐĞŝƐƵŐĂ͗
                 dĂůůŝŶŶ                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ǀ͘ĂdĂůůŝŶŶ
                 ϭͲϮͲ        ϯͲϱͲ        ϲͲϴͲ        ϵͲ ũĂĞŶĂŵĂ                     ϯͲϱͲ          ϲͲϴͲ
                 ŬŽƌ͘Ŭƌƚ͘Ͳ   ŬŽƌ͘Ŭƌƚ͘Ͳ   ŬŽƌ͘Ŭƌƚ͘Ͳ   ŬŽƌ͘Ŭƌƚ͘Ͳ      ϭͲϮͲ              ŬŽƌ͘Ŭƌƚ͘Ͳ     ŬŽƌ͘Ŭƌƚ͘Ͳ      ϵͲ ũĂĞŶĂŵĂ
                 ĞůĂŵƵĚ      ĞůĂŵƵĚ      ĞůĂŵƵĚ      ĞůĂŵƵĚ         ŬŽƌ͘Ŭƌƚ͘ͲĞůĂŵƵĚ   ĞůĂŵƵĚ        ĞůĂŵƵĚ         ŬŽƌ͘Ŭƌƚ͘ͲĞůĂŵƵĚ
                 ϮϬϮϰ/     ϮϬϮϰ/     ϮϬϮϰ/     ϮϬϮϰ/        ϮϬϮϰ/ŬǀĂƌƚĂů    ϮϬϮϰ/       ϮϬϮϰ/        ϮϬϮϰ/
                 ŬǀĂƌƚĂů     ŬǀĂƌƚĂů     ŬǀĂƌƚĂů     ŬǀĂƌƚĂů                          ŬǀĂƌƚĂů       ŬǀĂƌƚĂů        ŬǀĂƌƚĂů
 ŚŝƚƵƐͲ
                    ϰϴ           ϭϵϱ          Ϭ            Ϭ                ϭϮ              ϵϳ           Ϭ                  Ϭ
 ůƵďĂ
 ŚŝƚĂŵŝƐƚ
                     Ϭ           ϯϴϴ         ϳϭ            Ϭ                ϯϰ              ϮϬ           Ϭ                  Ϭ
 ĂůƵƐƚĂƚƵĚ
 <ĂƐƵƚƵƐͲ
                     ϴ           Ϯϭϰ         Ϯϳϱ         ϮϰϮ                ϰϰ              ϱϳ           Ϭ                  Ϭ
 ůƵďĂ
ůůŝŬĂƐ͗^ƚĂƚŝƐƚŝŬĂĂŵĞƚ

ϮϬϮϰ͘ ĂĂƐƚĂů ƵƵĞĚ ƚƵƌƵůĞ ƚƵůŶƵĚ ƉƌŽũĞŬƚŝĚ ŽůŝĚ ǀĂƌĂƐĞŵĂŐĂ ǀƁƌƌĞůĚĞƐ ƐĂŵĂ ǀƁŝ ŽůĞŶĞǀĂůƚ ĂƐƵŬŽŚĂƐƚ ŬĂ ŬƁƌŐĞŵĂ
ƉĂŬŬƵŵŝƐŚŝŶŶĂŐĂ͘dĂůůŝŶŶĂuusarenduse korteri keskmine pakkumishind oli I kvartalis ca 4600 € ehk umbes 200 kuni 600
€/m Ϯ ĂƌǀĞƐƚƵƐĞƐƌŽŚŬĞŵǀƁƌƌĞůĚĞƐϮϬϮϯ͘ĂĂƐƚĂŐĂ͘ŐĂƐĞĚĂƐĂĂďũćůůĞŐŝƉŝĚĂĚĂƐƚĂƚŝƐƚŝůŝƐĞŬƐŵŽŽŶƵƚƵƐĞŬƐƉĂŬŬƵŵŝƐƚĞ
ƐƚƌƵŬƚƵƵƌŝ ƚƁƚƚƵ ƌŽŚŬĞŵ ƚƵůŝ ƉĂŬŬƵŵŝƐƐĞ dĂůůŝŶŶĂ <ĞƐŬůŝŶŶĂ ũĂ ůćŚŝƉŝŝƌŬŽŶŶĂ ƉƌŽũĞŬƚĞ͕ ŵŝƐ ǀŝŝƐŝĚ ŬĞƐŬŵŝƐĞ ŚŝŶŶĂ
ŬƁƌŐĞŵĂŬƐ͘

^ŝŝƐŬŝŽůŝũćƚŬƵǀĂůƚŬĂƚŝŶŐŝŵŝƐƌƵƵŵŝ͕ƐĞƐƚĂƌĞŶĚƵƐƚĞŐĞǀƵƐǀĂũĂƐůĂĞŶƵŐĂĨŝŶĂŶƚƐĞĞƌŝŵŝƐƚ͕ĂŐĂůĂĞŶƵƐĂĂŵŝƐĞŬƐŽůŝǀĂũĂĞƚƚĞ
ŶćŝĚĂƚĂ ŬŽƌƚĞƌŝƚĞǀƁůĂƁŝŐƵƐůŝŬŬĞ ůĞƉŝŶŐƵŝĚ͘ DƺƺŬĞ ĂŝƚĂƐŝĚ ƚĞŚĂ ĞƌŝŶĞǀĂĚ ĂǀĂůŝŬƵĚ ƐŽŽĚƵƐŬĂŵƉĂĂŶŝĂĚ͕ ŬƵƐ ƌĞŬůĂĂŵŝƚĞ
ŚŝŶĚĂĚĞƐŽŽĚƵƐƚƵƐŝ ϱϬϬϬͲϱϵ 000 € ja sealjuures madalaid sissemakseid. Selle taustal siis olenevalt arendaja valmidusest
ũĂŽƐƚƵŬůŝĞŶĚŝŬƺƐŝŵŝƐŽƐŬƵƐĞƐƚǀƁŝƐŝĚƐŽŽĚƵƐƚƵƐĞĚŽůůĂŬĂǀĞĞůǀĂƌũĂƚƵĚŬƵũƵů;ƚĂƐƵƚĂůŝƐĂŶĚƵƐŝĚƉĂŶŝƉĂŝŬ͕ƉĂƌŬŝŵŝƐŬŽŚƚ
ǀƁŝŬƂƂŐŝŵƂƂďĞůͿ͘
^ĞůůŝŶĞ ůćŚĞŶĞŵŝŶĞ ƚƁŝ ƵƵƐĂƌĞŶĚƵƐƚƵƌƵůĞ ƚĞĂƚĂǀĂƚ ĞůĂǀŶĞŵŝƐƚ ŶŝŶŐƵƵƚĞ ŬŽƌƚĞƌŝƚĞ ůĂŽũććŬ ƉƺƐŝƐǀĂĂƚĂŵĂƚĂƐƵŚƚĞůŝƐĞůƚ
ƉĂůũƵĚĞ ĂƌĞŶĚĂũĂƚĞ ůŝƐĂŶĚƵŵŝƐĞůĞ ŬƺůůĂůƚŬŝ ƐƚĂďŝŝůƐĞŶĂ ŶŝŶŐ ƚƵƌƵ ƺŚĂ ƉĂƌĂŶĞǀ ŶĞĞůĚƵǀƵƐǀƁŝŵĞ ŚŽŝĚŝƐŬŝ ůĂŽũććŐŝ
ŬĂƐǀƵƚƌĞŶĚŝƚĂŐĂƐŝŚŽŝĚůŝŬƵŶĂ͘ ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂĂŶĚŵĞƚĞůŽůŝϮϬϮϰ͘Ă͘ĂůŐƵƐĞƐĞŝƐƵŐĂdĂůůŝŶŶĂƐƉĂŬŬƵŵŝƐĞůƵŵďĞƐϮϮϬϬ
ƵƵƚŬŽƌƚĞƌŝƚ͘<ƵŝǀƁƚƚĂĂƌǀĞƐƐĞ͕ĞƚǀŝŝŵĂƐƚĞůĂĂƐƚĂƚĞůŽůŝŽƐƚƵͲŵƺƺŐŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞƚĞƉƁŚũĂůƵƵƐĂƌĞŶĚƵƐĞŵƺƺŐŝƚĞŵƉŽ
ŬĞƐŬŵŝƐĞůƚĐĂϯϬϬŬŽƌƚĞƌŝƚŬƵƵƐ͕ƐŝŝƐŽůĞŬƐǀŝŝŵĂƐƚĞĂĂƐƚĂƚĞƚƵƌƵƚĞŵƉŽƉƺƐŝŵŝƐĞůƐĞůůŝŶĞůĂŽũććŬƚƵƌƵůƌĞĂůŝƐĞĞƌŝƚĂǀƵŵďĞƐ
ϳŬƵƵŐĂ͘^ŝŝƐŬŝƚƵůĞďĂƌǀĞƐƚĂĚĂ͕ĞƚĂŶĂůƺƺƐŝŬŽŽƐƚĂŵŝƐĞŚĞƚŬĞŬƐŽŶƚƵƌŐƚĂĂƐƚƵǀĂƐĨĂĂƐŝƐ͕ŬƵƐƵƵƐĂƌĞŶĚƵƐƚĞŵƺƺŐŝƚĞŵƉŽ
ŽŶǀĂƌĂƐĞŵĂƐƚŽůƵůŝƐĞůƚĂĞŐůĂƐĞŵ͘


                                                               ϮϬ
                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                 >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                           ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 27 of 52
hƵƐĂƌĞŶĚƵƐƚĞ ŵƺƺŐŝůŝŬǀŝŝĚƐƵƐ ũćŝ ĞŶĚŝƐĞůƚ ƚƵďůŝƐƚŝ ĂůůĂƉŽŽůĞ ƺůĂů ƚŽŽĚƵĚ ŬĞƐŬŵŝƐƚ͘ dĂůůŝŶŶĂƐ Žůŝ ƵƵƚĞ ŬŽƌƚĞƌŝƚĞ ŽƐƚƵͲ
ŵƺƺŐŝƚĞŚŝŶŐƵƚĞĂƌǀ;sO>ůĞƉŝŶŐƵĚͿŬĞƐŬŵŝƐĞůƚƵŵďĞƐϭϬϬŬŽƌƚĞƌŝƚŬƵƵƐĞŚŬŽůĞŵĂƐŽůĞǀĂƚůĂŽũććŬŝũćƚŬƵŬƐƐĞůůŝƐĞƚĞŵƉŽ
ƉƺƐŝŵŝƐĞůƵŵďĞƐϭ͕ϴĂĂƐƚĂŬƐ͘

ƌŽŶĞĞƌŝŵŝƐůĞƉŝŶŐƵƚĞ Ăƌǀ ƉƺƐŝƐ ŬĂ ϮϬϮϰ͘Ă͘ ĂůŐƵƐĞƐ ũćƚŬƵǀĂůƚ ŵĂĚĂůĂů͘ ^ƵŚƚĞůŝƐĞůƚ ŵĂĚĂů ďƌŽŶĞĞƌŝƚƵĚ ŬŽƌƚĞƌŝƚĞ Ăƌǀ ŽŶ
ƉƺƐŝŶƵĚ ůćŚŝŵŝŶĞǀŝŬƵƐ ƉŝŬĂůƚ ŶŝŶŐ ƉĂŬŬƵŵŝƐŵĂŚƚƵĚĞ ŬĂƐǀĂŵŝƐĞŐĂ Ğŝ ŽůĞ ŬĂƐǀĂŶƵĚ ďƌŽŶĞĞƌŝƚƵĚ ŬŽƌƚĞƌŝƚĞ Ăƌǀ͘ <Ƶŝ
ĂƌǀĞƐƚĂĚĂ͕ĞƚƉĂŬŬƵŵŝƐƚĞŵĂŚƚŬĂƐǀĂď͕ĂŐĂďƌŽŶĞĞƌŝŶŐƵƚĞŵĂŚƚƉƺƐŝďƐƚĂďŝŝůƐĞůƚŵĂĚĂůĂů͕ƐŝŝƐǀƁŝďƐĞůůĞƐƚũćƌĞůĚĂĚĂ͕Ğƚ
ƉŽƚĞŶƚƐŝĂĂůƐĞĚŽƐƚũĂĚŽŶǀĞĞůǀćŐĂŬĂĂůƵƚůĞǀĂĚŶŝŶŐƚĞĞǀĂĚŽƚƐƵƐĞŝĚŬĞƐŬŵŝƐĞůƚƉŝŬĞŵĂĂũĂƉĞƌŝŽŽĚŝũŽŽŬƐƵů͘WŝŬĞŶĞŶƵĚ
ďƌŽŶĞĞƌŝŵŝƐůĞƉŝŶŐƵƚĞ ƐƁůŵŝŵŝƐĞ ĂĞŐ ǀƁŝď ŵƁũƵƚĂĚĂ ƉƌŽũĞŬƚŝĚĞ ĞŚŝƚĂŵŝƐĞ ĂůƵƐƚĂŵŝƐĞ ĂĞŐĂ͕ ƐĞƐƚ ƌĞĞŐůŝŶĂ ƐŽŽǀŝǀĂĚ
ůĂĞŶƵĂŶĚũĂĚŶćŚĂϮϬͲϯϬйŵĂŚƵƐĞĞůŵƺƺŬŝ;sO>Ϳ͕ŵŝƐũćƌĞůŽƚƐƵƐƚĂƚĂŬƐĞƉƌŽũĞŬƚŝĨŝŶĂŶƚƐĞĞƌŝĚĂ͘

Prognoos:
dĞŚŝŶŐƵŚŝŶĚĂĚĞŽƐĂƐŽŶƚćŚĞůĚĂĚĂũƵďĂŵƁŶŝŶŐĂƐƚĂĞŐĂƚĞĂƚĂǀĂƚƐƚĂďŝŝůƐƵƐƚŶŝŶŐĞŬƐŽůĞŬĂŚŝŶĚĂĚĞůĂŶŐƵƐĞƉƁŚũƵƐĞŝĚ
jaanud vahemaks. Turul paraneb vara taskukohasus, turuosalised prognoosivad euribori langust, ,,hapude laenude"
ŽƐĂŬĂĂůŽŶƐĞŶŝŵĂĂŶŝƉƺƐŝŶƵĚǀćŐĂŵĂĚĂůĂůũĂŬƁŝŐĞƐĞůůĞƚĂƵƐƚĂůŽŶŬŽĚƵŵĂũĂƉŝĚĂŵŝƐĞĚƐƵƵƚŶƵĚŚĂŬĂƚĂƚĂĂƐƐććƐƚĞ
ŬŽŐƵŵĂ͘EĞĞĚŽŶŬƺůůĂůƚŬŝŽůƵůŝƐĞĚŶćŝƚĂũĂĚŚŝŶĚĂĚĞŬƵũƵŶĚĂŵŝƐĞůŶŝŶŐƐŽŽƐŝǀĂĚŬĂƚĞŚŝŶŐƵƚĞĂƌǀƵŬĂƐǀƵ͘

ĞůŶĞǀĂ ƚƁƚƚƵ ǀƁŝď ƉŝĚĂĚĂ ƚƁĞŶćŽůŝƐĞŬƐ͕ Ğƚ ƚćŶĂƐĞƐƚ ƚĞŚŝŶŐƵƚĞ ĂƌǀƵ ƚĂƐĞŵĞƐƚ ŵĞ ĞŶĂŵ ůćďŝ Ğŝ ǀĂũƵ ũĂ ƉŝŐĞŵ ƺůĚŝƐĞ
ŵĂũĂŶĚƵƐŬĞƐŬŽŶŶĂƉĂƌĂŶĞŵŝƐĞŐĂƐĂĂŵĞŽŽĚĂƚĂƚĞŚŝŶŐƵƚĞĂƌǀƵŬĂƐǀƵ͘ƌƵƐĂĂĚĂǀĂƚĞůƉƁŚũƵƐƚĞůĞŝƐĂĂŬĂƐǀŽůůĂǀćŐĂ
ƐƵƵƌ͕ƐĞƐƚŶćŝƚĞŬƐĞƵƌŝďŽƌŝůĂŶŐƵƐƚϮ͕ϱͲϯйͲŶŝĞŚŬŽƐƚũĂƚĞũĂŽŬƐǀĂƐƚƵǀƁĞƚĂǀĂůĞƚĂƐĞŵĞůĞ͕ŽŶŽŽĚĂƚĂĂůůĞƐϮϬϮϰ͘//Ɖ͘Ă͘Ͳů͘
^ŝŝƐŬŝŽŶƚƁĞŶćŽůŝŶĞ͕ĞƚƐĞůůŝŶĞĞƵƌŝďŽƌŝƚĂƐĞƚŽŽďƚƵƌƵůĞƚĂŐĂƐŝƉŝŐĞŵǀćŚĞŽƐƚũĂŝĚ͘

WƌŽŐŶŽŽƐŝĚĞ ŬŽŚĂƐĞůƚ ƉƂƂƌĚƵď ĞƐƚŝ ŵĂũĂŶĚƵƐ ŬćĞƐŽůĞǀĂ ĂĂƐƚĂ ƐĞĞƐ ŬĂƐǀƵůĞ͕ ŵŝƐ ĂǀĂůĚĂď ŽƚƐĞƐĞůƚ ŵƁũƵ ŬĂ
ŬŝŶŶŝƐǀĂƌĂƚƵƌƵůĞ͘ EŝŶŐ ŬƵŝ ŬĂ ƐĞĞŬŽƌĚ ŽŶ ĂũĂůŽŽů ŬŽŵďĞŬƐ ŬŽƌĚƵĚĂ͕ ƐŝŝƐ ŽŶ ƐƵƵƌ ƚƁĞŶćŽƐƵƐ͕ Ğƚ ƉŝŬŬ ŬŝŶŶŝƐǀĂƌĂƚƵƌƵ
ůĂŶŐƵƐƉĞƌŝŽŽĚŽŶƐĞůůĞŬƐŬŽƌƌĂŬƐũććŶƵĚƐĞůũĂƚĂŚĂŶŝŶŐŽůĞŵĞũƁƵĚŶƵĚŽŵĂŬŝŶŶŝƐǀĂƌĂƚƵƌƵŐĂƚĂĂƐƚƵǀĂƐƐĞĨĂĂƐŝ͘

Korterite uuriturg
Huvi korterite uurimise vastu pusis keskmisest madalamal tasemel nii Tallinnas kui ka ulejaanud Harju maakonnas.
Korterite pakkumiste arv oli aasta alguse seisuga umbes 1800 uhikut, mis lahiminevikuga vorreldes kasvas. Kui 2023.a.
alguses pakkumiste maht vahenes, sest kasvanud euribori moju tottu vahenes inimeste kindlustunne uut kodu soetada
ja alternatiivina valiti uurikorter, siis 2024.a. lahenedes uuripakkumiste arv jalle kasvas. Oheks pohjuseks vois pidada
muudava vara likviidsust ehk kui omaniku soovitud muugihinda ei olnud ostja nous tasuma ehk korterit ei saadud
muudud, siis suunati korter uurile. Ouripakkumiste arvu vois toetada ka arendajate otsus suunata valminud
korterelamud uuriturule ehk mingil hetkel tekkis pakkumisse suhteliselt palju kallima uurihinnaga kortereid.

Statistiliselt pakkumiste hind 2023.a. Ill kvartalist alates langes ning 2024.a. algusest alates vahenesid koige
populaarsemate uurikorterite hinnad ehk 2- ja 3-toaliste korterite hinnad. Ourihindasid survestasid suhteliselt suur valik
uurikortereid ja sealjuures pigem tagasihoidlik huvi. loenaoliselt olid mitmed omanikud ulepakkumiste tottu sattunud
majanduslikult keerulisse olukorda, sest korge euribor ei voimaldanud pikaajalist vakantsust, sest korteriga seotud laen
vajas teenindamist. Sedasi oldigi kiiremini valmis uurihindasid langetama.

Kuivord uurniku hoidmine on tanases majanduskeskkonnas keskmisest riskantsem, siis lisaks sellele peab omanik
arvestama ka vara oodatava tootlusega, mis kindlasti nendel korteritel, mis said soetatud 2021-2023, on oluliselt kehvem
vorreldes nende korteritega, mille ostuperiood oli enne 2021. aastat. Seega pusib jatkuvalt madal huvi osta uurikorterit
investeerimiskorteriks.
Enim on uurikortereid oli pakkumisel Tallinna linnas, kus pakkumiste maht oli umbes 2000. Oma osakaaluga
domineerivad selgelt magalapiirkonnad, hinnaliidritena aga Kesklinn ja Pohja-Tallinna Kesklinnapoolsed asumid.

Tabel 4. Tallinna Kesklinna uurikorterite hinnad
<^<>/EEmmZ/<KZdZ/d,/EE
                            <ĞƐŬŵŝƐĞƐƐĞŝƐƵŬŽƌƌĂƐ                                         sćŐĂŚĞĂƐƐĞŝƐƵŬŽƌƌĂƐ
ϭͲƚŽĂůŝŶĞ                         ϮϱϬͲϯϱϬ                                                       ϯϱϬͲϲϬϬ
ϮͲƚŽĂůŝŶĞ                         ϯϴϬͲϱϬϬ                                                       ϱϱϬͲϵϬϬ
ϯͲƚŽĂůŝŶĞ                         ϱϬϬͲϳϱϬ                                                       ϴϬϬͲϭϮϬϬ
ϰͲƚŽĂůŝŶĞ                         ϳϱϬͲϵϬϬ                                                       ϵϵϬͲϯϱϬϬ
Allikas: Domus Kinnisvara




                                                              Ϯϭ
                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                            ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 28 of 52
Likviidsed objektid ehk turuosaliste poolt eelistatud i.ii.irikorterid olid eelk6ige korralikult hooldatud v6i uute
kortermajade vaga heas seisukorras korterid. Jatkuvalt on i.ii.irikorteri puhul lisaks hinnale oluline asukoht, panipaik,
parkimise v6imalus ja soodsad k6rvalkulud. Mida madalamad on korteri kommunaalkulud, seda rohkem ollakse nous
selle korteri eest i.ii.iri maksma. Sellest tulenevalt on i.ii.iriturul hinnatud korterid uutes korterelamutes, mis on vanadest
elamutest energiasaastlikumad. Eelistatakse heas seisukorras mobleeritud kortereid, esmatahtis on koogimoobli
olemasolu koos tehnikaga . Boonuseks on ka muu moobel {diivan, riidekapid, voodid, pesumasin jne), mis ki.ill ei anna
i.ii.irihinnas palju v6itu, kuid kiirendab i.ii.irniku leidmise protsessi.

Kehvemas seisus korterite vastu oli huvi m6nev6rra madalam, sest i.ii.irilised eelistavad elada paremates tingimustest.
Viimase t6ttu on kehvema seisukorraga korterite vakantsuse osakaal k6ikidest vakantsetest korteritest suhteliselt suur.

Korterite i.ii.iriturul pakuvad arvestatavat konkurentsi li.ihiajaliseks majutuseks m6eldud ki.ilaliskorterid . Oldiselt on seda
liiki varade puhul tegemist uusarenduste koosseisu jaava tootega, kui osa korterelamust on ehitatud mitteeluruumideks.
Selliseid lahendusi on erinevate osakaaludega i.ile Tallinna. Naiteks on levinud, et ki.ilaliskorterid paiknevad madalamatel
korrustel, aga on ka m6ni arendus, kus nende osakaal on pea pooles ulatuses. Seoses uusarenduste turule tuleku
vahenemisega on ka ki.ilaliskortereid tulnud turule v6rreldes varasemaga suhteliselt vahem . Erandiks on m6ned
vanemad bi.iroohooned, mis teadlikult ehitataksegi umber ki.ilaliskorteriteks, sest bi.iroopinnana kasutamine ei ole enam
majanduslikult otstarbekas.

Valik lahiminevikus labiviidud ki.ilaliskorterite arendusi on jargmises tabelis:
 Asukoht                                                     Ourikortereid                                           Valmimisaeg
 Mustamae, Laki tn 24 ,,Laava apartments", arendaja          121 krt, 12-21,8 m 2, rent alates 349€/kuus             2019
 Scandium
 Kesklinn, Narva mnt 40 ,,Avangard", arendaja Scandium       81 krt, 16 lofti, 11-25 m 2, rent alates 575 €/kuus     2019
 Kesklinn, Juurdeveo tn 25c ,,Depot House", arendaja Koidu   73 krt, 14 ,2- 25,9 m2, rent alates 400 €/kuus          2019
 Ehitus
 Mustamae, Kadaka tee 78d ,,Newtoni Stuudiod" arendaja       90 krt, 15-25 m2, rent alates 410 €/kuus                2020
 Scandium
 Lasnamae, Katusepapi tn 16 ,,Icon Plaza"                     34 krt, 20-50 m2, rent alates 400 €/kuus               2020
 Mustamae, Akadeemia tee 32b, ,,Campus House by               130 majutustuba, 15-25 m2 rent alates 450              2021
                                                                                             '
 Larsen"                                                      €/kuus
 Haabersti, Oismae tee 175, ,,Rocca House"                    100 majutustuba, 15-25 m2, rent alates 450             2021
                                                              €/kuus
 Mustamae, Laki tn 24/2, ,,Magma"                             121 majutustuba, 16-25 m2 rent alates 399              2023
                                                              €/kuus
                                                                                             '
Allikas: Domus Kv andmebaas, avalikud kinnisvaraportaalid ja kulaliskorterite kodulehekuljed


Huvi siiski ki.ilaliskorterite vastu pi.isib. Laenu andjad on pi.ii.idnud viia ki.ilaliskorteri laenu hinna v6imalikult sarnaseks
eluaseme laenuga ja kui arvestada juurde kaibemaksu tagasi ki.isimise v6imalus, kui ostjaks on ettev6te, siis on
ki.ilaliskorter suhteliselt hea investeering v6rreldes eluruumi investeeringuga.

mƺƌŝƚƵƌƵ ƉƌŽŐŶŽŽƐ͗ lnvesteeringud i.ii.irikorteritesse t6enaoliselt pi.isivad madalal senikaua, kuni ei ole v6imalust
i.ii.irihindasid oluliselt t6sta, et sellega hi.ivitada kasvanud intressimaarad ja sellega seotud kulud. Kui varasemalt oli
erinevate hinnangute kohaselt uutest korteritest i.ii.iriinvesteeringute osakaal 20-30%, siis 2023. aastal oli see alla 10%.

Kaesoleval aastal v6ib prognoosida, et i.ii.irikorterite ostjate osakaal v6ib mingil maaral kasvada, aga jaab kokkuv6ttes
endiselt madalale tasemele. Kasvu v6ib soosida langev euribor, mis aitab parandada varaga seotud tootlust.

Riskid madala tootluse juures sunnivad otsima uusi lahendusi k6rgema tootluse leidmiseks ja seda siis alternatiivsete
investeeringute v6i vara parema tootestamisega ϰ . Viimane v6ib anda veel rohkem hoogu ki.ilaliskorterite tu rule tulekule
(naiteks vanade hoonete i.imberehitamisega i.ii.irikorteriteks), sest ajalooliselt on sellised tooted oma omaduste t6ttu
andnud elamispindadega v6rreldes suhteliselt paremat tootlust. Ka on nad naidanud labi kobarkriiside suhteliselt head
taituvust.

ZĂĞǀĂůůĂŬŽƌƚĞƌŝĚ
ZĂĞǀĂůůĂƐŽŶŶƁƵĚůƵƐŚŝŶŶĂƚĂǀĂǀĂƌĂŐĂƐĂƌŶĂƐĞƐƵƵƌƵƐĞŐĂǀĂƌĂĚĞǀĂƐƚƵŬĞƐŬŵŝƐĞƐƚŵĂĚĂůĂŵ͘<ƁŝŐĞƌŽŚŬĞŵƚĞŚĂŬƐĞ
ƚĞŚŝŶŐƵŝĚƉŝŝƌŬŽŶŶĂƐƐƵƵƌĞŵĂƚĞĂůĂƚĞƐϳϬŵϮ ƉĞƌĞŬŽƌƚĞƌŝƚĞŐĂũĂƌŝĚĂĞůĂŵƵďŽŬƐŝĚĞŐĂ͘


ϰ dŽŽƚĞƐƚĂŵŝŶĞ   ŽůĞŵĂƐŽůĞǀĂƐƚƚŽŽƚĞƚĞƐƚŵĂũĂŶĚƵƐůŝŬƵůƚĂƚƌĂŬƚŝŝǀƐĞŵĂƚŽŽƚĞŬƵũƵŶĚĂŵŝŶĞ
                                                                 ϮϮ
                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
         'l,J
                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 29 of 52
^ƵƵƌŝŵĂƚĞŚŝŶŐƵƚĞĂƌǀƵŐĂƉŝŝƌŬŽŶŶĂĚŽŶWĞĞƚƌŝũĂ:ƺƌŝĂůĞǀŝŬŶŝŶŐ:ćƌǀĞŬƺůĂƐĞůůĞƉƁŚũƵƐĞŶĂǀƁŝďǀćůũĂƚƵƵĂ͕ĞƚƐĞĂůŽŶ
ĞƌŝŶĞǀĂƚůŝŝŬŝĞůĂŵƵƚĞĂƌǀƐƵƵƌĞŵŬƵŝƚĞŝƐƚĞƐĂƐƵůĂƚĞƐ͕ĂŐĂŬĂŬŝŶĚůĂƐƚŝƐĞĞ͕ĞƚŶĞŶĚĞůĂƐƵůĂƚĞůŽŶƉĞĂůŝŶŶĂŐĂƺƐŶĂŚĞĂũĂ
ŬŝŝƌĞƺŚĞŶĚƵƐƚĞĞ͘sŝŝŵĂƐĞŝĚǀƁŝďƉŝĚĂĚĂŬĂĞĞůŝƐƚĂƚƵŝŵĂƚĞŬƐƉŝŝƌŬŽŶĚĂĚĞŬƐZĂĞǀĂůůĂƐŶŝŶŐƐĞĚĂŶćŝƚĂďŬĂŬĞƐŬŵŝƐƚĞŵ Ϯ
ŚŝŶĚĂĚĞŬƁƌŐĞŵƚĂƐĞǀƁƌƌĞůĚĞƐƺůĞũććŶƵĚZĂĞǀĂůůĂĂƐƵůĂƚĞŐĂ͘
ZĂĞ ǀĂůůĂƐ ŽŶ ƚĞŚƚƵĚ ŬŽƌƚĞƌŝŽŵĂŶĚŝƚĞ ƚĞŚŝŶŐƵŝĚ ǀŝŝŵĂƐĞů ǀŝŝĞů ĂĂƐƚĂů ǀĂŚĞŵŝŬƵƐ ϰϳϲ ϲϮϳ ƚŬͬĂĂƐƚĂƐ͘ ĞůŶĞǀĂů ũĂ
ŬćĞƐŽůĞǀĂů ĂĂƐƚĂů ŽŶ ƚĞŚŝŶŐƵƚĞ ĂƌǀƵƐ ŵćƌŐĂƚĂ ŵƁŶŝŶŐĂƐƚ ůĂŶŐƵƐƚ͘ dĞŚŝŶŐƵƚĞ ĂƌǀƵĚ ŽŶ ŽůŶƵĚ ƐĞŽƚƵĚ ƉĂůũƵƐŬŝ ƵƵƚĞ
ĂƌĞŶĚƵƐƚĞŬŽƌƚĞƌŝƚĞŵƺƺŐŝŐĂWĞĞƚƌŝƐũĂ:ćƌǀĞŬƺůĂƐ͘<ĞƐŬŵŝŶĞŚŝŶĚŽŶŽůŶƵĚƉŝĚĞǀĂƐƚƁƵƐƵũŽŽŶĞƐŶŝŶŐƚƁĞŶćŽůŝƐĞůƚŚŽŝĂď
ŚĞƚŬĞůƐƚĂƚŝƐƚŝůŝƐĞŬĞƐŬŵŝƐĞŚŝŶŶĂůĂŶŐƵƐĞĞĞƐƚƐƵƵƌĞŵƵƵƐĂƌĞŶĚƵƐƚĞŬŽƌƚĞƌŝƚĞŵƺƺŐŝŽƐĂŬĂĂůŬŽŐƵƚĞŚŝŶŐƵƚĞĂƌǀƵƐƚ͘
WĞĞƚƌŝĂůĞǀŝŬƵƐŽŶƚĞŚƚƵĚϮϬϮϮ͘ aastal 240 korterite tehingut, keskmise hinnaga 2816 €/m Ϯ͘ϮϬϮϯ͘ĂĂƐƚĂů ŽŶƚĞŚƚƵĚϰϯϭ
ƚĞŚŝŶŐƵƚ͕ŬĞƐŬŵŝƐĞŚŝŶŶĂŐĂϮϳϵϭ €/m Ϯ͘<ćĞƐŽůĞǀĂůĂĂƐƚĂůŽŶƚĞŚƚƵĚĞƐŝŵĞƐĞŬǀĂƌƚĂůŝŐĂϭϲϱƚĞŚŝŶŐƵƚ͕ŬĞƐŬŵŝŶĞƚĞŚŝŶŐƵ
ŚŝŶĚϮϳϳϭ€/m Ϯ͘DćƌŐĂƚĂŽŶŚŝŶĚĂĚĞƐƚĂďŝůŝƐĞĞƌƵŵŝƐƚ͘



                ZĂĞǀĂůůĂ ŬŽƌƚĞƌŝŽŵĂŶĚŝƚĞŵƺƺŐŝƚĞŚŝŶŐƵƚĞĚƺŶĂĂŵŝŬĂũĂŬĞƐŬŵŝƐĞĚ
                              ŚŝŶŶĂĚƉĞƌŝŽŽĚŝůϮϬϭϮ͘ͲϮϬϮϰ͘Ă͘/ŬǀĂƌƚĂů
       ϭϬϬϬ                                                                             ϯϬϬϬ
                                                                                         ϮϬϬϬ
        ϱϬϬ
                                                                                         ϭϬϬϬ
           Ϭ                                                                             Ϭ



                                      --
                ϮϬϭϮϮϬϭϯϮϬϭϰϮϬϭϱϮϬϭϲϮϬϭϳϮϬϭϴϮϬϭϵϮϬϮϬϮϬϮϭϮϬϮϮϮϬϮϯϮϬϮϰ

                                           dŬ         ĞƵƌŽͬŵϸ

ůůŝŬĂƐ͗DĂĂͲĂŵĞƚ͕ƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐ

ϰ͘Ϯ͘ϭ͘ DƺƺŐŝƚĞŚŝŶŐƵĚ
,ŝŶĚĂũĂŽŶĂŶĂůƺƺƐŝŶƵĚŬŽƌƚĞƌŝƚĞŵƺƺŐŝƚĞŚŝŶŐƵŝĚ͕ŵŝƐƉĂŝŬŶĞǀĂĚWĞĞƚƌŝĂůĞǀŝŬƵƐǀćůũĂŬƵũƵŶĞŶƵĚĞůĂŵƵƉŝŝƌŬŽŶŶĂƐ͘sćůũĂ
ŽŶƚŽŽĚƵĚƐĂƌŶĂƐĞƉŝŝƌŬŽŶŶĂ͕ĞŚŝƚƵƐĂĂƐƚĂũĂƐĞŝƐƵŬŽƌƌĂŐĂŬŝǀŝͲ ũĂƉĂŶĞĞůŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚĞůŬŽƌƚĞƌĞůĂŵƵƚĞŬŽƌƚĞƌŝƚĞŐĂ
ƚĞŚƚƵĚƚĞŚŝŶŐƵĚ͕ŵŝƐŽŶŚŝŶŶĂƚĂǀĂŐĂƉŝŶĚĂůĂůƚ ƐĂƌŶĂƐĞƐƵƵƌƵƐĞŐĂ ũĂƚĞŽƐƚĂƚƵĚǀŝŝŵĂƐĞ ƉŽŽůĞ ĂĂƐƚĂ ũŽŽŬƐƵů͘
            ƐƵŬŽŚƚ      dĞŚŝŶŐƵ ůƵƌƵƵŵŝ dĞŚŝŶŐƵ dĞŚŝŶŐƵ                          >ŝƐĂŝŶĨŽ
                                  ĂĞŐ      ƉŝŶĚ͕ŵϮ      ŚŝŶĚ͕     hind,€
                                                         €/mϮ
 WĞĞƚƌŝĂůĞǀŝŬ <ŽƉůŝƚĞĞ        ϬϮ͘ϮϬϮϰ ϲϳ͕Ϯ           ϯϵϳϯ       ϮϲϳϬϬϬ   ϮϬϮϮ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                                                                             Ϯͬϯ͕ϯƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ŽůĞŵĂƐ
                                                                             ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƌƁĚƵϱ͕ϱ
                                                                             ŵϮ͕ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                             ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ <ƺƚŝƚĞĞ         Ϭϰ͘ϮϬϮϰ ϳϬ͕ϰ           ϯϳϲϰ       ϮϲϱϬϬϬ   ϮϬϮϬ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                                                                             Ϯͬϯ͕ϯƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ŽůĞŵĂƐ
                                                                             ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƌƁĚƵϳ͕ϮŵϮ͕
                                                                             ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                             ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ dĂŵŵŝŬƵ         Ϭϭ͘ϮϬϮϰ ϲϵ͕ϴ           ϯϮϵϱ       ϮϯϬϬϬϬ   ϮϬϭϰ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ŚĞĂͬǀćŐĂ
                ƉƁŝŬ                                                         ŚĞĂ͕ϭͬϮ͕ϯƚƵďĂ͕ŬŽƌƚĞƌŚĞĂͬǀćŐĂŚĞĂ͕
                                                                             ŽůĞŵĂƐŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕
                                                                             ƚĞƌƌĂƐƐ͕ŬĂŬƐŬŝŶĚůĂƚǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ ^ŝŶŝůŝůůĞƚĞĞ    Ϭϭ͘ϮϬϮϰ ϳϰ͕ϴ           ϯϮϰϮ       ϮϰϮϱϬϬ   ϮϬϭϴ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ŚĞĂͬǀćŐĂ
                                                                             ŚĞĂ͕ϭͬϮ͕ϯƚƵďĂ͕ŬŽƌƚĞƌŚĞĂͬǀćŐĂŚĞĂ͕
                                                                             ŽůĞŵĂƐŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕
                                                                             ƚĞƌƌĂƐƐϭϲ͕ϱŵϮ͕ŬĂŬƐŬŝŶĚůĂƚ
                                                                             ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ ^ŝŶŝůŝůůĞƚĞĞ    Ϭϯ͘ϮϬϮϰ ϴϭ͕ϱ           ϯϮϳϲ       ϮϲϳϬϬϬ   ϮϬϭϳ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ŚĞĂͬǀćŐĂ
                                                                             ŚĞĂ͕ϮͬϮ͕ϰƚƵďĂ͕ŬŽƌƚĞƌŚĞĂͬǀćŐĂ
                                                                             ŚĞĂ͕ŽůĞŵĂƐŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕


                                                            Ϯϯ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
          'l,J
                                                                                ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 30 of 52
             ƐƵŬŽŚƚ           dĞŚŝŶŐƵ ůƵƌƵƵŵŝ dĞŚŝŶŐƵ            dĞŚŝŶŐƵ                       >ŝƐĂŝŶĨŽ
                                        ĂĞŐ    ƉŝŶĚ͕ŵϮ   ŚŝŶĚ͕              hind,€
                                                          €/mϮ
                                                                                           ƌƁĚƵϲ͕ϵŵϮ͕ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                                           ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ     :ćƌǀĞƐĂůƵ        sO>      ϴϵ͕ϵ             ϯϱϬϰ        ϯϭϱϬϬϬ       ϮϬϮϯ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                   ƚĞĞ               ϭϮ͘ϮϬϮϯ͕                                             ϭͬϯ͕ϰƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ƉƵƵĚƵď
                                     O>                                                  ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƚĞƌƌĂƐƐϭϰ͕ϳ
                                     ϬϮ͘ϮϬϮϰ                                               ŵϮ͕ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                                           ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ     <ŽƉůŝƚĞĞ         ϭϮ͘ϮϬϮϯ       ϲϱ͕ϰ         ϯϵϲϬ        ϮϱϵϬϬϬ       ϮϬϮϮ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                                                                                           Ϯͬϯ͕ϯƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ŽůĞŵĂƐ
                                                                                           ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƌƁĚƵϱ͕ϰ ŵϮ͕
                                                                                           ƉĂŶŝƉĂŝŬũĂŬŝŶĚĞůǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚ
ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝŵĂĂƌĞŐŝƐƚƌŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐ ũĂŽŵƵƐ<ŝŶŶŝƐǀĂƌĂĂŶĚŵĞďĂĂƐ

ĞůŶĞǀĂƐ ƚĂďĞůŝƐ ƌƁŚƵƚĂƚƵůƚ ǀćůũĂƚŽŽĚƵĚ ƚĞŚŝŶŐƵŝĚ ŽŶ ŬĂƐƵƚĂƚƵĚ ǀƁƌĚůƵƐŵĞĞƚŽĚŝ ƉƌŽƚƐĞĚƵƵƌŝƐ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ
ƚƵƌƵǀććƌƚƵƐĞŚŝŶĚĂŵŝƐĞŬƐ͘

ϰ͘Ϯ͘Ϯ͘dƵƌƵƐƚĂƚĂǀƵƐĞĂŶĂůƺƺƐϱ
 ,ŝŶŶĂƚĂǀĂǀĂƌĂůƁƉƉŬĂƐƵƚĂũĂĚ      >ĂƐƚĞŐĂƉĞƌĞ͕ŬĞƐŬŵŝƐĞǀƁŝŬĞƐŬŵŝƐĞƐƚŬƁƌŐĞŵĂƐŝƐƐĞƚƵůĞŬƵŐĂ ŝƐŝŬƵĚ
 >ƁƉƉŬĂƐƵƚĂũĂŝĚ ŝƐĞůŽŽŵƵƐƚĂǀĂĚ <ŝŶĚĞů ƚƂƂŬŽŚƚ ũĂ ƐŝƐƐĞƚƵůĞŬ ŽůĞŵĂƐ͕ ƐŽŽǀ ĞůĂĚĂ ƵƵƐĞůĂŵƵƌĂũŽŽŶŝƐ ŶŝŶŐ
 ƚƵŶŶƵƐĞĚ                          ŽƉƚŝŵĂĂůƐĞů ŬĂƵŐƵƐĞůdĂůůŝŶŶĂƐƚ͘ /ƐŝŬƵĚ͕ŬĞƐŽƐƚĂǀĂĚƐƵƵƌĞŵĂƚ ĞůĂŵŝƐƉŝŶĚĂǀƁŝ
                                   ǀĂŚĞƚĂǀĂĚĞůƵĂƐĞƚdĂůůŝŶŶĂůćŚŝƉŝŝƌŬŽŶŶĂƐ͘
 <ĂƐ ŚŝŶŶĂƚĂǀ ǀĂƌĂ ƌĂŚƵůĚĂď ,ŝŶŶĂƚĂǀǀĂƌĂƌĂŚƵůĚĂďƚƵƌƵƐĞŐŵĞŶĚŝŶƁƵĚĞŝĚ͕ƐĞƐƚƚƵƌƵƐĞŐŵĞŶĚŝƐŽŶŶƁƵĚůƵƐ
 ƚƵƌƵƐĞŐŵĞŶĚŝŶƁƵĚĞŝĚ              ǀćŐĂ ŚĞĂƐ ƐĞŝƐƵŬŽƌƌĂƐ ŬŽƌƚĞƌŝƚĞ ũćƌĞůĞ͕ ŵŝƐ ƉĂŝŬŶĞǀĂĚ ƵƵƚĞƐ ũĂ ŬĂĂƐĂĞŐƐĞƚĞƐ
                                   ŬŽƌƚĞƌĞůĂŵƵƚĞƐ͘>ŝƐĂŬƐŽŶŽůĞŵĂƐŬĂŬƐŬŝŶĚůĂƚƉĂƌŬŝŵŝƐŬŽŚƚĂ ũĂƉĂŶŝƉĂŝŬ͘
 <Ƶŝ ƐƵƵƌ ŽƐĂ ůƁƉƉŬĂƐƵƚĂũĂƚĞƐƚ dƁĞŶćŽůŝƐĞůƚĂƌǀĞƐƚĂƚĂǀŽƐĂŽƐƚũĂƐŬŽŶŶĂƐƚ
 ƐŽŽǀŝďŚŝŶŶĂƚĂǀĂƚǀĂƌĂ
 <ƵŝƐƵƵƌŽƐĂůƁƉƉŬĂƐƵƚĂũĂƚĞƐƚŽŶ dƁĞŶćŽůŝƐĞůƚŬĞƐŬŵŝĞƐƚǀćŝŬƐĞŵŽƐĂ
 ǀƁŝŵĞůŝƐĞĚ ŚŝŶŶĂƚĂǀĂƚ ǀĂƌĂ
 ƐŽĞƚĂŵĂ
 <ŽŶŬƵƌĞĞƌŝǀƉĂŬŬƵŵŝŶĞƚƵƌƵů       ,ŝŶŶĂƚĂǀĂǀĂƌĂŐĂƐĂƌŶĂŶĞƉĂŬŬƵŵŝƐŝŶĨŽŽŶƚŽŽĚƵĚƉƵŶŬƚŝƐϰ͘Ϯ͘ϯ
 DƺƺŐŝƉĞƌŝŽŽĚ                      <ĞƐŬŵŝƐĞĚŵƺƺŐŝƉĞƌŝŽŽĚŝĚŽŶƐĂƌŶĂƐƚĞůǀĂƌĂĚĞůŬƵŶŝϲŬƵƵĚ͘
 DƺƺŐŝŚŝŶŶĂĚ                       :ćƌŐŶĞǀĂƉŽŽůĂĂƐƚĂũŽŽŬƐƵůƉƌŽŐŶŽŽƐŝŵĞŚŝŶĚĂĚĞƐƚĂďŝůŝƐĞĞƌƵŵŝƐƚ͘
 ůƚĞƌŶĂƚŝŝǀƐĞĚŬĂƐƵƚƵƐĞĚ          DĂũĂŶĚƵƐůŝŬƵůƚĂůƚĞƌŶĂƚŝŝǀƐĞĚŬĂƐƵƚƵƐĨƵŶŬƚƐŝŽŽŶŝĚƉƵƵĚƵǀĂĚ͘


ϰ͘Ϯ͘ϯ͘ WĂŬŬƵŵŝŶĞ
<ŝŶŶŝƐǀĂƌĂƉŽƌƚĂĂůŝĚĞƐŽŶŚĞƚŬĞůWĞĞƚƌŝĂůĞǀŝŬƵƐƉĂŬŬƵŵŝƐĞƐ ĐĂ Ϯϵ ϰͲƚŽĂůŝƐƚŬŽƌƚĞƌŝƚ͘,ŝŶŶĂƚĂǀĂŐĂĂŶĂůŽŽŐƐĞƚĞ ŬŽƌƚĞƌŝƚĞ
ƉĂŬŬƵŵŝƐŚŝŶŶĂĚũććǀĂĚǀĂůĚĂǀĂůƚǀĂŚĞŵŝŬŬƵϯϰϭϵͲ ϰϬϱϭ €/m Ϯ͘ <ŽƌƚĞƌŝƚĞŚŝŶĚĂŵƁũƵƚĂďƐĞůůĞƉĂŝŬŶĞŵŝŶĞĂƐƵůĂƐŝƐĞƐĞůƚ͕
ƉŝŶŶĂƐƵƵƌƵƐ͕ŬŽƌƚĞƌŝƐĞŝƐƵŬŽƌĚŶŝŶŐƉĂŝŬŶĞŵŝŶĞŬŽƌƌƵƐĞƚŝ͘hƵĞŵĂƚĞŬŽƌƚĞƌŝƚĞƉƵŚƵůŵƁũƵƚĂďŚŝŶĚĂŬĂƉĂƌŬŝŵŝƐŬŽŚĂũĂ
ƉĂŶŝƉĂŝŐĂŽůĞŵĂƐŽůƵ͘




ϱ Turustatavuse analuus on EVS 875 Vara hindamise standardi nr 10 ,,Andmete kogumine ja analuus, vara ulevaatus" jargi kohustusl ŝŬ

ƚƵƌƵĂŶĂůƺƺƐŝŽƐĂ͘^ƚĂŶĚĂƌĚŝũćƌŐŝŽŶƚƵƌƵƐƚĂƚĂǀƵƐĞĂŶĂůƺƺƐƉƌŽƚƐĞƐƐ͕ŵŝůůĞŬćŝŐƵƐƵƵƌŝƚĂŬƐĞ͕ŬƵŝĚĂƐŬŽŶŬƌĞĞƚŶĞǀĂƌĂŶĞĞůĚƵď͕ ƐƚŬƵŝ
ƉŝŬĂĂũĂũŽŽŬƐƵůǀĂƌĂŵƺƺĂŬƐĞǀƁŝƌĞŶĚŝƚĂŬƐĞŽŽĚĂƚĂǀĂƚĞƐƚƵƌƵƚŝŶŐŝŵƵƐƚĞƐ͘^ĞĞƉƁŚŝŶĞďŚŝŶŶĂƚĂǀĂǀĂƌĂƚƵƌƵƐĞŐŵĞŶĚŝƚƵƌƵͲƵƵƌŝŶŐƵů͘
dƵƌƵƐƚĂƚĂǀƵƐĞĂŶĂůƺƺƐůŝƐĂďƚƵƌƵĂŶĂůƺƺƐŝŬĂƐƵƚĂũĂůĞƚƵƌƵĚŝŵĞŶƐŝŽŽŶŝ͕ƵƵƌŝĚĞƐƐĞĞŐĂŶƁƵĚůƵƐĞũĂŬŽŶŬƵƌĞĞƌŝǀĂƉĂŬŬƵŵŝƐĞǀĂŚĞŬŽƌĚĂ
ŚŝŶŶĂƚĂǀĂǀĂƌĂƚƵƌƵƐĞŐŵĞŶĚŝƐŽďũĞŬƚŝŝǀƐĞŵĂůƚ͘
                                                                 Ϯϰ
                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                  >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
    ..,,   .,_,     "'-'
                           _,
I I KI       N    SVA RA                                                                  ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 31 of 52
dŽŽŵĞǀćůũĂƐƵƵƌĞŵĂƐƚŬŝŶŶŝƐǀĂƌĂƉŽƌƚĂĂůŝƐƚ Ŭǀ͘ĞĞ ŵƁŶĞĚƉĂŬŬƵŵŝƐĞĚƐĂƌŶĂƐĞƐƵƵƌƵƐĞŐĂǀĂƌĂĚĞŐĂ͗
                                      Rae vald, Peetri , Kopli tee 40                                                        4       81.6m 2             315 000 €
                                                                                                                                                            3 860€/m'
                                      KAUNI S PEREKODU HINNATUD ASUKOHAS!
                                  0   Korrus 2/3, Korteriomand, kivimaja, ehitusaasta 2020, uus. induktsioon pliit.                                  Kuumakse 1 537 €

                                      duss . ...
                                      MOOa kena ja maitsekas kodu parimas asukohas. mis pealinna tahistelt
                                      leida!Kopll tee ...


                                  @




                                      Rae vald. Peetri, Moigu tee 11/8                                                       4       75.3 m2            290 000 €
                                                                                                                                                           3 851 €/m 2
                                      AVAR PEREKORTER KOOS KOIKIDE LISADEGA!
                                  Q                                                                                                                  Kuumakse 1 415 €
                                      Korrus 2/2, Korteriomand, kivimaja, ehitusaasta 2021 . uus, elektripli lt, vann, ...
                                      Muoa avar labi maja planeeringuga 4-toaline perekorter uues 2021 . a.
                                      valminud ...

                                       (El Korteri plaaniga
                                  @




                                      Rae vald, Peetri, Kopli tee 30                                                         4       80.3 ffl 2          309 000 €
                                                                                                                                                            3848 €/m 2
                                      3 MAGAMISTUBA. 9M2 RODU, PAIKESEPOOLNE!
                                  0   Korrus 3/ 3, Korteriomand, ehltusaasta 2022, lnduktsioon pliit, du~~. Ohk-                                      Kuum■ kse 1 507 C

                                      veslsooj uspump, ...
                                      Kesk-Peetrl arenduses on muoa avar Ja praktilise planeeringuga 4-toallne
                                      maitseka ...

                                  @




                                      Rae vald, Peetri, Moigu tee 11/6                                                       4        75.3 m2             274 000 €
                                                                                                                                                             3639 €Im'
                                      KLIENDIPAEV ON SIIS KUI SINA HELISTAD. VT KA PLANEERINGUT!
                                  0   Korrus 2/2, Korterlomand, k1vimaja, ehltusaasta 2021. valmls, elektriplllt. we Ja                               Kuumakse 1 337 €


                                      NB! TEE OMAPOOLNE PAKKUMINE: helista ja I3hme koos vaatama • kindlastl
                                      leiame kiiresti ...


                                  @




                                      Rae vald. Peetri. Sinilille tee 2/2                                                    4       78.6m2              280 000 €
                                      MUUA VALGUSKU LLANE, 4-TOALINE PEREKORTER                                                                             3S62€im'
                                  Q                                                                                                                   Kuumakse 1 366 €
                                      Korrus 2/2, Korteriomand, kivimaja, eh ltusaasta 2017, valmis, we Ja vannituba
                                      era ldl, ...
                                      MUUA VALGUSKULLANE, 4-TOALINE PEREKORTER Korter: ValguskOllane, 4.
                                      toaline ...

                                  @




                                      tJI Rae vald, Peetri, Sinilille tee 2/2                                                4       79,2ffl 1           279 000 €
                                                                                                                                                            3523 €Im'
                                      HU BANE JA STIILNE NELJATOALINE KORTER
                                  0                                                                                                                   Kuumakse 1 361 C
                                      Korrus 2/ 2, Korteriomand, kivlmaja, ehitusaasta 2017, heas korras , elektripliit.
                                      kOo k ...
                                      MOUa hubane ja stiilne neljatoaline korter rahulikus ja arenevas Peetri
                                      piirkonnas.Maja ...

                                  @   E:l Kliendipaev: L 08.06 10:00-12:00
                                        (El Korteri plaaniga


                                      tJI Rae vald, Peetri, Jarvepollu tee 1                                                     4    81 .9 ffl z         280 000 €
                                                                                                                                                             3 419 €Im'
                                      PEETRI OOTAB SIND:)
                                  Q                                                                                                                   Kuumakse 1 366 €
                                      Korrus 2/3, Korteriomand. kivimaja, ehitusaasta 2022. heas korras, elektnpliit.
                                      uus ...
                                      MOOa valguskOllane ja hea planeeringuga 4- toaline korter suurusega 82 m2.
                                      Karter asub ...

                                  @     ~ Korteri plaaniga         # Oise oman iku lt




                                                                Ϯϱ
                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''l   'l,J   I Y I ..._, - '
               N I SVARA                                                                    ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 32 of 52
                                             Rae vald, Peetri. Kopli tee 30                                                 79 m 2             320 000 €
                                             HINNAS KOHTKINDEL MQQBEL. 2 PARKIMIST, PAN I PAIK!
                                                                                                                                                  4 051 €Im'
                                       0                                                                                                    Kuumakse 1 561 C
                                             Korrus 1/3, Korteriomand, kivimaja, ehitusaasta 2022, uus. induktsioon pliit
                                             duss, uus ...
                                             MOOgile on saabunud hubane Ja stlilne paikesepoolse terrassiga 3-toaline
                                             kodu ...

                                       l2l    IE! Korteri plaaniga




,ŝŶŶĂƚĂǀǀĂƌĂĞŝŽůĞŚŝŶĚĂũĂůĞƚĞĂĚĂŽůĞǀĂůƚĂǀĂůŝŬƵƐŵƺƺŐŝƉĂŬŬƵŵŝƐĞƐ͘

ZƁŚƵƚĂŵĞ͕ Ğƚ ĞĞůƉŽŽů ƚŽŽĚƵĚ ǀĂƌĂĚĞ ƉƵŚƵů ŽŶ ƚĞŐĞŵŝƐƚ ƉĂŬŬƵŵŝƐŚŝŶĚĂĚĞŐĂ͕ ŵŝƚƚĞ ŵƺƺŐŝŚŝŶĚĂĚĞŐĂ͘ KŶ ŽůĞŵĂƐ
ǀƁŝŵĂůƵƐ͕ Ğƚ ƉĂŬŬƵŵŝƐŚŝŶŶĂĚ ĂǀĂůŝŬƵ ŵƺƺŐŝ ŬćŝŐƵƐ ŽůƵůŝƐĞůƚ ůĂŶŐĞǀĂĚ ǀƁŝ ĞŶĂŵƉĂŬŬƵŵŝƐĞ ƚŝŶŐŝŵƵƐƚĞƐ ƚƁƵƐĞǀĂĚ͘
^ĞĞƉćƌĂƐƚůĞŝĂŵĞ͕ĞƚůĞŝƚƵĚƚƵƌƵǀććƌƚƵƐĞŶŝŶŐƉĂŬŬƵŵŝƐŚŝŶĚĂĚĞŽƚƐĞŶĞǀƁƌĚůĞŵŝŶĞĞŝƐƵƵƌĞŶĚĂůĞŝƚƵĚƚƵůĞŵƵƐĞƚćƉƐƵƐƚ͘

ϰ͘ϯ͘ WĂƌŝŵŬĂƐƵƚƵƐ
sĂƌĂƉĂƌŝŵŬĂƐƵƚƵƐ͗,ŝŶĚĂŵŝƐƐƚĂŶĚĂƌĚĚĞĨŝŶĞĞƌŝďǀĂƌĂƉĂƌŝŵĂƚŬĂƐƵƚƵƐƚŬƵŝǀĂƌĂŬƁŝŐĞƚƁĞŶćŽůŝƐĞŵĂƚŬĂƐƵƚƵƐƚ͕ŵŝƐŽŶ
ĨƺƺƐŝůŝƐĞůƚǀƁŝŵĂůŝŬ͕ǀĂũĂůŝŬƵůƚƉƁŚũĞŶĚĂƚƵĚ͕ƁŝŐƵƐůŝŬƵůƚůƵďĂƚĂǀ͕ĨŝŶĂŶƚƐŵĂũĂŶĚƵƐůŝŬƵůƚŽƚƐƚĂƌďĞŬĂƐũĂŵŝůůĞƚƵůĞŵƵƐĞŶĂ
ŚŝŶŶĂƚĂǀǀĂƌĂŽŵĂŶĚĂďŬƁƌŐĞŝŵĂǀććƌƚƵƐĞ ;s^ϴϳϱͲϭͿ͘

,ŝŶŶĂƚĂǀĂ ŬŽƌƚĞƌŝŽŵĂŶĚŝ ƉĂƌŝŵ ŬĂƐƵƚƵƐŽŶŬĂƐƵƚĂŵŝŶĞ ĞůƵƌƵƵŵŝŶĂ͕ŵŝƐŽŶĨƺƺƐŝůŝƐĞůƚǀƁŝŵĂůŝŬ;ĂŶƚƵĚĂƐũĂŽůƵƚŽĞƚĂď
ĞůƵƌƵƵŵŝĚĞŽůĞŵĂƐŽůƵͿ͕ǀĂũĂůŝŬƵůƚƉƁŚũĞŶĚĂƚƵĚ;ĂůƚĞƌŶĂƚŝŝǀƐĞĚŬĂƐƵƚƵƐĞĚƉƵƵĚƵǀĂĚͿ͕ƁŝŐƵƐůŝŬƵůƚůƵďĂƚĂǀ;ĂŶƚƵĚĂƐũĂŽůƵ
ƚŽĞƚĂď ŚŝŶŶĂƚĂǀĂǀĂƌĂ ũƵƌŝŝĚŝůŝŶĞ ƐŝŚƚŽƐƚĂƌǀĞͿ͕ĨŝŶĂŶƚƐŵĂũĂŶĚƵƐůŝŬƵůƚŽƚƐƚĂƌďĞŬĂƐ ;ƉŝŝƌŬŽŶŶĂƐ ŽŶ ŶƁƵĚůƵƐƚ ĂŶĂůŽŽŐƐĞƚĞ
ŬŽƌƚĞƌŝŽŵĂŶĚŝƚĞ ǀĂƐƚƵͿŶŝŶŐŵŝůůĞƚƵůĞŵƵƐĞŶĂŚŝŶŶĂƚĂǀǀĂƌĂŽŵĂŶĚĂďŬƁƌŐĞŝŵĂǀććƌƚƵƐĞ͘,ŝŶĚĂũĂŚŝŶŶĂŶŐƵůŚŝŶŶĂƚĂǀĂů
ǀĂƌĂůĂůƚĞƌŶĂƚŝŝǀŶĞŬĂƐƵƚƵƐƉƵƵĚƵď͘

ϱ͘ ,ŝŶĚĂŵŝŶĞ
ϱ͘ϭ͘ ,ŝŶĚĂŵŝƐĞŵĞƚŽŽĚŝůŝŶĞĂůƵƐũĂƉƁŚŝŵƁƚƚĞĚ
dƵƌƵǀććƌƚƵƐĞŚŝŶĚĂŵŝƐĞůŬĂƐƵƚĂƚĂŬƐĞǀƁƌĚůƵƐŵĞĞƚŽĚŝƚ͕ƐĞƐƚŚŝŶŶĂƚĂǀĂǀĂƌĂŐĂƐĂƌŶĂƐƚĞǀĂƌĂĚĞƐĞŬƚŽƌŝƐƚĞŚĂŬƐĞǀĂůĚĂǀĂůƚ
ŽƐƚƵͲŵƺƺŐŝƚĞŚŝŶŐƵŝĚ͘

sƁƌĚůƵƐŵĞĞƚŽĚ ;ƐĂůĞƐ ĐŽŵƉĂƌŝƐŽŶ ĂƉƉƌŽĂĐŚͿ ƉƁŚŝŶĞď ĂŶĂůƺƺƐŝů͕ ŵŝůůĞ ĂůƵƐĞŬƐ ŽŶ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ǀƁƌĚůƵƐ ƐĂƌŶĂƐƚĞ
ŵƺƺĚƵĚǀĂƌĂĚĞŐĂ͘sƁƌĚůƵƐĞŬćŝŐƵƐŬŽƌƌŝŐĞĞƌŝƚĂŬƐĞŵƺƺĚƵĚǀĂƌĂĚĞŚŝŶĚƵ͕ƉŝĚĂĚĞƐƐŝůŵĂƐƚĞŚŝŶŐƵƐƚũĂǀĂƌĂƐƚƚƵůĞŶĞǀĂŝĚ
ĞƌŝƐƵƐŝ͕ ŶŝŶŐ ŚŝŶŶĂƚĂŬƐĞ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ǀććƌƚƵƐ͘ dƵƌƵǀććƌƚƵƐĞ ŚŝŶĚĂŵŝƐĞů ŽŶ ŵĞĞƚŽĚŝ ĂůƵƐĞŬƐ ĂƐĞŶĚƵƐƉƁŚŝŵƁƚĞ͗
ǀƁŝŵĂůŝŬŽƐƚũĂĞŝŽůĞǀĂůŵŝƐŵĂŬƐŵĂǀĂƌĂĞĞƐƚƌŽŚŬĞŵŬƵŝƐĂƌŶĂƐƚĞǀĂƌĂĚĞĞĞƐƚƚĂǀĂůŝƐĞůƚƚƵƌƵůŵĂŬƐƚĂŬƐĞ͘dƵƌƵǀććƌƚƵƐĞŶŝ
ũƁƵƚĂŬƐĞǀƁƌĚůƵƐŵĞĞƚŽĚŝƌĂŬĞŶĚĂŵŝƐĞůũƵŚƵů͕ŬƵŝǀƁƌĚůĞŵŝƐĞůĂůƵƐĞŬƐŽůĞǀĂĚƚĞŚŝŶŐƵĚŽŶƚĞŚƚƵĚǀĂďĂƚƵƌƵƚŝŶŐŝŵƵƐƚĞƐ
ũĂǀƁƌĚůƵƐĞŬćŝŐƵƐƚŽŝŵƵǀĞƌŝƐƵƐƚĞĂƌǀĞƐƐĞǀƁƚŵŝŶĞƚƵŐŝŶĞďƚƵƌƵŝŶĨŽƌŵĂƚƐŝŽŽŶŝůĞ;s^ϴϳϱͲϭϭͿ͘

sƁƌĚůƵƐŵĞĞƚŽĚŝĞĞůŝƐĞĚƐĞŝƐŶĞǀĂĚƐĞůůĞƐ͕ĞƚƚĂƉƁŚŝŶĞďƉŝŝƌŬŽŶŶĂƚĞŐĞůŝŬĞůŚŝŶĚĂĚĞů͕ǀƁƚĂďĂƌǀĞƐƐĞƚĞŐĞůŝŬŬƵŶƁƵĚůƵƐƚũĂ
ƉĂŬŬƵŵŝƐƚŶŝŶŐŽŶůŝŚƚƐĂůƚŵƁŝƐƚĞƚĂǀũĂƉƁŚũĞŶĚĂƚĂǀ͘

ϱ͘Ϯ͘ dƵƌƵǀććƌƚƵƐĞŚŝŶŶĂŶŐ
dƵƌƵǀććƌƚƵƐƚ ŚŝŶŶĂƚĂŬƐĞ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂ ũĂ ŚŝůũƵƚŝ ŵƺƺĚƵĚ ƐĂƌŶĂƐƚĞ ǀĂƌĂĚĞ ǀƁƌĚůĞŵŝƐĞ ĂůƵƐĞů͘ ^ĞĞũƵƵƌĞƐ ŬĂƐƵƚĂƚĂŬƐĞ
DĂĂͲĂŵĞƚŝŵĂĂƌĞŐŝƐƚƌŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐŝũĂŽŵƵƐ<ŝŶŶŝƐǀĂƌĂƚĞŚŝŶŐƵŝŶĨŽƚ͘

sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞ ǀĂůŝŬƵů ůćŚƚƵƚĂŬƐĞ ƐĞůůĞƐƚ͕ Ğƚ ĂŶĂůƺƺƐŝƚĂǀ ǀĂƌĂ ŽůĞŬƐ Ğƌŝ ǀƁƌĚůƵƐĞůĞŵĞŶƚŝĚĞ ŽƐĂƐ ŚŝŶŶĂƚĂǀĂ ǀĂƌĂŐĂ
ǀƁŝŵĂůŝŬƵůƚƐĂƌŶĂŶĞũĂĞƚŵƺƺŐŝƚĞŚŝŶŐŽůĞŬƐƚĞŚƚƵĚǀĂďĂƚƵƌƵƚŝŶŐŝŵƵƐƚĞƐǀććƌƚƵƐĞŬƵƵƉćĞǀĂƐƵŚƚĞƐǀƁŝŵĂůŝŬƵůƚŚŝůũƵƚŝ
ũĂƐĂƌŶĂƐĞƐƚƵƌƵƐŝƚƵĂƚƐŝŽŽŶŝƐ͘

sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞŬƐŽŶŚŝŶĚĂũĂ ǀĂůŝŶƵĚƉƵŶŬƚŝƐƚϰ͘Ϯ͘ϭƚŽŽĚƵĚũćƌŐŵŝƐĞĚƚĞŚŝŶŐƵĚ͗
            ƐƵŬŽŚƚ      dĞŚŝŶŐƵ ůƵƌƵƵŵŝ dĞŚŝŶŐƵ dĞŚŝŶŐƵ                         >ŝƐĂŝŶĨŽ
                                   ĂĞŐ     ƉŝŶĚ͕ŵϮ      ŚŝŶĚ͕    hind,€
                                                          €/mϮ
 WĞĞƚƌŝĂůĞǀŝŬ <ŽƉůŝƚĞĞ       ϬϮ͘ϮϬϮϰ ϲϳ͕Ϯ             ϯϵϳϯ    ϮϲϳϬϬϬ     ϮϬϮϮ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                                                                             Ϯͬϯ͕ϯƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ŽůĞŵĂƐ
                                                                             ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƌƁĚƵϱ͕ϱŵϮ͕
                                                                     Ϯϲ
                                                              ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
          'l,J
                                                                               ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 33 of 52
             ƐƵŬŽŚƚ            dĞŚŝŶŐƵ ůƵƌƵƵŵŝ dĞŚŝŶŐƵ           dĞŚŝŶŐƵ                       >ŝƐĂŝŶĨŽ
                                         ĂĞŐ    ƉŝŶĚ͕ŵϮ   ŚŝŶĚ͕             hind,€
                                                           €/mϮ
                                                                                          ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                                          ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ     ^ŝŶŝůŝůůĞƚĞĞ       Ϭϯ͘ϮϬϮϰ    ϴϭ͕ϱ          ϯϮϳϲ       ϮϲϳϬϬϬ       ϮϬϭϳ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ŚĞĂͬǀćŐĂ
                                                                                          ŚĞĂ͕ϮͬϮ͕ϰƚƵďĂ͕ŬŽƌƚĞƌŚĞĂͬǀćŐĂŚĞĂ͕
                                                                                          ŽůĞŵĂƐŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƌƁĚƵ
                                                                                          ϲ͕ϵŵϮ͕ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                                          ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 WĞĞƚƌŝĂůĞǀŝŬ     :ćƌǀĞƐĂůƵƚĞĞ       sO>      ϴϵ͕ϵ           ϯϱϬϰ       ϯϭϱϬϬϬ       ϮϬϮϯ͘ĂŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ǀćŐĂŚĞĂ͕
                                       ϭϮ͘ϮϬϮϯ͕                                          ϭͬϯ͕ϰƚƵďĂ͕ŬŽƌƚĞƌǀćŐĂŚĞĂ͕ƉƵƵĚƵď
                                       O>                                               ŬŽŚƚŬŝŶĚĞůŬƂƂŐŝŵƂƂďĞů͕ƚĞƌƌĂƐƐϭϰ͕ϳ
                                       ϬϮ͘ϮϬϮϰ                                            ŵϮ͕ƉĂŶŝƉĂŝŬũĂŬĂŬƐŬŝŶĚůĂƚ
                                                                                          ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
ůůŝŬĂƐ͗DĂĂͲĂŵĞƚŝŵĂĂƌĞŐŝƐƚƌŝƚĞŚŝŶŐƵƚĞĂŶĚŵĞďĂĂƐũĂŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ

sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞŶĂ ŽŶ ŬĂƐƵƚĂƚƵĚ ƚƵƌƵĂŶĂůƺƺƐŝƐ ƌƁŚƵƚĂƚƵůƚ ǀćůũĂ ƚŽŽĚƵĚ ƚĞŚŝŶŐƵŝĚ͘ dĞŝŶĞ ũĂ ŬŽůŵĂƐ ǀƁƌĚůƵƐƚĞŚŝŶŐ ŽŶ
ǀĂůŝƚƵĚĂŶĂůƺƺƐŝ͕ŬƵŶĂƚĞŐĞŵŝƐƚŽŶƐĂƌŶĂƐĞůƚŚŝŶŶĂƚĂǀĂŐĂŶĞůũĂƚŽĂůŝƐƚĞŬŽƌƚĞƌŝƚĞŐĂ͘ƐŝŵĞŶĞǀƁƌĚůƵƐƚĞŚŝŶŐŽŶŽůĞŵƵƐĞůƚ
ŬŽůŵĞƚŽĂůŝŶĞ͕ŬƵŝĚƚĞŐĞŵŝƐƚŽŶŚŝŶŶĂƚĂǀĂŐĂůćŚĞĚĂƐĞĂƐƵŬŽŚĂŐĂ͕ƐĂƌŶĂƐĞĞŚŝƚƵƐĂĂƐƚĂũĂƐĞŝƐƵŬŽƌƌĂŐĂŬŽƌƚĞƌŝŐĂ͘

sĂůŝƚƵĚ ǀƁƌĚůƵƐƚĞŚŝŶŐƵƚĞǀƁƌĚůĞŵŝƐĞŬƐŚŝŶŶĂƚĂǀĂǀĂƌĂŐĂŬŽƌƌŝŐĞĞƌŝŵĞǀƁƌĚůƵƐƚĞŚŝŶŐƵŝĚŝƐĞůŽŽŵƵƐƚĂǀĂŝĚƉĂƌĂŵĞĞƚƌĞŝĚ͘
<ŽƌƌŝŐĞĞƌŝŵŝƐĞĞĞƐŵćƌŐŝŬƐŽŶĂŶĚĂŚŝŶŶĂŶŐ͕ŬƵŝƉĂůũƵŵƵƵĚĂďŚŝŶŶĂƚĂǀĂǀĂƌĂ ŵŝŶŐŝƉĂƌĂŵĞĞƚƌŝĞƌŝŶĞǀƵƐǀƁƌĚůƵƐƚĞŚŝŶŐƵ
ƚƵƌƵǀććƌƚƵƐƚ͘

 sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞ ũĂǀƁƌĚůƵƐƺŚŝŬƵ ǀĂůŝŬŶŝŶŐ ŬŽŚĂŶĚĂŵŝƐĞƉƁŚŝŵƁƚƚĞĚ
 sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞǀĂůŝŬ    ,ŝŶĚĂŵŝƐĞů ǀƁƌĚůƵƐŵĞĞƚŽĚŝů ŬĂƐƵƚĂŵĞ ŚŝŶŶĂƚĂǀĂŐĂ ƐĂƌŶĂƐĞ ƚƵƌƵƉŝŝƌŬŽŶŶĂ ƐĂƌŶĂƐƚĞ
                           ǀĂƌĂĚĞŐĂƚĞŚƚƵĚ ƚĞŚŝŶŐƵŝĚ͘
 ^ĞůŐŝƚƵƐĞĚ                       • <ƁŝŬǀƁƌĚůƵƐƚĞŚŝŶŐƵĚ ŽŶŵƺƺĚƵĚƚĂǀĂƉćƌĂƐĞŵƺƺŐŝƉƌŽƚƐĞƐƐŝŬćŝŐƵƐ͘
 ǀƁƌĚůƵƐƚĞŚŝŶŐƵƚĞŽƐĂƐ            • sćůũĂ ƚŽŽĚƵĚŚŝŶŶĂĚ ŽŶƚĂƌďŝũĂƚĞ ũĂŽŬƐ ůƁƉƉŚŝŶŶĂĚ ũĂ ĞůƵŬŽŶĚůŝŬƵ ǀĂƌĂƚƵƌƵů ŽŶ
                                     ƉĞĂŵŝƐĞůƚ ƚĞŚŝŶŐƵƚĞ ŽƐĂƉŽŽůƚĞŬƐ ĞƌĂŝƐŝŬƵĚ͕ ŵŝƐƚƁƚƚƵ ǀƁĞƚĂŬƐĞ ǀƁƌĚůƵƐǀĂƌĂĚĞ
                                     ƚĞŚŝŶŐƵŚŝŶĚĂĚĞŬƐƚĂďĞůŝƐƚƚŽŽĚƵĚůƁƉƉŚŝŶŶĂĚ͘ƐũĂŽůƵ͕ŬĂƐŵƺƺũĂŽůŝŬŽŚƵƐƚĂƚƵĚ
                                     ŬćŝďĞŵĂŬƐƵƚĞŚŝŶŐƵƐƵŵŵĂƉĞĂůƚƚĂƐƵŵĂǀƁŝŵŝƚƚĞ͕ůƁƉƉƚĂƌďŝũĂũĂŽŬƐŵƺƺŐŝŚŝŶĚĂ
                                     ĞŝŵƁũƵƚĂ͘
                    ϲ
 sƁƌĚůƵƐƺŚŝŬƵǀĂůŝŬ        Vordlusuhikuks valime korteri pinnauhiku hinna {€/ŵϮ ͬĞůƵƌƵƵŵŝƉŝŶĚͿ͕ŬƵŶĂĂŶƚƵĚǀĂƌĂ
                           ůŝŝŐŝ ƉƵŚƵů ŝƐĞůŽŽŵƵƐƚĂď ƐĞĞ ƚƵƌƵ ƚŽŝŵĞŵĞŚŚĂŶŝƐŵĞ ŬƁŝŐĞ ƉĂƌĞŵŝŶŝ ŶŝŶŐ ƐĂƌŶĂƐƚĞ
                           ǀĂƌĂĚĞŐĂŬĂƵďĞůĚĂŬƐĞƚƵƌƵůůćŚƚƵǀĂůƚƌƵƵƚŵĞĞƚƌŝŚŝŶŶĂƐƚ͘
 sƁƌĚůƵƐĞůĞŵĞŶƚŝĚĞǀĂůŝŬϳ      • ũĂůŝŶĞ ŬŽŚĂŶĚƵƐ Ͳ ƚƵƌƵƐŝƚƵĂƚƐŝŽŽŶŝ ŵƵƵƚƵƐ ǀƁƌƌĞůĚĂǀĂƚĞ ǀĂƌĂĚĞ ŵƺƺŐŝĂũĂ ũĂ
                                   ŚŝŶŶĂƚĂǀĂǀĂƌĂǀććƌƚƵƐĞŬƵƵƉćĞǀĂǀĂŚĞů͘
                           dƵƌƵƐŝƚƵĂƚƐŝŽŽŶ Ğŝ ŽůĞ ǀĂĂĚĞůĚĂǀĂů ĂũĂƉĞƌŝŽŽĚŝů ŽůƵůŝƐĞůƚ ŵƵƵƚƵŶƵĚ͕ ƐĞĞŐĂ ŬŽŚĂŶĚƵƐŝ Ğŝ
                           ƌĂŬĞŶĚĂƚĂ͘

                                   sƁƌĚůƵƐĞůĞŵĞŶƚŝĚĞŬƐ ŽŶ ůŝƐĂŬƐ ƚĞŚŝŶŐƵ ĂũĂůĞ ǀĂůŝƚƵĚ ũćƌŐŵŝƐĞĚ ĞŶŝŵ ǀĂƌĂ ǀććƌƚƵƐƚ
                                   ŵƁũƵƚĂǀĂĚƚĞŐƵƌŝĚ͗
                                     • ƐƵŬŽŚƚ - ƉĂŝŬŶĞŵŝŶĞ ƉŝŝƌŬŽŶŶĂ ƐŝƐĞƐĞůƚ͕ ŬĂƵŐƵƐ ŬĞƐŬƵƐƚĞƐƚ͕ ŝŶĨƌĂƐƚƌƵŬƚƵƵƌŝ
                                         ŽůĞŵĂƐŽůƵ͕ ƉŝŝƌŬŽŶŶĂ ŵĂŝŶĞ͕ ũƵƵƌĚĞƉććƐ͕ ůćŚŝƺŵďƌƵƐĞ ŚŽŽŶĞƐƚƵƐ͕ ŚĂůũĂƐƚƵƐ͕
                                         ŵƺƌĂƚĂƐĞũŶĞ͕ŬŽŚĂŶĚĂŵŝƐĞƐĂŵŵϱͲϭϬй͘,ĞƚŬĞůŽůƵůŝƐŝĞƌŝŶĞǀƵƐŝĞŝĞƐŝŶĞ͕ŬƁŝŬǀĂƌĂĚ
                                         ƉĂŝŬŶĞǀĂĚƐĂƌŶĂƐĞƐƉŝŝƌŬŽŶŶĂƐ͘
                                     • ,ŽŽŶĞŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚũĂƐĞŝƐƵŬŽƌĚ Ͳ <ŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝŐĂ ĞůĂŵƵƚĞƐƉĂŝŬŶĞǀĂĚ
                                         ŬŽƌƚĞƌŝĚŽŶƉƵŝƚŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝŐĂĞůĂŵƵƚĞƐƉĂŝŬŶĞǀĂƚĞƐƚŬŽƌƚĞƌŝƚĞƐƚĞŶĂŵŚŝŶŶĂƚƵĚ͕
                                         ŚŝŶŶĂǀĂŚĞϱͲϭϬй͘WĂƌĞŵĂƐƐĞŝƐƵŬŽƌƌĂƐũĂƵƵĞŵĂƚĞƐĞůĂŵƵƚĞƐƉĂŝŬŶĞǀĂĚŬŽƌƚĞƌŝĚŽŶ
                                         ŬƁƌŐĞŵĂůƚ ŚŝŶŶĂƚƵĚ͕ ŚŝŶĚĂ ŵƁũƵƚĂď ŬĂ ĞůĂŵƵ ĂƌŚŝƚĞŬƚƵƵƌ ũĂ ĨƵŶŬƚƐŝŽŶĂĂůƐƵƐ͕
                                         ŬŽŚĂŶĚĂŵŝƐĞƐĂŵŵϱͲϭϬй͘,ĞƚŬĞůŽŶŬŽŚĂŶĚĂƚƵĚƚĞŝƐƚǀƁƌĚůƵƐǀĂƌĂϱйŬĞŚǀĞŵĂŬƐ͕
                                         ŬƵŶĂƚĞŐĞŵŝƐƚŽŶŵƁŶĞǀƁƌƌĂǀĂŶĞŵĂŬŽƌƚĞƌĞůĂŵƵŐĂ͘

ϲ sƁƌĚůƵƐƺŚŝŬ ŽŶƺŚŝŬ͕ŵŝůůĞĂďŝůŬŽŚĂŶĚĂŵŝƐĞǀƁƚƚĞŝĚŬĂƐƵƚĂĚĞƐůĞŝƚĂŬƐĞǀĂƌĂǀććƌƚƵƐǀƁƌĚůƵƐŵĞĞƚŽĚŝů͘dĂǀĂůŝƐĞůƚŽŶǀƁƌĚůƵƐƺŚŝŬƵŬƐ

ƺŚŝŬ͕ŵŝĚĂŬĂƐƵƚĂƚĂŬƐĞƚƵƌƵůŬĂƵƉůĞŵŝƐĞů͕ƉŝĚĂĚĞƐƐŝůŵĂƐŬŽŶŬƌĞĞƚƐĞƚŽŽƚĞ͕ƚƵƌƵƐĞŐŵĞŶĚŝũĂͲƉŝŝƌŬŽŶŶĂĞƌŝƉćƌĂƐŝĚ;s^ϴϳϱͲϭϭͿ
ϳ sƁƌĚůƵƐĞůĞŵĞŶƚ ŽŶ ǀĂƌĂ ǀƁŝ ƚĞŚŝŶŐƵƚ ŝƐĞůŽŽŵƵƐƚĂǀ ŶćŝƚĂũĂ͕ ŵŝĚĂ ŬĂƐƵƚĂƚĂŬƐĞ ŬŽŚĂŶĚĂŵŝƐĞů ũĂ ŵŝůůĞ ǀĂůŝŬƵů ůćŚƚƵƚĂŬƐĞ ƐĞůůĞ

ŽůƵůŝƐƵƐĞƐƚǀĂƌĂǀććƌƚƵƐĞŬƵũƵŶĞŵŝƐĞů;s^ϴϳϱͲϭϭͿ
                                                                 Ϯϳ
                                                          ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                           ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                      >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
           'l,J
                                                                         ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 34 of 52
 sƁƌĚůƵƐƚĞŚŝŶŐƵƚĞ ũĂǀƁƌĚůƵƐƺŚŝŬƵ ǀĂůŝŬŶŝŶŐ ŬŽŚĂŶĚĂŵŝƐĞƉƁŚŝŵƁƚƚĞĚ
                              • <ŽƌƚĞƌŝƉŝŶĚ Ͳ můĚũƵŚƵůŽŶƐƵƵƌĞŵĂŬŽƌƚĞƌŝƚĞƌǀŝŬŚŝŶĚŬƁƌŐĞŵũĂǀćŝŬƐĞŵĂůŵĂĚĂůĂŵ͕
                                  ŬƵŝĚǀćŝŬƐĞŵĂŬŽƌƚĞƌŝƉŝŶŶĂƺŚŝŬƵ;ŵϸͿŚŝŶĚŽŶŬƁƌŐĞŵũĂƐƵƵƌĞŵĂůŵĂĚĂůĂŵ͘ϱͲϭϬ
                                  ŵϸ ƐƵƵƌƵŶĞ ƉŝŶŶĂĞƌŝŶĞǀƵƐ ŵƁũƵƚĂď ŬŽƌƚĞƌŝ ǀććƌƚƵƐƚ ĐĂ ϱй͘ ^ƵƵƌĞŵĂ ƉŝŶĚĂůĂŐĂ
                                  ŬŽƌƚĞƌŝƚĞũƵƵƌĞƐĞƐŝŶĞďŵĂƐƚĂĂďŝĞĨĞŬƚŝǀćŚĞŵ͘,ĞƚŬĞůŽŶƌĂŬĞŶĚĂƚƵĚŵĂƐƚĂĂďŝĞĨĞŬƚ
                                  ͲϱйĞƐŝŵĞƐĞůĞǀƁƌĚůƵƐǀĂƌĂůĞŶŝŶŐϱйŬŽůŵĂŶĚĂůĞǀƁƌĚůƵƐǀĂƌĂůĞ͘
                              • dƵďĂĚĞĂƌǀͲ ŬƵŝŽƉƚŝŵĂĂůƐĞůĞƉŝŶĚĂůĂůĞŵĂŚƵƚĂƚĂŬƐĞƌŽŚŬĞŵĂƌǀƚƵďĞũĂƉůĂŶĞĞƌŝŶŐ
                                  ƐĞĞůćďŝƉĂƌĂŶĞď͕ƐŝŝƐŽŶƐĞůůŝƐƚĞŬŽƌƚĞƌŝƚĞŚŝŶŶĂĚŬƵŶŝϱйŬƁƌŐĞŵĂŚŝŶŶĂŐĂǀƁƌƌĞůĚĞƐ
                                  ǀćŝŬƐĞŵĂĂƌǀƵŐĂƚƵďĂĚĞŐĂ͘,ĞƚŬĞůƉĞĂŵĞŬƁŝŬŝǀĂƌĂƐŝĚƐĂŵĂǀććƌƐĞƚĞŬƐ͘
                              • <ŽƌƚĞƌŝ ŬŽƌƌƵƐͬŬŽƌƌƵƐĞŝĚ - ƉŝŝƌŬŽŶŶĂƐ ŽŶ ǀćŚĞŵ ŚŝŶŶĂƚƵĚ ůŝĨƚŝƚĂ ŬŽƌƚĞƌĞůĂŵƵƚĞ
                                  ǀŝŝĞŶĚĂůŬŽƌƌƵƐĞůƉĂŝŬŶĞǀĂĚŬŽƌƚĞƌŝĚŶŝŶŐŬŽƌƚĞƌĞůĂŵƵƚĞĞƐŝŵĞƐĞůͲ ũĂ ƐŽŬůŝŬŽƌƌƵƐĞů
                                  ƉĂŝŬŶĞǀĂĚ ŬŽƌƚĞƌŝĚ͕ ŬŽŚĂŶĚĂŵŝƐĞ ƐĂŵŵ ϱй͘ ,ĞƚŬĞů ŽŶ ŬŽŚĂŶĚĂƚƵĚ ŬŽůŵĂŶĚĂƚ
                                  ǀƁƌĚůƵƐǀĂƌĂϱйŬĞŚǀĞŵĂŬƐ͕ŬƵŶĂƉĂŝŬŶĞďǀćŚĞŵŚŝŶŶĂƚƵĚĞƐŝŵĞƐĞůŬŽƌƌƵƐĞů͘
                              • <ŽƌƚĞƌŝ ƐĞŝƐƵŬŽƌĚ ũĂ ŬŽŚƚŬŝŶĚĞů ŬƂƂŐŝŵƂƂďĞů - WĂƌĞŵĂƐ ƐĞŝƐƵŬŽƌƌĂƐ ũĂ
                                  ŬǀĂůŝƚĞĞƚƐĞŵĂ ƐŝƐĞǀŝŝŵŝƐƚůƵƐĞŐĂ ŬŽƌƚĞƌŝĚ ŽŶ ŬƁƌŐĞŵĂůƚ ŚŝŶŶĂƚƵĚ͕ ŬŽŚĂŶĚĂŵŝƐĞ
                                  ƐĂŵŵŽŶϱͲϮϬй͘>ŝƐĂǀććƌƚƵƐƚĂŶŶĂďŬŽŚƚŬŝŶĚůĂŬƂƂŐŝŵƂƂďůŝŽůĞŵĂƐŽůƵ͕ŵƁũƵϱй͘
                                  ,ĞƚŬĞůŽŶŬŽŚĂŶĚĂƚƵĚƚĞŝƐƚǀƁƌĚůƵƐǀĂƌĂϱйŬĞŚǀĞŵĂŬƐ͘
                              • ZƁĚƵͬƚĞƌƌĂƐƐ - ƌƁĚƵũĂͬǀƁŝƚĞƌƌĂƐƐŝŐĂŬŽƌƚĞƌŝĚŽŶĞŶĂŵŚŝŶŶĂƚƵĚ͕ŚŝŶŶĂŵƁũƵϱͲϭϱй͘
                                  ,ĞƚŬĞů ŽŶ ŬŽŚĂŶĚĂƚƵĚ ŬŽůŵĂŶĚĂƚ ǀƁƌĚůƵƐǀĂƌĂ Ͳϱй ƉĂƌĞŵĂŬƐ͕ ŬƵŶĂ ƚĞŐĞŵŝƐƚ ŽŶ
                                  ƉŝŶŶĂůƚƐƵƵƌĞŵĂƚĞƌƌĂƐƐŝŐĂ͘
                              • WĂŶŝƉĂŝŬͲ ƉĂŶŝƉĂŝŐĂŽůĞŵĂƐŽůƵŽŶƚƵƌƵǀććƌƚƵƐƚ ƉŽƐƚŝŝǀƐĞůƚŵƁũƵƚĂǀƚĞŐƵƌ͘ ,ĞƚŬĞů
                                  ĞƌŝŶĞǀƵƐŝĞŝĞƐŝŶĞ͘
                              • WĂƌŬŝŵŝŶĞͲ ŬŝŶĚůĂũĂĞƌĂůĚŝƐĞŝƐǀĂƉĂƌŬŝŵŝƐŬŽŚĂŐĂ;ĞƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞǀƁŝŶŽƚĂƌŝĂĂůƐĞ
                                  ŬĂƐƵƚƵƐŬŽƌƌĂ ĂůƵƐĞů ŬĂƐƵƚĂƚĂǀ ǀƁŝ ĞƌĂůĚŝƐĞŝƐĞǀ ŬŽƌƚĞƌŝŽŵĂŶĚͿ ŬŽƌƚĞƌŝĚ ŽŶ
                                  ƚƵƌƵŽƐĂůŝƐƚĞƐĞĂƐŬƁƌŐĞŵĂůƚŚŝŶŶĂƚƵĚ͘,ĞƚŬĞůŽŶŬƁŝǀĂƌĂĚƐĂŵĂǀććƌƐĞĚ͘

                            DƵŝĚƉĂƌĂŵĞĞƚƌĞŝĚĞŝŽůĞǀƁƌĚůƵƐĞůĞŵĞŶƚŝĚĞŶĂǀĂĂĚĞůĚƵĚ͕ƐĞƐƚŶĞŶĚĞŽƐĂƐŽŶŚŝŶŶĂƚĂǀ
                            ǀĂƌĂ ǀƁƌĚůƵƐƚĞŚŝŶŐƵƚĞŐĂ ƐĂŵĂǀććƌŶĞ ǀƁŝĞŝŽůĞ ŶĞĞĚ ƚƵƌƵǀććƌƚƵƐĞ ŬƵũƵŶĞŵŝƐĞů ƚćŚƚƐĂĚ͘
                            můĚũƵŚƵůƌĂŬĞŶĚĂƚĂŬƐĞŬŽŚĂŶĚƵƐŝƚćƉƐƵƐĞŐĂϱй͕ŬƵŝĚŬƵŝƚƵƌŐƐĞĚĂƚŽĞƚĂďũĂŽŶǀƁŝŵĂůŝŬ
                            ƌĂŚĂůŝƐĞĂƌǀƵƚƵƐƚĞŐĂƉƁŚũĞŶĚĂĚĂ͕ŽŶǀƁŝŵĂůŝŬƌĂŬĞŶĚĂĚĂŬĂŬŽŚĂŶĚƵƐŝƚćƉƐƵƐĞŐĂ͕ŵŝƐŽŶ
                            ǀćŝŬƐĞŵĂĚŬƵŝϱй͘

<ŽŚĂŶĚƵƐƚĂďĞů͗
                                                                          sOZZ>sd,/E'h
                              ,/EEdssZ
                                                                ϭ                   Ϯ                               ϯ
                            ,ŝŶĚĂŵŝƐĞůůćŚƚƵƚŝŵϸ
Tehinguhind, €                                              ϮϲϳϬϬϬ                   ϮϲϳϬϬϬ                   ϯϭϱϬϬϬ
                                  ŚŝŶŶĂƐƚ
 dĞŚŝŶŐƵŚŝŶĚ͕
 €/m 2/eluruumi pinna                                        ϯϵϳϯ                     ϯϮϳϲ                     ϯϱϬϰ
 ĂƌǀĞƐƚƵƐĞƐ
                                                                                                            sO>ĚĞƚƐ͘Ϯϯ͕
 dĞŚŝŶŐƵĂĞŐ                                               ǀĞĞďƌ͘Ϯϰ                  ŵćƌƚƐ͘Ϯϰ
                                  ũƵƵŶŝ͘Ϯϰ                                                                  O>ǀĞĞďƌ͘Ϯϰ
 ũĂůĚĂŵŝŶĞ                                                    Ϭй                       Ϭй                       Ϭй
 Ajaldatud m 2 hind €/m 2                                     ϯϵϳϯ                     ϯϮϳϲ                    ϯϱϬϰ

                                                        <ŽƉůŝƚĞĞ͕WĞĞƚƌŝ      ^ŝŶŝůŝůůĞƚĞĞ͕WĞĞƚƌŝ :ćƌǀĞƐĂůƵƚĞĞ͕WĞĞƚƌŝ
 ƐƵŬŽŚƚ
                              <ŽƉůŝƚĞĞϮϰͲϮϮ͕              ĂůĞǀŝŬ                     ĂůĞǀŝŬ                ĂůĞǀŝŬ
                               WĞĞƚƌŝĂůĞǀŝŬ
 sƁƌĚůƵƐ                                                  ƐĂŵĂǀććƌŶĞ               ƐĂŵĂǀććƌŶĞ                ƐĂŵĂǀććƌŶĞ
 <ŽŚĂŶĚƵƐ                                                      Ϭй                       Ϭй                         Ϭй
                                                            ϮϬϮϮ͘Ă                 ϮϬϭϳ͘Ă             ϮϬϮϯ͘Ă
 ,ŽŽŶĞŬŽŶƐƚƌƵŬƚƐŝŽŽŶŝĚ
                                   ϮϬϮϮ͘Ă           ŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕     ŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕ ŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕
 ũĂƐĞŝƐƵŬŽƌĚ
                             ŬŝǀŝŬŽŶƐƚƌƵŬƚƐŝŽŽŶ͕          ǀćŐĂŚĞĂ               ŚĞĂͬǀćŐĂŚĞĂ           ǀćŐĂŚĞĂ
 sƁƌĚůƵƐ                          ǀćŐĂŚĞĂ                ƐĂŵĂǀććƌŶĞ                  ŬĞŚǀĞŵ                 ƐĂŵĂǀććƌŶĞ
 <ŽŚĂŶĚƵƐ                                                      Ϭй                        ϱй                        Ϭй
 <ŽƌƚĞƌŝƉŝŶĚĂůĂ͕ŵϸ                ϳϵ͕Ϯ                      ϲϳ͕Ϯ                      ϴϭ͕ϱ                      ϴϵ͕ϵ
                                                            Ϯϴ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
           'l,J
                                                                       ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 35 of 52
                                                          ǀćŝŬƐĞŵ͕                                        ƐƵƵƌĞŵ͕
 sƁƌĚůƵƐ                                                                         ƐĂŵĂǀććƌŶĞ
                                                        ŵĂƐƚĂĂďŝĞĨĞŬƚ                                    ŵĂƐƚĂĂďŝĞĨĞŬƚ
 <ŽŚĂŶĚƵƐ                                                    Ͳϱй                      Ϭй                         ϱй
 dƵďĂĚĞĂƌǀ                                                 ϯƚƵďĂ                  ϰƚƵďĂ                     ϰƚƵďĂ
 sƁƌĚůƵƐ                           ϰƚƵďĂ                ƐĂŵĂǀććƌŶĞ              ƐĂŵĂǀććƌŶĞ                ƐĂŵĂǀććƌŶĞ
 <ŽŚĂŶĚƵƐ                                                    Ϭй                       Ϭй                         Ϭй
 <ŽƌƌƵƐͬŬŽƌƌƵƐĞŝĚ                                            Ϯͬϯ                      ϮͬϮ                        ϭͬϯ
 sƁƌĚůƵƐ                             ϯͬϯ                 ƐĂŵĂǀććƌŶĞ              ƐĂŵĂǀććƌŶĞ                   ŬĞŚǀĞŵ
 <ŽŚĂŶĚƵƐ                                                    Ϭй                       Ϭй                         ϱй
                                                      sćŐĂŚĞĂ͕ŽůĞŵĂƐ         ŚĞĂͬǀćŐĂŚĞĂ͕        sćŐĂŚĞĂ͕ƉƵƵĚƵď
 <ŽƌƚĞƌŝƐĞŝƐƵŬŽƌĚ                                       ŬŽŚƚŬŝŶĚĞů          ŽůĞŵĂƐŬŽŚƚŬŝŶĚĞů         ŬŽŚƚŬŝŶĚĞů
                              sćŐĂŚĞĂ͕ŽůĞŵĂƐ         ŬƂƂŐŝŵƂƂďĞů              ŬƂƂŐŝŵƂƂďĞů            ŬƂƂŐŝŵƂƂďĞů
                                 ŬŽŚƚŬŝŶĚĞů
 sƁƌĚůƵƐ                        ŬƂƂŐŝŵƂƂďĞů              ƐĂŵĂǀććƌŶĞ                 ŬĞŚǀĞŵ                    ŬĞŚǀĞŵ

 <ŽŚĂŶĚƵƐ                                                    Ϭй                       ϱй                         ϱй
 ZƁĚƵͬƚĞƌƌĂƐƐ                                          ZƁĚƵϱ͕ϱŵϮ              ZƁĚƵϲ͕ϵŵϮ            dĞƌƌĂƐƐϭϰ͕ϳŵϮ

 sƁƌĚůƵƐ                        ZƁĚƵϱ͕ϱŵϮ              ƐĂŵĂǀććƌŶĞ              ƐĂŵĂǀććƌŶĞ                   ƐƵƵƌĞŵ

 <ŽŚĂŶĚƵƐ                                                    Ϭй                       Ϭй                         Ͳϱй
 WĂŶŝƉĂŝŬ                                                 KůĞŵĂƐ                   KůĞŵĂƐ                    KůĞŵĂƐ
 sƁƌĚůƵƐ                           KůĞŵĂƐ                ƐĂŵĂǀććƌŶĞ              ƐĂŵĂǀććƌŶĞ                ƐĂŵĂǀććƌŶĞ
 <ŽŚĂŶĚƵƐ                                                    Ϭй                       Ϭй                         Ϭй

                                                         <ĂŬƐŬŝŶĚůĂƚ           <ĂŬƐŬŝŶĚůĂƚ            <ĂŬƐŬŝŶĚůĂƚ
 WĂƌŬŝŵŝƐŬŽŚƚ
                                                      ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ       ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ        ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
                                 <ĂŬƐŬŝŶĚůĂƚ
                              ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂ
 sƁƌĚůƵƐ                                                 ƐĂŵĂǀććƌŶĞ              ƐĂŵĂǀććƌŶĞ                ƐĂŵĂǀććƌŶĞ
 <ŽŚĂŶĚƵƐ                                                    Ϭй                       Ϭй                         Ϭй
 ^ƵŵŵĂĂƌŶĞŬŽŚĂŶĚƵƐ                                          Ͳϱй                      ϭϬй                       ϭϬй
 <ŽŚĂŶĚĂƚƵĚ
                                                            ϯϳϳϱ                     ϯϲϬϰ                       ϯϴϱϰ
 ƌƵƵƚŵĞĞƚƌŝhind, €/m 2
 <ŽŚĂŶĚƵƐƚĞĂďƐŽůƵƵƚǀććƌƚƵƐƚĞƐƵŵŵĂ                          ϱй                      ϭϬй                        ϮϬй
 KƐĂŬĂĂůůƁƉƉŚŝŶŶĂƐ                                         Ϭ͕ϰϬ                     Ϭ͕ϯϱ                       Ϭ͕Ϯϱ
 Kaalutud kohandatud m 2 hind, €/m 2                        ϭϱϭϬ                     ϭϮϲϭ                       ϵϲϰ
 <ĂĂůƵƚƵĚŬŽŚĂŶĚĂƚƵĚ
 ŬĞƐŬŵŝŶĞ                         ϯϳϯϱ €
 ƌƵƵƚŵĞĞƚƌŝhind,€/m 2
 <ĂĂůƵƚƵĚŬŽŚĂŶĚĂƚƵĚ
 ŬĞƐŬŵŝŶĞƚĞŚŝŶŐƵŚŝŶĚ͕           ϮϵϱϴϭϮ €
 €

dƵƌƵǀććƌƚƵƐĞ ŚŝŶĚĂŵŝƐĞů ŬĂƐƵƚĂŵĞ ŬĂĂůƵƚƵĚ ŬĞƐŬŵŝƐƚ͕ ŬƵŶĂ ǀĂƌĂƐŝĚ ŽŶ ŬŽŚĂŶĚĂƚƵĚ ĞƌŝŶĞǀĂů ŵććƌĂů ŶŝŶŐ ŬĂĂůƵŵŝƐĞů
ƐĂĂďĂƌǀĞƐƐĞǀƁƚƚĂŬŽŚĂŶĚĂŵŝƐĞůƚĞŬŬŝŶƵĚĞƌŝŶĞǀƵƐŝ͘ sƁƌƌĞůĚĞƐĂƌŝƚŵĞĞƚŝůŝƐĞŬĞƐŬŵŝƐĞŐĂĂŶŶĂďƐĞĞƵƐĂůĚƵƐǀććƌƐĞŵĂ
ƚƵůĞŵƵƐĞ͘<ĂĂůƵĚĞĂŶĚŵŝƐĞůůćŚƚƵƚĂŬƐĞƐĞůůĞƐƚ͕ĞƚƐƵƵƌĞŵŬĂĂůĂŶƚĂŬƐĞǀćŚĞŵŬŽŚĂŶĚĂƚƵĚƚĞŚŝŶŐƵƚĞůĞũĂǀćŝŬƐĞŵŬĂĂů
ƌŽŚŬĞŵŬŽŚĂŶĚĂƚƵĚƚĞŚŝŶŐƵƚĞůĞ͘^ĞůůĞƺůĞŽƚƐƵƐƚĂƚĂŬƐĞŬŽŚĂŶĚƵƐƚĞĂďƐŽůƵƵƚǀććƌƚƵƐƚĞƐƵŵŵĂƉƁŚũĂů͘

<ĂĂůƵƚƵĚŬŽŚĂŶĚĂƚƵĚŬĞƐŬŵŝŶĞƌƵƵƚŵĞĞƚƌŝŚŝŶĚĂĚĞǀƁƌĚůĞŵŝƐĞƉƁŚũĂů͗ϭϱϭϬнϭϮϲϭнϵϲϰ сϯϳϯϱ €/m Ϯ͘

^ĞĞŐĂƐĂĂŵĞŚŝŶŶĂƚĂǀĂǀĂƌĂƚƵƌƵǀććƌƚƵƐĞŬƐǀććƌƚƵƐĞŬƵƵƉćĞǀĂƐĞŝƐƵŐĂǀƁƌĚůƵƐŵĞĞƚŽĚŝůϳϵ͕Ϯ ŵϮ ǆϯϳϯϱ €/m Ϯ сϮϵϱϴϭϮ
ĞŚŬƺŵĂƌĚĂƚƵůƚϮϵϲ 000 €, s.o. 3 ϳϯϳ €/m ϮͬŬŽƌƚĞƌŝĞůƵƌƵƵŵŝƉŝŶŶĂĂƌǀĞƐƚƵƐĞƐ͘


                                                          Ϯϵ
                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                 ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                            >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                       ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 36 of 52
ϲ͘ ,ŝŶĚĂŵŝƐƚƵůĞŵƵƐ
<ƁŝŬĞ ĞĞůŶĞǀĂƚ ĂƌǀĞƐƐĞ ǀƁƚƚĞƐ ŶŝŶŐ ƚƵŐŝŶĞĚĞƐ ŚŝŶĚĂũĂƚĞůĞ ƚĞĂĚĂŽůĞǀĂƚĞůĞ ůćŚƚĞĂŶĚŵĞƚĞůĞ͕ ŬŝŶŶŝƐǀĂƌĂƚƵƌƵ
ŚĞƚŬĞƐŝƚƵĂƚƐŝŽŽŶŝůĞ ũĂ ǀƁƌĚůƵƐĂŶĚŵĞƚĞůĞ͕ŽŶ ŽŵƵƐ <ŝŶŶŝƐǀĂƌĂ ŚŝŶŶĂŶŐƵů ŬŽƌƚĞƌŝŽŵĂŶĚŝ ;ƌĞŐ͘Ŷƌ ϮϭϰϲϭϲϱϬͿ ĂĂĚƌĞƐƐŝů
,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ ƚƵƌƵǀććƌƚƵƐ ǀććƌƚƵƐĞŬƵƵƉćĞǀĂů
                                 Ϯϵϲ ϬϬϬ;ŬĂŬƐƐĂĚĂƺŚĞŬƐĂŬƺŵŵĞŶĚ ŬƵƵƐ ƚƵŚĂƚͿĞƵƌŽƚ͘

sĂƌĂŽŶŬĞƐŬŵŝƐĞ ůŝŬǀŝŝĚƐƵƐĞŐĂ͕ŬĞƐŬŵŝƐĞŬƐŵƺƺŐŝƉĞƌŝŽŽĚŝƉŝŬŬƵƐĞŬƐǀććƌƚƵƐĞŬƵƵƉćĞǀĂƚƵƌƵƐŝƚƵĂƚƐŝŽŽŶŝƐǀƁŝďŚŝŶŶĂƚƵĚ
ƚƵƌƵǀććƌƚƵƐĞ ũƵƵƌĞƐ ƉƌŽŐŶŽŽƐŝĚĂ ŬƵŶŝ ϲ ŬƵƵĚ͘ ,ŝŶĚĂŵŝƐƚƵůĞŵƵƐĞ ƚćƉƐƵƐĞŬƐ ŚŝŶĚĂŵĞ цϱй͘ dƵƌƵǀććƌƚƵƐ ƐŝƐĂůĚĂď
ŬćŝďĞŵĂŬƐƵ͕ŬƵŝŵƺƺũĂůŽŶƐĞĂĚƵƐĞƐƚƚƵůĞŶĞǀĂůƚŬŽŚƵƐƚƵƐůŝƐĂĚĂǀĂƌĂǀƁƁƌĂŶĚĂŵŝƐĞůŬćŝďĞŵĂŬƐ͘,ŝŶĚĂŵŝƐƚƵůĞŵƵƐĞůĞĞŝ
ůŝƐĂŶĚƵŬćŝďĞŵĂŬƐƵ͘




                                                          ϯϬ
                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                 ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                            >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
         t,J I YI " ' - ' - '
           NISVARA                                                       ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 37 of 52
>ŝƐĂϭ͘ &ŽƚŽĚ
                                <ŽƌƚĞƌĞůĂŵƵǀćůŝƐǀĂĂƚĞĚ͕ǀĂĂƚĞĚŬŝŶŶŝƐƚƵůĞũĂƉĂƌŬŝŵŝƐĂůĂůĞ




                                                            ϯϭ
                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
         t,J I   I "'-'-'
           N I SVARA                                     ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
       Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 38 of 52
                                        dƌĞƉŝŬŽĚĂ




                               ƐŝŬũĂŬŽƌƚĞƌŝƐŝƐĞŶĞƉĂŶŝƉĂŝŬ




                                            ϯϮ
                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
    ..,. ...,.
II KI
                '"'-'-'
           N I s V A R A                                ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 39 of 52
                                          tĐ



                           I



                                       Dusiruum




                                           ϯϯ
                                    ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                  ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                             >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                   I   "'-'-'
I I KL.''I   t,J
               N I s V A R A                              ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 40 of 52
                                    ǀĂƚƵĚŬƂƂŬͲĞůƵƚƵďĂ




                                       DĂŐĂŵŝƐƚŽĂĚ




                                             ϯϰ
                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                    ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                               >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                   I   "'-'-'
I I KL.''I   t,J
               N I s V A R A                             ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 41 of 52




ůůŝŬĂƐ͗ŚŝŶĚĂũĂŝŶĨŽ




                                            ϯϱ
                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                              >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''l   t,J    I Y I
                NISVARA
                             "'-' - '
                                                                                                             ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
          Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 42 of 52
>ŝƐĂϮ͘<ŝŶŶŝƐƚƵƐƌĞŐŝƐƚƌŝǀćůũĂǀƁƚĞ


    Reg islliosa :


    R~masa number                                                           2.U6 165o

    Klnnlslusas.akood                                                       'i'£111u Maakohtu klnnlsll.lsosakand

     rlarnand                                                               2.2.

    Korten:Jhls.tu reglslll kaod                                            806 11737




    I j agu • KIN NI STU KOOSSE IS


    Karastnp1d.:!Ju marke:1d vaata maakatasmsc


     Kande             K-ataslritunnus                  Sihlotstarve j a asukohl               Pindala                            Info                              Kande
      Nr.                                                                                                                                                          kehtivus


                        65301 001294 1            l:'.lsmu""'a 1(1()%, Harju ma and, Ree       ] 6 16 m2     l 7.05.2ct22 IJristarnisavaldllSe ails.el                kehlill
                                                  Yah,. Peetrl Alevlk, i<op~ tee Z4.                         1111Uude1ud 25.05.2022. l(ohllinlk.Uabl
                                                                                                             Tllna l(ullama


                   79-2 /1 5,126 mrute!lst osa kinfllsasJast
                   ja """'""8ll1!d ese eluruum nr 22. "fe sed same k-    Ja l«lflertcmarn<S nr 2145'95"50, 21459650, 214 5!1J 50, 21,159!150, 214 59!1-50, 214,60050,
                   2 14601 SO. 2 1460250, 2 1460350. 2 14604 50. 2 1460550, 2 1460650, 2 14607 50. 2 1460650, 2 1460950.. 21461050, 2·14611 S.O, 2 461250.
                   2.H61350. 21A6H so, 2H61 5SCL nomandl eseJa slsu vasta.\\ah 1.05.2022 erJ01111ami kokku leppeJe,Ja selle osaks olevale
                   hoanejaolusplaanlle.

                   Kor1ellamanl~e kokl:ulepe rodudeja temisslde kaslillamlse lrohtavsSl!avslt 77.frS.2022.a lepngu :pook11te 5•.1. R«l!Mljs te<Jas.sldjll~•tad sene
                   korteriomandl lgakordse omanlku alnukast.tusse, milk, erlanard ese~ need elituslllwlt Ohefil<!Brud an. E:raasutusolguste okk~e
                   \\BSta\\ah 17.05.2022.a leplngu punkt~ ~ .1. Ja l.eplngt11 !Isak~ olevslete plaanldele. ErJkasutLISOlgus panlpalgale. mis oo hoooe   c,rruse plaanl
                   lllhistatoo nr l l BPP j3 ~ilp...tlm1 ahtadele, mis on esen dlpi,..nll l~hist,iiud nr 24-21, 2~ -1-.i..


     2             Klnnlstu lgakord se <menlku kasuks an l<anlud reaalser'lftul,I tlm:astut,eie "''          S1sse klan tud • ¥1riossa 14201 3So                      kehbll
                    181i415S.O. 19547650. 181i4TTS0. 19547850. 18541950. 19540050. 1854B1S0.                 4.05.202 1; slla Ille kantu d. 17.05.2022
                   19648250. 19548350. 196484 50. 19548550. 19548650. l 954B750. l 954B850.                  klnnls.tamtsslil!fdhE.e alusel s1sse kanlU!I
                   19S48950. 19540050, l 9S49150. 19549250, 19549350., 195494 50, 19549650.                  25.05.2022. K.ohlu       ,sbl 1fllna Kullama
                   181i4MSO. 19549750, l81i49B60. 19549950. nnsv1WB!g1JStusserl/llul:i vasl.!M>ll
                   leplngu punkl le 3.1. ja leplngu lls.aks 2 olevale plaan I<!.


                   Klnnlstu lgakllrdse anera,ku kasuks an anlud reaalserwul:i m:.stutele or,                 S sse kantlld regis1riossa 7 4.20n5o                     ~hbll
                   19647550. 119547650. 196477 50. 1954 7850. l 9547ll50. 19548050. 195481 SO.               4.05.202 1: siia itl!!kantud. 17.05.2022
                   19548250. 19546350. 195484 50. 79548550. 19548650. 196411750. 19546850.                   klnnlstamls.alialduae alusel S1591! klan llld
                   181i~B9SO. 19540050. 18549150, 19549250, 18549350, 195494so. 1854l!SSO.                   26.05.2022. Kolllu ;uabl Tllna Kullam!I
                   19649650. 119549750. 19649850. 1954995111. Puhkeala- Ja 'kOnnltE!eserwu111.
                   vastavsn leplngu punkllte 3.:2..Ja leplngu lis.aks 1 olevale ptaanlle.


                   Klnnlstu lgakordse anen,ku kasuks an kanlud reealserwu,,_ 1n"'5tutele l'lf!               Slsse kanllld <E!!J61rlossa l 4t2Cll.35D
                   204D5150. 20405~ SO, .204D5550. 20405650, 204D5 750. 20405850, 20406950.                  4.05.2.0-2 1; sila ttle!kantud. 17.05.2.022
                   2.CMOBtiSO. 20406150. 2.CM06Z50, 20406350. 2[']'4064 50, 20406550. 2[']'406650.           klnnlslaml ssYl!ildu5e alusel sls91! kantud
                   20406750. 20.C06B50. 20406950. 2CM07050, 20>107150. 201$01'250, 20407350.                 25.05.20•22. Kafllu        obi 'fline l<ullam~
                   20407450. 2!M07550, 20407650. 20407750. TtlAaVa\lBlgusrusserl/llul,I vast.avail
                   Jeplngu punkllle 5. 1.Ja leplngu lls.aks 2 cilevale plaa171lle.


                    Klnnlstu lgakard se -cmamku kasuks an kaAlud reaalserlfltUMI t;mristutele nr:            s1sse kan tu!I recy.trlossa 14201150                     l<elllN
                   :2D585250, 2.0~95350. :2D585450. 2D5B5SSO, 20585650. 20595150, 205BSB5(,l.                4.0:S.i.02 1: slla (II!, kantud. 17. □5.iD22
                   20595950. 20<598050, 205861 SO. 2D586ZS0. 20596350. 20596~ 50. 20596550.                  klnnls&amls.alialduse alusel s1sse k,,nllld
                   i.0'59665,t). 20596750. i.D596BSO. 20696950, 20597050. 20597150. 20597250,,               25.05.2022. Koillu          abo fll ne l<ullsma
                   20597350. 2.05974 so. :2D597550. 2.0597650. l"uhk.ecala- ja konnilEeservtucrt
                   \\BSta~elt leptngu punkllle 4.2. Js leplngu Ilsa s 1 ole\rale plaarnle.




                                                                                          ϯϲ
                                                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                            ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                       >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
             'l,J
                                                                                                          ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 43 of 52

    Kande           K.atastritun nus                  Sihtotstarve j1;1 asukoht                                                                                Kande
        NL                                                                                                                                                    k.chtivus


    6           Klnnistu lgekardse aman,ku kasuks an kentud reaaIser'lll1.1ta lor-.stut!!le or:           Sls.se kantud ,.,riossa 142!0USO                      k.ehtw
                20695.200. 201i853SO. 201i954 !iO. 20585550. 20585650. 20595 750. 2D595BSO.               4.05.202 1: slla ~ karTtud. 17.05.2022
                2059585-0.. 20598050, 20596150. 20:596250, 2□586350, 20595 4!iQ, 2 □596 550,              kinnls.lamls.avaldluse slusel slsse kanrud
                20586650,. 20596700. 20596850. 2058 Er850. 20597050. 20597 1 so. 20597250,                25.05.2022. Kohl;~abj l line Kullema
                20'597150. 2(];5974 50. 20597550. 211697550. TAl'l!lvB\flllg1.1sllls5eMlul!JI vastavah.
                leplngu punl<tfle 4. 1.Je leplngu lis.ak~ 2 olevale pleanile.



    7           Klnnlstu lgakardse uneniku kasuks an tein!ud reaetservtut.C kl11111Stutele IV:            S,sse kanllld fE!15-tr1oSS.B 14201 :I.SCI             1<entw
                20405350. 21l'4054 SO. 20405550. 20405650. 20405750. 20405850. 20405950 .                 4.05.202 1: slla ~ ka rTtud . 17.05.2022
                wcososo. 2(],1061 so. 2IM06250, 2(],I06lso. 204064 50, 2 □~ oss so. 204066.so.            kinnls.tamls.avald'use slusel slsse kanrucl
                2040675,Q. 20406850, 20408950. 20407050. 204011 SO. 20407250. 20407350.                   25.05.2022. K.olllu~ lllne llullema
                204074  so, .20407550. 20407•650, 20\407750. Puhkeala- Ja kO nniteeserwulJII
                vast.M1.h.leplng u punklli\, 5.2.Ja leplngu llsal<s 1 ale\fale plaemi\,,



                Klnnl!itu lgakarase 001enIku kasuks an teinlud reaelservrui.c klrm1stute1e IV:            SISse k.anllld fE!15-tr1oSS.B 14201 :I.SCI
                203801 S.O, 2.0'.3B025o. 20380350, :203B045o, 203B0650, 2CJl3B065o, 20311□ 750,           4.05.202 1: sila Ille ltsrTtud. 17 .05.iOU
                20080850. 20360950. 20081050, 20•381 150, 20381250, 2038 l 3SO, 20381 450,                klnnlslaml5;11yakfuse elusel sls.s e kantud
                20381660. 20-.81£50. 20381750. 2CJ.38'1850. W3811lSO. 20382050. 20082150.                 25.05.2022. K.olllu~           lllne llullema
                20082200, 200B2350. 200824 5o, 20082650. TIIMVIWBlgustusserllltool vasta.v alt
                leplngu punktile 6.1 . je leplngu i15;11k~ 2 alevsle plasnlle;


    9           Klnnlstu lgekardse ansnlku kas uks on kefll!ud reaalsenttrul.l. lnITli!ib.Jtelle 11r:     Slsse kantud <<?51rlossa l 420USO                     kehllv
                20380160, i.0'.3B025o. 20380350,. 2038045o, 20380650, 2CJl3B065o, 20311□ 150,             4.05.202 1: sila ~ 1tan1ud. 17.05.2022
                20080850. 2.0380950, 200B1050, 20381 150, 20381250, 2038'13SO, 20381450,                  kinnlslaml5;11vakfuse elusel slsse kantucl
                2038166Q. 2CJ.381£50, 20381750. 211381,850, 2008 11lSO. 20382050. 2 □il821 50.            25.05.2022. Kc l l l u ~ lllne llullema
                20382250. 203B2350, 203824 SO. i.□ 3B255o. Puhk.eala-;a kOnnrteeserVilu111
                vasLava!t letJlngu punklile 6.2. Ja leplngu Ilsa ~ 1 olevale plasnile.



    w           Klnnlstu lgekardse ansnlku kasuks an kelll!ud rea alserm.i1.1. lnITliSb.J-   m:           Slsse kanlUII r~trlas.sa 14201 :i.so,                 k.eh!w
                203801 SIO. i03B025o. 20380350, :203B045o. 20380650, 2CJl3B065o. 20311□ 750,                               Ille
                                                                                                          , .o:S.202 1: sila kerTtud. 17.05.2022
                20<]80950. 20380950. 20381050, 20381 150, 2038 125 0, 2.0-38 1350, 2038 1450,             kinnls1amlsavatlluse elusel slsse k.antucl
                20081550. 2.0381550. 2□'381750, 20081850. 20-3811l50. 20382:050. 20382150,                25.05.2022. Kohlur.mabi l lina !Cullem~
                20JB22S.O. 2.0'.3B2350, 203824 50, i03B255o. 'f>arimn1sseNrtuut vas.lB'lfall 1epngµ
                punkllle 6.l.Ja lepn!JU lis.ak~ 1 alevale plllanlle:



    n            Klnnl51U lgskardse ansnll;u kasuks an kAi:iud reaslser'lll:uLl k rir1'stucete m :        Slsse kantud regJ.strlassa , 42013 SO                 k.el1tw
                20-380150. 203B0250. 20180350, 2CJ.38 04 SO. 20380550, 20380600. 20380750,                4.05.202 1: slia ~ ken1ud. 17.05.2022
                iO-JaOil60. 2C)i]8 □950. 20Ja1050, 20']81160, 20381260, 203Bl 3SO, 203!1 1450,            klnnl!i,lamisavllldlE.e elusel slsse kantucl
                2CJiJ816SO, 20381650. 203B1750, 2□'38 1 800. 20-381950, 20382050, 20il82150,              25.05.2022. Kahlmi tasabl llina l(ullsma
                20082250. 20092350. 20082450, 2.0392550. J'l!lta"<fepaasuSiP.l'Vh.uut vas.leualt
                k~ale"8 1eplngu punktile 5.4.Je repingu IISBl<s- 1 ale"8le pleenile.



    u           Klnnlstu igskprdse a nan,ku kasuks an kAAJud reaalserv.tul!JI I< nrostutele nr,           S SSP. k.an lD!I r~lrlossa 1 42013 so,                k.entw
                20080150. 2008025,(l, 2038035',I, 20080450, 20080550, 20360650, 20380750,                 4.05.202 1: sUa ~ kentud. 17.05.20:22
                20-380850. 203B0950. 20181050, 20381'1S1l, 203!1 1250, 2038 l 35ll. 203!1 1450,           kinnls.lBmls.avalcluse slusel slsse kantucl
                20081 SW. 20081,6 50. i0081750. 21Xl81-B50. 2008196(),, 200B2050, 20082150,               25.05.2°'12. K.oolurliJuebo lilna l(ullama
                20082200.. 2ooa21s.o, 200824 50, 2ooa2sso. EleklrUuhllmisserviMJJ; vastawlll
                killesa le"-a leplngu punktile 6.5.Ja repingu IISBl<s-2 aleoale pleamle.


                Klnnlstu lgekardse ansniku kasuks an kaAJud reaalservttuti tlnr.stutele nr,               Sisse kanllld r•1rlas-sa 1 42013 so                   kehtw
                20i380150. 2.0380250. 20080350, W:38 0~50. 20380550, 21}360650. 20i!B0750,                4.0.S.J!J,2 1; sUa Uk! ksrTtud. 17.05.2022
                2038085,Q, 20..80950, 20381050_ 20,38'1'15D, 2038 1250, 2038 1JSO, 2038 14,Sll,           kinnls.lBmls.avaklu:se slusel sIsse kanill<I
                20081550, 20081•650. 20081750. 20081,850. 20381'9 50, 2008206(),, 20082150.               25.05.2022. K.oolu~ebo lllna !Cullama
                200B2250.. 20382:JSO. 200824 so. 20382550. Sademeveejuhllimlsserw ulfl \faS,l!Wa ll
                kllesa lev-a leplngu punktile 6.6. js leplngu lls.sk~ .2 dleVBle plaerule.




   IIJagu • OMAN IK




                                                                                       ϯϳ
                                                                                ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                  >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
           'l,J
                                                                                                                      ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
          Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 44 of 52

   Kande                                Omanik                                                                     Kande alus                                          Kamle
    Nr.                                                                                                                                                              lrnhtivus

                                                                                  2 □ .<J6..2ij22 t lnnlsLamlssvalduse atsel sisse kal'Rlld 22.06.2022.
                                                                                  l(ahtunllwabl SHr1 LeMd




  Ul jagu • KOORMATISED JA KfTSENDUSED

   Kande          Kinnlsb.Jt koormavad piiTatud asjaoigused (v.a.                           Mlirkoo piiratudt asjaoiguste kqhta, kande alus,                          Kamle
    Nr.              htlpoteegid} j a__mark.ed; klisutusoiguse                                   kannet,e muudatused j a kustutamised                                kehtivus
                                    ki11s,end'used

             ISlkU( kasutusr,gus El<!km6e\>I 00 (feglSlrfkood 110SO!l571                   S.Sse !(antlJil reglsulossa 14201350 20.0 :1 .201!1; sda. me
             ka:suks. Asj&Olgl!lssea duse § 15'11.l J~rgne Ullllajli4u lslkllk            ·kanlUd. 17. □5 ..2fr22 tlmisl:amismralduse ab;ei slsse artud
             f<asu~ YBS1'JYall 24 ..05.2018:. a solmltoo ·lepd'lgu                         2$.05.2 □22. K<Jhtmlkuabl Tllna Kullema
             punk.!ldelP. 2., J .• ~-Ja leplngu llsaks nr 2, Jis~ks nr 3 Ja llsaks ..-
             ~ o~Btele piaaniclete. l(aaslo;ocwma1ud lclmls1Ud ..- 2U 5955□ ,
             2145965,0, ,2:1459750, 21 459850. 2 1459950, 2 1460050.
             2"1~60150, 2 1460250• .Z-1~6□ 350. 2 1 46 □~ 50. 2 1460550.
             2 1460650, 2.1460750. 21 46 □ B 50 . .2 1460950. 2 1461050,
             21461 150, 2U6 l 250, 2U61350, lM61450, 2U6 l 560.


              ISlkU( kasutusr,gus AJ<lslaselts E,LV so (regIs1rlkoad                      S.Sse !(antlJil ,eglsArlossa 14-201350 6.11.2CJil 9: sna I.Ile ken1Ud.     ketrtlv
              ]Oo9B975) kasu.s. As,aolgussea®se § 158' alusel tahl:ajalU                  17. □5.2 □22 loonstam1savalduse alusel slsse l<.enrud
             lslkllk ka sulusolgus veetarust iku, ssdeme......tana.l!slllsioonl           Z5. □ 5 . Z □ 22 . K(!hl>mlkualli 1 llna !<.ullema
             loruslll«l, reJYel!!,;armsat511oonl 1Df,u51J&:uja lilraB\II
             majandamoseks kaits!Mlancii ulstuses vasta.valt l!!pngu
             punk.Ille 3.1.1 ., 3. LS. 3.1.1 B.-3.l . 20., 3.2.-3.4. ja leplrigu llsek5
             ole·,ale i:'a•mile ..- u. Kaasloconatud kinristud nr 21-4 59550,
             .21459650, 2 1459750. .21459850. .2 1459950. 2 1460050.
              21460150, 2.1460 250. 2 1460350. 2 14604 50. 2 1460550.
              2"1460650. 2 1460750• .Z-1460650. 2 1460950. 2 1461050.
              2 1 4 6 11 5 □ , 21461250, 21461JS □ , 2146 1450, 2146'1550.




              ~aalselvill!Ut klm slute nr 1 95'l755 □ , 1'9547650, 19$,17750,             Sisse kan1Ud 25.0S..2022.. l7 ..OS.2'1122 klnnlstamlsaYBld'use             kehll~
              l954JBr.o. 19.5 4 7950. 19546050, 195481 SO. l 95~BZSO,                     aklsel mwdetul 2~_05_2ozz. Kahllilllruabl Tllne KullamB
             19548350, ]95484 SO. 19548550. 19548650. 1954B750.
              t9548B50, 19:548950. t 9M9050. 19:549150. 19549250.
             19549350, 19:5494 S!l. 19549550, 19:54965!). 195 49750,
             19549B50, ] 9549950, 200801 SO, 20380250. 20380350,
             21t3804 50, 20080550. 21t380650,. .20080750. 200BOBSO,.
              2.0380950, 2008'1050. 2.0381150, 20.lB 1250, 2Xl-3B l J50,
              203B14 50, 20081550, 20381650. 20081750. 2(13B1 fl SO.
              20381'950, 20082050. 203821 SO. 20082250. 2038235().
              2(13824 50. 20082550. 20~05350. 2CM054 50. 20405550.
              2□ -C □ 56S.O. 20405750. 2□ -C□ 5 ilSO. 20405950. 2 □~□0050.
              20406150. 2.0406250, 20406350. 20\4064 so. 20406550.
              21M □ 66 W, 20406750. ilM□ 6B 50, 2 □4 □ 6!150. 2040705.o,
             20407150, 20407250. 20407350, 2CM □ 7450. 20407550,
              204 □ 7• 650. 2.0~ □ 77 50, 211o95250. 20595350, 2 □59 $ 4 so.
              l0595550. 20599650. 20595750. 20585850. 20598950.
             20596050, 2!1598150, 20596250, 2!1596350, 2 □59 6~ 50,
              20586550. 2.0596650, 205967 SO.. 20596850, 20596950.
              2059705o. 20597150. 20597250. 20597150. 205974               so.
             20697550, 21J597·6 50 lgakordsete omanike t asuks. Pottee&a-
            ,a konniteeserwulll •esla'l'alt 8.04.2021 leplngu puAkllle 7.1. Ja
             leplngu lis.al<s 1 olevale plaemle. Jlljaa kemetel nr 3-5 <!fl ~5
            ,a sama jllll)2kohl. Kll;B;SkoormalUd klnnlstoo nr 21459550.
              21459650, 2 1459750, Zl 459850. 21459950, 2 1460050.
              i 14601 r.o. 2 1460250, 2 1460350, 2 1460450. 2 1460550.
             2 1460650, 2.1460750. 2 1460850,. .2 1460950. 2 1461050,
              21461 150, 2U61250, 2U61J50, lM6 1450, 2U6 1560.




                                                                                             ϯϴ
                                                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                                ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                           >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''l   'l,J    I Y I ..._, - '
               NISVARA                                                                                             ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
             Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 45 of 52

    Kande           Kinnis.tut koormavad piiratud asjadigused •(v.a.                        Marked piirarud asjaoigusle kohta, kande alus.,                   Kande
     Nr.                Mpoteegicl) ja marked; k!lsutusoig us.e                                 l<annet.e muudatusecl ja kustutamised                        kehtivus
                                     kitseru::lusecl

               Reaalsel'llltwt knllslute ..- ~IB!IOl 50, 20Jli0250, 20380050,             Sisse kantud 25..05.2()22. n .05,.202.2 ldnnl5111mlsaval!!i.Jse    lil!htlv
               203804 50. 20380550. 20'380650. 20<380750. 20080850.                       atsel muudelU:l 2.5.05.2022. K.Qhrunlkwbl llna KullemB
               2.03B095ll. 20381050, 2.038.11 50, 20-31!'1250, 2038 1350,
               2039'14 50, 20081550, 20381•6 50. 20081750, 2038 1850.
               20JB195ll. 20382050, 200B2150, 203822'50. 21Jc3B2l50,
               2.03824 oo. 2 □1JB2550 lgakordsete omanik.e tasuk.s.
               Eleklrljut11mlsservlau vastav.llll ll.04. 20ZI lep,rng,u pt.ri.1lle
               1.2.ja l e ~ 11:saks 2 olevaleJi asnlle. lll jao .k,,nn"1el rw- l-5
               on 11:sj a s.amajar_Jel(aht. Kaaskoofmalud loml51ud nr
               2.1459500. 2.145965'11, 21 459750. 2 1459850. 2 1459950.
               n46DOOO. 2.1460150, 2 1460 250, 2 1460350. 2 14604 50,
               2:1460550, 2 1460650, 2 1460750, 2 1460B50. 2 1460950.
               21461050, 2.1461 150, 21461250, 2U6'1JS □, 21461450,
               Z-U6165ll.


               Ree.alser.•ltw t kainls1U1e ..- 20l1!01 50, 20JB02SO, 20380.35 □ ,         S«sse ~antud i -5.05,.2022.. n .o5-.20.22 ldMnlstamlsawa~se
               203604 50, 2DC3B0~50. 203B0650. 20090750. 20380850.                        ell.lse1mw~ell.w:l 25.06. 2022. Koh1U1llruabl Tllna Kulhwna
               20380950. 20381050, 2008 11 5 □. 2038 1 25 □. 2038 1 35 □.
               100B14 50. 2Di381550. 10381650. 20081750. 20381850.
               20381950, 20082050, 20382150. 20082250. 20ij82lSO.
               20JB24 5ll. 203B2550 lgirkard~ete omanike kBSUks.
              Pri!glmajBS<!fWUU1 VBstlWBII B. □ 4.2021 leplngu pun~tle 7.J. Je
              leplngu Ilsa s 1 olevale pleanlle. Ill Jao kameteJ nr 3-5 on 1111:s
              Je samaj!lrJekool. K.aaskoormatud klnnlstlld nr 21459550,
               2:1459650, 2 1458750• .21459850. 2 1459950. 2 1460050.
               21460100. 2.1460250, 2 1 46 □ 350, 2 1 46□~ !Ml. 2 1460550.
               Z-1460650. 2 1460750, 2 '1460650. 2 1460950. 2 1461050.
               214 611 5 □ , 21461250, 21461350, 21~6 1 45 □ , 2146 '1 55 □.




  IV j agu • HO POTEEGID

    Kanoo                            Hilpoteegicl                               Hllpotel"!gi        MlirkGd huporeekid@ kohta. kandc alus,                    Kande
        Nr                                                                       summa               kannere muudaiused ja kustutamised                      k.ehtivus

                                                                                                   Kuslulalto:J 26.05.2022 kmlS!amls.avl!lldllse alusel       e.htlv
                                                                                                  J.00. 2022_ l<oh1unltwabl l •i na Klltam!!


   2                                                                                              lt<Ji)Ote.ei,; on oorma1ud paMdlge AS UfV P~               ~e.1lllv
                                                                                                  (reglst ao~ l 0539-549) asuks. 09.. □9 . 2 □14 leplr>g
                                                                                                  LL -20140909Hl2. Slsse k.anrud •6.07.2022. 14.11.2022
                                                                                                  avaldusea1usel rTUl!lelUd 21.11 .2022. KrihtUnlkuabl
                                                                                                  AveK..tald


   2.          tl~poi:eek summas 81 1 2,50,.00 ewot H~poraeklaen AS             !nl 25□, □o       Slsse lamlud 22.06.2022. l!i.11. 202'2                       ehtlv
               (reglstrlkoad 11663701) ks"'llks.. l<lnnlstu l~akordne                UR           km s1amis1Welduse alusel muu<1e1ud 23.11.2022.
               omanok on ni'osll3tLl!I alllffla kobesel!! sundtliltmisele                         Kahtunlk.Uabl Al;e. Karlald
               hJpoteeglga I.B<,l'ltl!ld nol:J(le ralUd.arniseks.
               Kaa s»:oormBIUd lr:ui sb.r, 21461250.




  As!Jius.e Oamus Klnnls\tera 1/ahendus 00
  tlllml, Maarja Trilse
  Kuupae\l': □ 5.06.2024 11:53:59
  Klnnlstusrnamaru kehlWll'le sndmetega tur,umlseks .kasu:a,;pe e-klnmstusraa matuL




                                                                                             ϯϵ
                                                                                      ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''I   t,J   I   "'-'-'
               N I s V A R A                                      ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 46 of 52
>ŝƐĂϯ͘ŚŝƚŝƐƌĞŐŝƐƚƌŝǀćůũĂǀƁƚƚĞĚ

  Andmete vaade                                                    Korterelamu (EHR kood 121313715)


   Korterelamu (EHR kood 121313715)
  Ehitise llldinfo
   Naitaja                       EHRandmed
   Ehitise aadress               Harju maakond, Rae vald, Peetri alevik, Kopli tee 24
   Ehitisregistri kood           12131371 S
   Ehitise liik                  Hoone
   Ehitise seisund               Olemas
   Ehitise nimetus               Korterelamu
   Omandl liik                   kinnisasi
   Esmane kasutusaasta           2022
   Esmase kasutuselevotu aasta el
   on oletuslik

  Ehitise kasutamise otstarbed
   Naitaja                       EHRandmed
   Kasutamise otstarve, eluruumi Muu kolme v6i enama korteriga elamu {11222)
   pind (m2)                     1 512,6
   Eluruumide pind kokku         1 51 2,6
   Mitteeluruumide pindl kokku   0,0




                                                     ϰϬ
                                              ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                            ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                       >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''I   t,J   I   "'-'-'
               N I s V A R A                                       ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
     Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 47 of 52
  Andmete vaade                                .ortere amu {ERRl<ooo12: 3"f3715)

   Ehitise m66tmed

    Naitaja                         EHRa.ndmed
   Ehitisealune pind (m2)          749,2
   Maapea lse osa arune pind       749,2
   (m2)
   Koetav pind (m2)                1 744,8
   Suletud netopind (m2)           1 744,8
   Oldkasutatav pind (m2)          222,5
   Tehnopind (m2)                  11, 1
   Maapea lsete korruste arv       3
   Maa-aluste korruste arv         0
   Korgus (m)                      10,0
   Absoluutne korgus (m)           48,0
   Pikkus (m2)                     37,4
   Laius (m)                       18,6
   Sugavus (m)                     0,0
   Maht (m3)                       6 601 ,7
   Maapealse osa maht (m3)         6 601,7

   Ehitise•konstruktsioonid ja materjalid
    Naitaja                         EHRandmed
   Vundamendi !i ik                 madalvundament
   Kande- ja ]aigastavate           monteerltav raudbetoon; vaike- voi suurplokk, naiteks vaht, mull,
   konstruktsioonide materjall liik kergkruus, karg, betoon
   ValisseJna liik                  vaike- voi suurplokk (vaht, mull, kergkruus, ;karg, betoon jms)
   Valisseina valisviimlstluse   krohv; fassaadiplaat (seal hulgas tsementkiudplaat)
   materjali liik
   Vahelagede kandva osa         monteeritav raudbetoon
   materJali liik
   Katuse ja katuslagede l<andva monteerltav raudbetoon
   osa materjali liik
   Katusekatte materjali liik    bituumen voi PVC plaat voi ru llmaterjal




                                                      ϰϭ
                                               ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                             ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                        >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''I   t,J   I   "'-'-'
               N I s V A R A                                                  ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 48 of 52
  Andmete vaade                                                               Korterelamu (EHR kood 121313715)

  Ehitise tehniUsed ntUtajad
   Naitaja                                  EHRandmed
  Elek1risusteemi liik                      vork
  Veevarustuse li ik                        vork
  Kanalistasiooni liik                      vork
  Soojusvarustuse liik                      lokaalkOte
  Soojusallika liik                         soojuspump
  Energiaallika liik                        6husoojus + elie kter
  Ventil atsioonr liik                      soojustagastusega ventilatsioon; mehaaniline sissepuhe ]a
                                            va ljatomme
  Jahutussusteemi liik
  Vorgu- vcH mahutigaas
  Uftide arv                                1

  Energiamargised

   Jrk         Energiamargise liik                                        Energiamargise              Energiaklass
                                                                          number
   1          Registrisse kandmata hoone energiaarvutuse1                 2011 569/01298              B
              pohinev energiamargise teatis




  22                   Ehi1ise osa tu Up                 Eluruum
                       Sissepaasu korrus                 3
                       Ehi1ise kuju, kus hooneosa        1: Korterelamu Kopli tee 24
                       asub
                       Hooneosa aadress                  Harju maakond, Rae vald, Peetri alevik, Kopli tee
                                                         24·22
                       Ehitise osa pind (m2)             79,2
                       Koetav pind (m2)             79,2
                       Rodude ja lodi.ade pind (m2) 5,5
                       Tubade arv                        4
                       Kookide arv
                       Avatud kookide arv                1
                       Tualettruumi liik                 vesi klosett
                       Pesemisvoimaluse liik             vann/duss
                       Gaasipaiga ldis                   puudub
                       Soojusvarustuse litk              lokaalkUte
                       Soojusallika liik                 soojuspump
                       Energiaa[lika liik                6husoojus + elekter



ůůŝŬĂƐ͗ŚƚƚƉƐ͗ͬͬĞŚƌ͘ĞĞͬ




                                                                 ϰϮ
                                                          ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                   >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
      L.'' 'l,JIYI..._,_,
II KI        N I s V A R A                                                                ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
         Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 49 of 52
>ŝƐĂϰ͘ ,ŽŽŶĞũĂŽƚƵƐƉůĂĂŶŝĚ




~--    ------=-~....:::.:;_;_:_:___----""'~ ---+---L.."-+-1-~
                                                           n=9g::....+
                                                                    ' - 1~J ~ _ _~1GOC=-----+~11~6-    ------,..~-=316,._____,f--- -
                                                                      .,.,                  }
                                                                                            t                     TUBA            ;:£
                                                                                                                                  N
                                                                                                                 13,9 m.,




                                                      -
                                        391H 22-2         X   1
                                           KORJDOR o0
                                            5,7 m2 ~

                                                                                                      22
                                                                  I    -                                                          0
                                                                                                                                  ,..,0
                                                                                                      79,2 m2
                                                                                                                                  u,




                                                                                                                          22-9
                                                                                                                        ELUTUBA



                                      IA
                                              y

                       16x23                              18x23                                        jfo.,._ 3 22-0
                                                                                                              RODU
                                                                                                              5,5 m2

<ŽƌƚĞƌŶƌϮϮ

 22
         22-1             ESIK                        4,4
         22-2             KORIDOR                     5,7
         22-3             VANNITUBA                   5,8
         22-4             WC                          1, 1
         22-5             KODUHOID                    1,3
         22-6             TUBA                        13,9
         22-7             TUBA                        10,0
         22-8             TUBA                        10,3
         22-9             ELUTUBA                     26,7
                                                      79,2 m 2

ůůŝŬĂƐ͗ƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞƐĞĂĚŵŝƐĞůĞƉŝŶŐ͕ϭϳ͘Ϭϱ͘ϮϬϮϮ͕ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ
                                                                         ϰϯ
                                                                  ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                                         ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                                    >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.'I NNISVARA
            I YI..._,-'
               'l,J
                                                                           ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
           Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 50 of 52




)
 01

1.8 rrr




                                                                                       7
      I    \
      I


      L-

7                                       126
                                        pp
                                                 125

                                      l,O m'    2.0 m'




                                                                            I   I
sćůũĂǀƁƚĞ / ŬŽƌƌƵƐĞ ƉůĂĂŶŝƐƚ͘ ƌŝŬĂƐƵƚƵƐƁŝŐƵƐ ƉĂŶŝƉĂŝŐĂůĞ͕ ŵŝƐ ŽŶ ŚŽŽŶĞ ϭ͘ ŬŽƌƌƵƐĞ ƉůĂĂŶŝů ƚćŚŝƐƚĂƚƵĚ Ŷƌ ϭϭϴWW
;ǀŝŝĚĂƚƵĚƉůĂĂŶŝůƉƵŶĂƐĞŶŽŽůĞŐĂͿ͘



ůůŝŬĂƐ͗ƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞƐĞĂĚŵŝƐĞůĞƉŝŶŐ͕ϭϳ͘Ϭϱ͘ϮϬϮϮ͕ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ




                                                              ϰϰ
                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                     ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
I I KL.''I " -N' II s V "A' -R' -A'                                    ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
          Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 51 of 52
                                                                            I




                                                                                                                                       I

                                                                                                                                  I
                                                                                                                                 I
                                                                                                                                I
                                                                                                                                I




WĂƌŬŝŵŝƐƉůĂĂŶ͘ ƌŝŬĂƐƵƚƵƐƁŝŐƵƐ ǀćůŝƉĂƌŬŝŵŝƐŬŽŚƚĂĚĞůĞ͕ ŵŝƐ ŽŶ ĂƐĞŶĚŝƉůĂĂŶŝů ƚćŚŝƐƚĂƚƵĚ Ŷƌ ϮϰͲϮϭ͕ ϮϰͲϮϮ ;ǀŝŝĚĂƚƵĚ
ƉůĂĂŶŝůƉƵŶĂƐƚĞŶŽŽůƚĞŐĂͿ͘




 ůůŝŬĂƐ͗ƌŝŬĂƐƵƚƵƐƁŝŐƵƐĞƐĞĂĚŵŝƐĞůĞƉŝŶŐ͕ϭϳ͘Ϭϱ͘ϮϬϮϮ͕ŬŝŶŶŝƐƚƵƐƌĂĂŵĂƚ͘ƌŝŬ͘ĞĞ




                                                          ϰϱ
                                                   ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                 ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                            >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
                                                                             ,ĂƌũƵŵĂĂŬŽŶĚ͕ZĂĞǀĂůĚ͕WĞĞƚƌŝĂůĞǀŝŬ͕<ŽƉůŝƚĞĞϮϰͲϮϮ
        Case 2:22-cr-00185-RSL Document 129 Filed 07/26/24 Page 52 of 52
sĂƐƚĂǀƵƐŬŝŶŶŝƚƵƐƐƚĂŶĚĂƌĚŝŶƁƵĞƚĞůĞ͗
    •    <ćĞƐŽůĞǀĂ ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞ ŬŽŽƐƚĂŶƵĚ ũĂ ŬŽŐƵ ŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵ ůćďŝ ǀŝŝŶƵĚ ŚŝŶĚĂũĂ ŬƵƚƐĞůŝŶĞ ƉćĚĞǀƵƐ ŽŶ
         ƉŝŝƐĂǀŚŝŶĚĂŵŝƐƚĞůůŝŵƵƐĞƚćŝƚŵŝƐĞŬƐ͘
    •    <ćĞƐŽůĞǀŚŝŶĚĂŵŝƐĂƌƵĂŶŶĞũĂŬŽŐƵŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐǀĂƐƚĂďĞƐƚŝŬŝŶŶŝƐǀĂƌĂŚŝŶĚĂŵŝƐĞƐƚĂŶĚĂƌĚŝƐĞĞƌŝĂs^ϴϳϱ
         ŶƁƵĞƚĞůĞ͕ƐŚŚŝŶĚĂŵŝƐĞŚĞĂĚĞůĞƚĂǀĂĚĞůĞ͘
    •    ,ŝŶĚĂũĂĞŝĂǀĂůĚĂŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵŬćŝŐƵƐŬŽŐƵƚƵĚŝŶĨŽƌŵĂƚƐŝŽŽŶŝũĂŚŝŶĚĂŵŝƐƚƵůĞŵƵƐŝŵŝƚƚĞŬĞůůĞůĞŐŝƉĞĂůĞ
         ƚĞůůŝũĂŐĂ ŬŽŬŬƵůĞƉŝƚƵĚ ŝƐŝŬƵƚĞ͕ ǀ͘Ă͘ ũƵŚƵĚ ŬƵŝ ƐĞĂĚƵƐ ƐĞĚĂ ŶƁƵĂď ǀƁŝ ŬƵŝ ƐĞĞ ŽŶ ǀĂũĂůŝŬ ŬŝŶĚůĂƚĞŬƐ ŚŝŶĚĂŵŝƐĞ
         ŬƵƚƐĞĂůĂŐĂƐĞŽƚƵĚƚŽŝŵŝŶŐƵƚĞŬƐ͘
    •    ,ŝŶĚĂũĂŽŶƚĞŐƵƚƐĞŶƵĚƐƁůƚƵŵĂƚƵŚŝŶĚĂũĂŶĂ͘
    •    ,ŝŶĚĂũĂŽŶƚĞŐƵƚƐĞŶƵĚĞƌĂƉŽŽůĞƚƵůƚŝůŵĂŵŝŶŐŝƚĞŝƐŝŬůŝŬĞŚƵǀŝĚĞƚĂŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵƐƵŚƚĞƐ͘
    •    ,ŝŶĚĂũĂƉŽŽůƚŚŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵĞĞƐƚƐĂĂĚĂǀƚĂƐƵĞŝŽůĞƐĞŽƚƵĚŚŝŶĚĂŵŝƐƚƵůĞŵƵƐĞŐĂ͘
    •    ,ŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵƐ ŬĂƐƵƚĂƚƵĚ ũĂ ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞƐ ĞƐŝƚĂƚƵĚ ĂŶĚŵĞĚ ŽŶ ŚŝŶĚĂũĂůĞ ƚĞĂĚĂŽůĞǀĂůƚ ƚƁĞƐĞĚ ũĂ
         ŬŽƌƌĞŬƚƐĞĚ͘
    •    ,ŝŶĚĂŵŝƐƚŽŝŵŝŶŐƵƐ ŬĂƐƵƚĂƚƵĚ ũĂ ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞƐ ĞƐŝƚĂƚƵĚ ĂŶĂůƺƺƐŝĚ ũĂ ũćƌĞůĚƵƐĞĚ ŽŶ ŬŝƚƐĞŶĚĂƚƵĚ ĂŝŶƵůƚ
         ŚŝŶĚĂŵŝƐĂƌƵĂŶĚĞƐĞƐŝƚĂƚƵĚĞĞůĚƵƐƚĞũĂƉŝŝƌĂǀĂƚĞƚŝŶŐŝŵƵƐƚĞŐĂ͘



          ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŽŽƐƚĂũĂ                         ,ŝŶĚĂŵŝƐĂƌƵĂŶĚĞŬŝŶŶŝƚĂũĂ

          ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ                    ͬĂůůŬŝƌũĂƐƚĂƚƵĚĚŝŐŝƚĂĂůƐĞůƚͬ
          DĂĂƌũĂdƌŝŝƐĞ                                    :ĂŶĞ:ƺƌŐĞŶƐŽŶ
          <ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ͕ƚĂƐĞϱ                 <ƵƚƐĞůŝŶĞŚŝŶĚĂũĂ
          <ƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϳϳϭϯϰ                        sĂƌĂŚŝŶĚĂũĂ͕ƚĂƐĞϳ͕ŬƵƚƐĞƚƵŶŶŝƐƚƵƐĞŶƌϭϴϵϱϱϴ
                                                           ĞƐƚŝ<ŝŶŶŝƐǀĂƌĂ,ŝŶĚĂũĂƚĞmŚŝŶŐƵůŝŝŐĞ




                                                               ϰϲ
                                                        ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
DĂĂƌũĂdƌŝŝƐĞ                                                                                                       ŽŵƵƐ<ŝŶŶŝƐǀĂƌĂ
<ŝŶŶŝƐǀĂƌĂŶŽŽƌĞŵŚŝŶĚĂũĂ                                                                                  >ƵŝƐĞƚŶϮ͕dĂůůŝŶŶ
